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                                   1843



                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                      SHERMAN DIVISION



                                                   )
 THE TRANSPARENCY PROJECT,                         )
                                                   )
                Plaintiff,                         )
                                                   )              Civil Action No. 4:20CV467
        v.                                         )
                                                   )              JUDGE SEAN D. JORDAN
 U.S. DEPARTMENT OF JUSTICE, et al.,               )
                                                   )
                  Defendants.                      )


                              DECLARATION OF KEVIN G. TIERNAN

        I, Kevin G. Tiernan, do hereby state and declare as follows:

        1. I am the Supervisory Records Manager in the Records and Freedom of Information

 Act (“FOIA”) Unit in the National Security Division (“NSD”) of the United States Department

 of Justice (“DOJ” or “Department”).

        2. My duties as Supervisory Records Manager of the Records and FOIA Unit include

 the supervision of NSD’s execution of its obligations under FOIA, 5 U.S.C. § 552.

        3. The statements herein are based on my personal knowledge of plaintiff’s FOIA

 request and on reports made to me by NSD personnel and other information I acquired while

 performing my official duties. I submit this declaration in my official capacity; in that capacity,

 if called as a witness, I would be competent to testify to the information available to the NSD.




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        4. This declaration serves as a supplement to the original declaration filed in this matter

 by Patrick Findlay on behalf of NSD, dated February 2, 2022. A copy of NSD’s initial

 declaration is attached hereto as Exhibit A.

        5. As stated in the aforementioned declaration, NSD FOIA assigned Plaintiff’s FOIA

 request dated June 15, 2020, tracking number NSD 20-333, and assigned Plaintiff’s FOIA

 request dated June 18, 2020 tracking number NSD 20-338.

        6. The search for records responsive to NSD 20-333 consisted of an initial search of

 former Assistant Attorney General John Demers’ email account and personal drive. This initial

 search relied on the terms: “60 minutes”; “DNC emails”; “Seth Conrad Rich”; “Aaron Nathan

 Rich”; “DNC emails” & “2016”; “DNC emails” & “wikileaks”; “Debbie Wasserman-Shultz” &

 “Imran Awan, Abid Awan, Jamal Awan, Hina Alvi, Rao Abbas”; “Congress” & “Imran Awan,

 Abid Awan, Jamal Awan, Hina Alvi, Rao Abbas”; “Debbie Wasserman-Shultz” & “Pakistan”

 and identified one responsive record. NSD’s interim response produced that record in part.

        7.   The subject matter of the request and initial results led NSD FOIA to conclude that

 additional responsive records, if any, were likely to be housed in the Office of the Assistant

 Attorney General (OAAG) and in NSD’s Counterintelligence and Export Control Section (CES).

 As such, NSD FOIA conducted additional searches, using the same terms, of the email accounts,

 personal drives and shared drives of line attorneys and supervisors identified as possible

 custodians of potentially responsive records in OAAG and CES. These additional searches

 identified responsive records. NSD’s final response produced the responsive records in part.

        8. The search for records responsive to item two of NSD 20-338 consisted of a search of

 the records of CES regarding the investigation and prosecution of former Director of the Central


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 Intelligence Agency David Petraeus. Based on the subject of this item of the request, NSD FOIA

 determined that CES was the section that would have responsive records if there were any.

 Accordingly, NSD FOIA coordinated with the case manager in the CES responsible for

 maintaining records for cases involving CES. The case manager searched the CES shared drives

 and coordinated local, manual searches of line attorneys’ email accounts and personal drives.

 NSD’s search identified records responsive to the request. NSD’s final response produced the

 responsive records in full.

        I certify, pursuant to 28 U.S.C. § 1746, under penalty of perjury, that the foregoing is true

 and correct.



                                                       KEVIN          Digitally signed by KEVIN TIERNAN


                                                       TIERNAN
                                                                      Date: 2022.09.27 14:06:42 -04'00'

                                                       _____________________________
                                                       Kevin G. Tiernan



  Executed on this 27th day of September 2022.




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                  EXHIBIT A
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                                     1847
                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              SHERMAN DIVISION

  THE TRANSPARENCY PROJECT,                         §
                                                    §
                         Plaintiff,                 §    CIVIL ACTION No. 4:20CV467
                                                    §
  v.                                                §
                                                    §
  U.S. DEPARTMENT OF JUSTICE, et al.,               §    JUDGE SEAN D. JORDAN
                                                    §
                         Defendants.                §



                           DECLARATION OF PATRICK N. FINDLAY


 I, Patrick N. Findlay, do hereby state and declare as follows:

       1. I am the General Counsel of the National Security Division (NSD) of the United States

Department of Justice (“DOJ” or the “Department”). I lead the Office of General Counsel

(“OGC”), which is the successor organization to NSD’s former Office of Strategy Management

and Development (“OSMD”). NSD is a component of the Department. See 72 Fed. Reg. 10064

(Mar. 7, 2007). I have served as the General Counsel of NSD since March of 2020 and was

previously the Acting Chief of OSMD from July 2018 until its dissolution and replacement with

the OGC in March of 2020. Prior to serving as the Acting Chief, I was a Special Counsel in

OSMD from June 2016 to July 2018. Prior to my positions with NSD, I served as an Associate

General Counsel for the Federal Bureau of Investigation (“FBI”) from July 2012 until June 2016.

       2. The Records and Freedom of Information Act Unit (“NSD FOIA”) is a constituent part of

OGC and is responsible for responding to requests for access to NSD records and information

pursuant to the Freedom of Information Act (“FOIA”), codified at 5 U.S.C. § 552, as well as

processing the NSD records which are responsive to FOIA requests received by other parts of the

Executive Branch.
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     3. As NSD General Counsel, I have been delegated Top Secret Original Classification

Authority (“OCA”) by the Attorney General of the United States. See Exec. Order No. 13526

§ 1.3(c) (Dec. 29, 2009).

     4. Through the exercise of my official duties, I have become familiar with this action and

the underlying FOIA requests at issue. The statements contained herein are based upon my

personal knowledge of the subject of the FOIA requests, as well as information provided to me in

the course of my official duties.

     5. I submit this declaration in support of the Department’s motion for summary judgment in

this proceeding.

                        Plaintiff’s FOIA Requests and NSD’s Responses

     6. Related to this litigation, NSD FOIA received several FOIA requests from Plaintiff by

electronic filing. The first request was dated October 26, 2018, a copy of which is attached hereto

as Exhibit A. The second request was dated June 11, 2020, a copy of which is attached hereto as

Exhibit B. The third request was dated June 15, 2020, a copy of which is attached hereto as

Exhibit C. The fourth request, through which the Plaintiff sought the same records requested via

the request of October 26, 2018, was dated June 18, 2020, a copy of which is attached hereto as

Exhibit D.

     7. On September 2, 2020, NSD FOIA responded to the June 11, 2020, request indicating

that the request had been assigned tracking number NSD 20-341. A copy of this NSD response is

attached as Exhibit E. In this response, NSD FOIA further informed Plaintiff that it does not

maintain FBI records and sought clarification. NSD FOIA went on to note that, as such, if NSD

FOIA did not receive a response within 30 days, the request would be administratively closed.




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NSD FOIA did not receive such a response, and NSD 20-341 was administratively closed

accordingly.

     8. On November 5, 2020, NSD FOIA responded to the June 15, 2020, request, indicating

that the request had been assigned tracking number NSD 20-333. A copy of this NSD response is

attached as Exhibit F.

     9. NSD FOIA issued an interim response to NSD 20-333 on March 9, 2021, releasing one

40-page record in part, with redactions made per 5 U.S.C. § 552(b)(6). A copy of this NSD

response is attached as Exhibit G.

     10.        NSD FOIA issued a final response to NSD 20-333 on August 30, 2021, whereby

it released one record that was 149 pages in length, with redactions made pursuant to 5 U.S.C.

§ 552(b)(6). A copy of this NSD response is attached as Exhibit H.

     11.        On November 16, 2021, NSD FOIA issued a final response to the request dated

June 18, 2020, indicating that the request had been assigned tracking number NSD 20-338 and

releasing one record in full as responsive to part two of the request. A copy of this NSD response

is attached as Exhibit I. Further, in this response, NSD FOIA declined to confirm or deny the

existence of records responsive to part one of this request, a so-called Glomar response, per 5

U.S.C. § 552(b)(1). Finally, NSD FOIA noted that it had referred one additional record to a

different component of the Department for direct response to Plaintiff.

                                     NSD’s Glomar Response

     12.        Part one of NSD 20-338 sought the following records:

            I request the opportunity to view all documents, records, communications
            and/or other tangible evidence reflecting or pertaining to surveillance of
            Edward Butowsky of Texas or Matt Couch of Arkansas. The term
            “surveillance” includes, but is not limited to, any attempt to hack into the
            computers, phones, other electronic devices, and/or online accounts of Mr.




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            Butowsky or Mr. Couch. If any information obtained by surveillance was
            relayed to third parties, that information should be produced for inspection.

     13.        Based on its context, NSD FOIA interpreted the request as seeking NSD records

regarding surveillance that, should they exist, would have been authorized under the Foreign

Intelligence Surveillance Act of 1978 (FISA), codified at 50 U.S.C. § 1801, et seq. As such, NSD

FOIA asserted and continues to assert, a Glomar response to item one of the request pursuant to

FOIA Exemption 1 as further explained below.

     14.        As background, I note that because much of NSD’s work is of a classified nature,

NSD FOIA frequently asserts Exemption 1, protecting properly classified information from

disclosure in response to FOIA requests. 1 Information in NSD records is frequently, though not

exclusively, classified under section 1.4(c) of Executive Order 13526 which covers intelligence

activities, sources, and methods. 2 In circumstances where a confirmation that responsive records

exist would disclose a classified fact, such as with item one in this request, NSD’s usual practice

is to assert a Glomar response, thereby neither confirming nor denying the existence of

information that would disclose or suggest any such fact pursuant to FOIA Exemption 1 and

section 3.6(a) of Executive Order 13526. 3




 1
   See 5 U.S.C. § 552(b)(1) (“(A) specifically authorized under criteria established by an
 Executive order to be kept secret in the interest of national defense or foreign policy and (B) are
 in fact properly classified pursuant such Executive order.”)
 2
  Section 1.4 protects as classified information that “could reasonably be expected to cause
 identifiable or describable damage to the national security” with subsection c covering
 “intelligence activities (including covert action), intelligence sources or methods, or cryptology.”
 3
  “An agency may refuse to confirm or deny the existence or nonexistence of requested records
 whenever the fact of their existence or nonexistence is itself classified under this order or its
 predecessors.” Exec. Order No. 13526 § 3.6(a).


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     15.        As further background, I note that section 2.2 of Executive Order 13526 provides

for the derivative classification of National Security Information (NSI) by individuals who are not

OCAs, including staff of NSD FOIA, through the use of classification guidance. The United

States Department of Justice, National Security Information, Classification Guide (Ver. 2)

(August 22, 2019) (“NSICG”) is one such example. NSICG sets forth derivative classification

guidance for certain information regularly encountered in NSD FOIA’s work.

     16.        Several enumerated categories of information in the NSICG, designated for

protection under section 1.4(c) of Executive Order 13526, would apply to records responsive to

part one of this request, if any such records were to exist. Specifically, such items would be

classified under the NSICG as “an investigative technique requiring a FISA court order or other

FISA authorized collection,” see NSICG, Table 1.10, Item No.INV-4 (a), or because “[t]he fact

that a FISA court order or other FISA authorized collection was applied for or obtained in a

specific case,” see NSICG, Table 1.10, Item No.INV-8. Consistent with the longstanding

treatment of FISA collection as classified, NSD FOIA determined that any FISA-related

information responsive to part one of the request would be classified, if it existed, absent some

countervailing public disclosure or other action leading to declassification.

     17.        As an OCA, I confirm that the guidance provided in the NSICG is appropriate in

requiring the classification of FISA-related records responsive to part one of Plaintiff’s request,

should they exist, as they would implicate section 1.4 (c) of Executive Order 13526. This is

because such disclosure would cause harm to national security as it could permit hostile

intelligence services to use FOIA to acquire information about United States intelligence

investigations. Once a particular source or method, or the fact of its use in a particular situation,

is disclosed, its continued usefulness may be degraded. If NSD were to indicate that it maintains




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 responsive information, such confirmation would provide intelligence analysts of foreign

 intelligence services with individual pieces of information that could be compiled into a catalogue

 of FISA activities. Intelligence services and other adversaries could use these disclosures to gain

 insight into which intelligence agents operating in this country were known to the U.S.

 Government and which were not. Further, this information could be used to deploy

 counterintelligence assets against the U.S. Government thereby impairing U.S. intelligence

 collection.

      18.        Conversely, revealing the absence of responsive records pertaining to particular

 individuals would tend to indicate that persons within the scope of the request were not targets of

 surveillance conducted pursuant to FISA. That fact could be extremely valuable to foreign

 powers and hostile intelligence services who could use it to carry out intelligence activities with

 some comfort that the U.S. Government is either not monitoring certain people and may not even

 suspect them or otherwise is not concerned with their activities.

      19.        As a result, to protect critical intelligence information and minimize the harm to

 national security, NSD necessarily asserts a Glomar response to requests for information

 pertaining to operational FISA work. Any such records, were they to exist, would relate to

 intelligence collection overseen, though not undertaken, by NSD. The existence of such

 operations is properly classified under section 1.4(c) of Executive Order 13526. Thus, NSD must

 refuse to confirm or deny whether or not such records exist.

      20.        Further, to be credible and effective, absent highly unusual circumstances, NSD

 must use the Glomar response consistently in all cases where the existence of records responsive

 to a FOIA request is a classified fact, as it is here, including instances in which NSD does not

 possess records responsive to a particular request. If NSD were to invoke a Glomar response only




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 when it actually possessed responsive records, the Glomar response would be interpreted as an

 admission that responsive records exist. This practice would reveal the very information that

 NSD must protect in the interest of national security. An admission of the fact that NSD was in

 possession of particular records relating to specific FISA-authorized surveillance targets would

 provide hostile foreign powers with access to additional, operationally valuable information about

 hypothetical United States intelligence investigations and allow those powers to subvert those

 same hypothetical investigations. Similarly, if NSD were to make clear to the public via a

 response to a FOIA request that it did not possess responsive records relating to specific FISA-

 authorized surveillance targets, hostile foreign powers could benefit from knowledge of this fact.

      21.        I am confident that the determination about the existence or nonexistence of the

 requested records being classified has not been made to conceal violations of law, inefficiency, or

 administrative error; to prevent embarrassment to a person, organization, or agency; to restrain

 competition; or to prevent or delay the release of information that does not require protection in

 the interests of national security. See Exec. Order No. 13526 § 1.7(a).

                                  NSD’s Exemption 6 Redactions

      22.        NSD also has redacted, and thus withheld, the names and contact information,

 including e-mail addresses and direct telephone numbers, of non-Senior Executive Service (SES)

 Executive Branch personnel engaged in their official duties. NSD FOIA withheld this information

 pursuant to FOIA Exemption 6 because the withheld portions of these records "would constitute a

 clearly unwarranted invasion of personal privacy of third parties." See 5 U.S.C. § 552(b)(6).

      23.        Though it is the general practice, NSD FOIA does not always redact such names.

 In this case, NSD balanced the privacy interests of the Executive Branch personnel identified in

 the documents, including their interests in avoiding publicity regarding aspects of their work,




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 against the public interest in the disclosure of this information. NSD has assessed that the

 legitimate public interest in the names and contact information of particular employees is minimal

 in this context because this information would not shed any meaningful light on NSD's or the

 Department's operations. As a result, NSD determined that the privacy rights of these individuals

 outweighed the public interest, if any, in the disclosure of the information. NSD determined,

 therefore, that releasing this information would constitute a clearly unwarranted invasion of these

 individuals' privacy which outweighs the public interest in disclosure.

                                        Conclusion

         I certify, pursuant to 28 U.S.C. § 1746, under penalty of perjury, that the foregoing is true

 and correct.

         Executed this 2nd day of February, 2022, at Washington, D.C.
                                                                                 Digitally signed by PATRICK
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                                 Exhibit A
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                                 Exhibit B
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                                    1859
                       THE TRANSPARENCY PROJECT
                                           P.O. Box 20753
                                      Brooklyn, New York 11202
                                           (979) 985-5289
                                                                       ϮϬͲϯϰϭ;ůĞǀĞŶŐĞƌͿ
    June 11, 2020


    Office of the Attorney General                Office of Legislative Affairs
    U.S. Department of Justice                    U.S. Department of Justice
    950 Pennsylvania Avenue, N.W.                 950 Pennsylvania Avenue, N.W.
    Washington, DC 20530-0001                     Washington, DC 20530-0001

    National Security Division                    Executive Office for U.S. Attorneys
    U.S. Department of Justice                    U.S. Department of Justice
    950 Pennsylvania Avenue, N.W.                 950 Pennsylvania Avenue, N.W.
    Washington, DC 20530-0001                     Washington, DC 20530-0001

    Criminal Division                             Federal Bureau of Investigation
    U.S. Department of Justice                    935 Pennsylvania Avenue, NW
    950 Pennsylvania Avenue, N.W.                 Washington, D.C. 20535-0001
    Washington, DC 20530-0001

    Via electronic submission

    To Whom It May Concern:

           On November 7, 2018, Judicial Watch, Inc. filed suit for information that sought
    pursuant to the Freedom of Information Act (“FOIA”), namely the following:

       (1) Any and all records related to any investigations or preliminary investigations
           involving former congressional IT support staffers Abid Awan, Imran Awan,
           Jamal A wan, and Hina R. Alvi. As part of this request, searches should of records
           [ sic] should include, but not be limited to, the FBI automated indices, its older
           manual indices, and its Electronic Surveillance (EL SUR) Data Management
           System (EDMS), as well as cross-referenced files.

       (2) Any and all records of communication sent to or from FBI employees, officials or
           contractors involving the subjects in bullet item 1.

    See Judicial Watch, Inc. v. U.S. Department of Justice, Case No. 1:18-cv-02563
    (D.D.C.). As permitted by FOIA, and on behalf of the Transparency Project, I request the
    opportunity to view the same information, to include any information already provided to
    Judicial Watch.

            The Transparency Project is a nonprofit Texas corporation and intends to use all
    of the information requested above to educate the public about government misconduct,
    therefore I request a waiver of any fees. If charges will apply, please let me know the
Case 4:20-cv-00467-SDJ-CAN Document 69-2 Filed 09/27/22 Page 18 of 249 PageID #:
                                    1860



    approximate amount of such charges in advance. I can be reached by email at
    tyclevenger@yahoo.com if you need additional information.

           Sincerely,



           Ty Clevenger
           Executive Director
Case 4:20-cv-00467-SDJ-CAN Document 69-2 Filed 09/27/22 Page 19 of 249 PageID #:
                                    1861




                                 Exhibit C
Case 4:20-cv-00467-SDJ-CAN Document 69-2 Filed 09/27/22 Page 20 of 249 PageID #:
                                    1862
                       THE TRANSPARENCY PROJECT
                                          P.O. Box 20753
                                     Brooklyn, New York 11202
                                          (979) 985-5289


    June 15, 2020

    FOIA Initiatives Coordinator                                    &OHYHQJHU
    National Security Division
    U.S. Department of Justice
    950 Pennsylvania Avenue, N.W.
    Room 6150
    Washington, D.C. 20530-0001

    Via email
    nsdfoia@usdoj.gov

    Federal Bureau of Investigation
    Attn: FOI/PA Request
    Record/Information Dissemination Section
    170 Marcel Drive
    Winchester, VA 22602-4843

    Via facsimile
    (540) 868-4997

    To Whom It May Concern:

           On or about November 23, 2019, an interview of Asst. Attorney General Bill
    Demers of the National Security Division was broadcast by CBS’s 60 Minutes news
    magazine. See “Trump DOJ official on 2016 Russian election hack: ‘They were certainly
    looking to hurt Hillary Clinton.’” https://www.cbsnews.com/news/trump-doj-official-on-
    2016-russian-election-hack-they-were-certainly-looking-to-hurt-hillary-clinton-60-
    minutes/. In the interview with correspondent Bill Whitaker, Gen. Demers alleged that
    Russians hacked into Democratic National Committee servers in 2016 for the purpose of
    hurting presidential candidate Hillary Clinton.

           During one clip of the interview, an announcer elaborated on the supporting
    evidence that the National Security Division claimed to have in its possession:

           Assistant Attorney General John Demers runs the division, along with deputies
           Adam Hickey and Sean Newell. DOJ attorney, Heather Alpino, worked with
           special counsel Mueller on the Russian indictments. All have access to the
           underlying intelligence, and have no doubt the Russians interfered in the 2016
           election.

    The clip was followed by an exchange between Mr. Whitaker and Gen. Demmers:

           Bill Whitaker: This really happened.
Case 4:20-cv-00467-SDJ-CAN Document 69-2 Filed 09/27/22 Page 21 of 249 PageID #:
                                    1863


           John Demers: Yes. That really happened. And we believe that if we had to we
           could prove that in court tomorrow using only admissible, non-classified evidence
           to 12 jurors.

           Bill Whitaker: Do you ever expect to get the 12 Russian officials to trial?

           John Demers: I would be surprised. But the purpose of the indictment isn't just
           that, although that's certainly one of the purposes. The purpose of this kind of
           indictment is even to educate the public. For a legal document, the 29-page
           indictment is a page-turner. It details how U.S. intelligence agencies tracked each
           defendant's actions, sometimes by the keystroke, revealing the fictitious names
           and phony emails used to infiltrate the Democrats' computers, and tracing the
           stolen data on its circuitous route from Washington, D.C. to Moscow.

           Bill Whitaker: The information in the indictment is very detailed. You have
           descriptions of the Russian agents typing into their computers.

           John Demers: Obviously I can't go into too much detail because I don't wanna
           reveal investigative methods. But the insight here is that behind every one of
           those keyboards is not an IP address. It's a human being.

    On behalf of The Transparency Project, and as permitted by the Freedom of Information
    Act, I request the opportunity to view the following:

       (a) All documents, records, communications, and other tangible evidence supporting
           Gen. Demers’s claims to 60 minutes above, i.e., about Russian involvement in
           obtaining the DNC emails in 2016.

       (b) All documents, records, communications, and other tangible evidence relied on by
           Gen. Demers, Adam Hickey, Sean Newell, and Heather Alpino in support of their
           conclusions that Russians were responsible for obtaining the DNC emails in 2016.

       (c) All documents, records, communications, and other tangible evidence in the
           possession or control of the National Security Division concerning Seth Conrad
           Rich and/or Aaron Nathan Rich.

       (d) All documents, records, communications, and other tangible evidence in the
           possession or control of the National Security Division concerning other entities
           or individuals who may have played a role in stealing, hacking, leaking or
           improperly obtaining the DNC emails in 2016.

       (e) All documents, records, communications, and other tangible evidence in the
           possession or control of the National Security Division indicating whether the
           DNC emails were hacked externally, leaked from a source inside the DNC, or
           otherwise transmitted to third parties such as Wikileaks. If there was one or more
           than one instance of hacking, leaking, or other unauthorized transmission of DNC
           emails in 2016, please provide details for each such incident, e.g., the dates,
Case 4:20-cv-00467-SDJ-CAN Document 69-2 Filed 09/27/22 Page 22 of 249 PageID #:
                                    1864



           persons and entities involved, the data that was hacked, leaked, or otherwise
           transmitted, and the means by which it was hacked, leaked, or transmitted.

       (f) All documents, records, communications, and other tangible evidence in the
           possession or control of the National Security Division or the FBI regarding
           whether Debbie Wasserman-Shultz or any other member of Congress was
           blackmailed or extorted, whether directly or indirectly, as a result of information
           procured by any of the following: Imran Awan, Abid Awan, Jamal Awan, Hina
           Alvi, Rao Abbas, or anyone affiliated with the government of Pakistan.

            The Transparency Project is a nonprofit Texas corporation and intends to use all
    of the information requested above to educate the public about government misconduct,
    therefore I request a waiver of any fees. If charges will apply, please let me know the
    approximate amount of such charges in advance. I can be reached by email at
    tyclevenger@yahoo.com if you need additional information.

           Sincerely,



           Ty Clevenger
           Executive Director
           The Transparency Project
Case 4:20-cv-00467-SDJ-CAN Document 69-2 Filed 09/27/22 Page 23 of 249 PageID #:
                                    1865




                                 Exhibit D
Case 4:20-cv-00467-SDJ-CAN Document 69-2 Filed 09/27/22 Page 24 of 249 PageID #:
                                    1866
                       THE TRANSPARENCY PROJECT
                                             P.O. Box 20753
                                        Brooklyn, New York 11202
                                             (979) 985-5289
                                                                       ϮϬͲϯϯϴ

 June 18, 2020

 Information and Privacy Coordinator
 Central Intelligence Agency
 Washington, D.C. 20505

 Director, Information Management Division
 Office of the Director of National Intelligence
 Washington, D.C. 20511

 FOIA Initiatives Coordinator
 National Security Division
 U.S. Department of Justice
 950 Pennsylvania Avenue, N.W., Room 6150
 Washington, D.C. 20530-0001

 Federal Bureau of Investigation
 Attn: FOI/PA Request
 Record/Information Dissemination Section
 170 Marcel Drive
 Winchester, VA 22602-4843

        Re: Freedom of Information Act Request

 To Whom It May Concern:

        I write on behalf of the The Transparency Project (“TTP”), a nonprofit corporation
 headquartered in Texas, to request information pursuant to the Freedom of Information Act, 5
 U.S.C. § 552.
    1. I request the opportunity to view all documents, records, communications and/or other
       tangible evidence reflecting or pertaining to surveillance of Edward Butowsky of Texas or
       Matt Couch of Arkansas. The term “surveillance” includes, but is not limited to, any
       attempt to hack into the computers, phones, other electronic devices, and/or online accounts
       of Mr. Butowsky or Mr. Couch. If any information obtained by surveillance was relayed
       to third parties, that information should be produced for inspection.

    2. I request the opportunity to view all documents, records, communications and/or other
       tangible evidence pertaining to whether former Central Intelligence Agency Director David
       Petraeus mishandled classified information or sold such information during his tenure as
       CIA director. This request includes, but is not limited to, documents, records,
Case 4:20-cv-00467-SDJ-CAN Document 69-2 Filed 09/27/22 Page 25 of 249 PageID #:
                                    1867



        communications and/or other tangible evidence in the possession of the Office of the
        Inspector General of the CIA and/or the Office of the Intelligence Community Inspector
        General. This request further includes, but is not limited to, any draft indictments, draft
        arrest warrants, actual arrest warrants, and/or records of arrest.

 I have attached release authorizations from Mr. Butowsky and Mr. Couch. TTP intends to use the
 requested information to educate the public about government misconduct, therefore I request a
 waiver of any fees. If charges will apply, please let me know the approximate amount of such
 charges in advance. I can be reached by email at tyclevenger@yahoo.com if you need additional
 information.


        Sincerely,



        Ty Clevenger
        Executive Director
Case 4:20-cv-00467-SDJ-CAN Document 69-2 Filed 09/27/22 Page 26 of 249 PageID #:
                                    1868




                                 Exhibit E
Case 4:20-cv-00467-SDJ-CAN Document 69-2 Filed 09/27/22 Page 27 of 249 PageID #:
                                    1869




  From: Mallory, Arnetta (NSD)
  Sent: Wednesday, September 2, 2020 10:10 PM
  To: tyclevenger@yahoo.com
  Subject: NSD FOIA #20-341

  Ty Clevenger
  PO Box 20753
  Brooklyn, NY 11202-0753
                                                                       Re: FOIA/PA #20-341

  Dear Mr. Clevenger:

            This is to acknowledge your email dated June 11, 2020 to the Mail Referral Unit for
  information pertaining to (1) Any and all records related to any investigations or preliminary
  investigations involving former congressional IT support staffers Abid Awan, Imran Awan, Jamal A
  wan, and Hina R. Alvi. As part of this request, searches should of records [ sic] should include, but
  not be limited to, the FBI automated indices, its older manual indices, and its Electronic Surveillance
  (EL SUR) Data Management System (EDMS), as well as cross-referenced files. (2) Any and all records
  of communication sent to or from FBI employees, officials or contractors involving the subjects in
  bullet item 1. Our FOIA office received your Freedom of Information Act request on June 19, 2020.

         In response to the COVID-19 public health emergency, the NSD FOIA staff is teleworking full
  time. Our FOIA operations have been diminished while we are teleworking and our FOIA intake and
  FOIA processing will be slower than normal.

         Please provide more clarity of your request to the National Security Division. Our Division
  does not maintain FBI records. If we do not receive a response from you within 30 days, your file will
  be administratively closed.

          You may contact our Government Information Specialist, Arnetta Mallory, for any further
  assistance and to discuss any aspect of your request at:

          U.S. Department of Justice
          Records and FOIA Unit
          3 Constitution Square
          175 N Street N.E. 12th Floor
          Washington, DC 20530
          (202) 233-2639
Case 4:20-cv-00467-SDJ-CAN Document 69-2 Filed 09/27/22 Page 28 of 249 PageID #:
                                    1870

  Sincerely,


  Arnetta Mallory
  Government Information Specialist
Case 4:20-cv-00467-SDJ-CAN Document 69-2 Filed 09/27/22 Page 29 of 249 PageID #:
                                    1871




                                 Exhibit F
 Case 4:20-cv-00467-SDJ-CAN Document 69-2 Filed 09/27/22 Page 30 of 249 PageID #:
                                     1872
                                                      U.S. Department of Justice
                                                      National Security Division


                                                   Washington, D.C. 20530

Ty Clevenger
PO Box 20753
Brooklyn, NY 11202-0753                            November 5, 2020

                                                   Re: FOIA/PA #20-333

Dear Mr. Clevenger:

       This is to acknowledge your email dated June 15, 2020 attaching a Freedom of Information Act
(FOIA) request. We received your Freedom of Information Act request on June 15, 2020 and have
assigned it NSD #20-333.

       Specifically, your request seeks:

                (a) All documents, records, communications, and other tangible evidence supporting
       Gen. Demers’s claims to 60 minutes above, i.e., about Russian involvement in
       obtaining the DNC emails in 2016.
                (b) All documents, records, communications, and other tangible evidence relied on by
       Gen. Demers, Adam Hickey, Sean Newell, and Heather Alpino in support of their conclusions
       that Russians were responsible for obtaining the DNC emails in 2016.
                (c) All documents, records, communications, and other tangible evidence in the
       possession or control of the National Security Division concerning Seth Conrad Rich and/or
       Aaron Nathan Rich.
                (d) All documents, records, communications, and other tangible evidence in the
       possession or control of the National Security Division concerning other entities or individuals
       who may have played a role in stealing, hacking, leaking or improperly obtaining the DNC
       emails in 2016.
                (e) All documents, records, communications, and other tangible evidence in the
       possession or control of the National Security Division indicating whether the DNC emails were
       hacked externally, leaked from a source inside the DNC, or otherwise transmitted to third parties
       such as Wikileaks. If there was one or more than one instance of hacking, leaking, or other
       unauthorized transmission of DNC emails in 2016, please provide details for each such incident,
       e.g., the dates, persons and entities involved, the data that was hacked, leaked, or otherwise
       transmitted, and the means by which it was hacked, leaked, or transmitted.
                (f) All documents, records, communications, and other tangible evidence in the
       possession or control of the National Security Division or the FBI regarding whether Debbie
       Wasserman-Shultz or any other member of Congress was blackmailed or extorted, whether
       directly or indirectly, as a result of information procured by any of the following: Imran Awan,
       Abid Awan, Jamal Awan, Hina Alvi, Rao Abbas, or anyone affiliated with the government of
       Pakistan.


    Three discrete categories of law enforcement and national security records are excluded from the
 Case 4:20-cv-00467-SDJ-CAN Document 69-2 Filed 09/27/22 Page 31 of 249 PageID #:
                                     1873



requirements of FOIA. See 5 U.S.C. § 552(c). This response is limited to those records that are subject
to the requirements of FOIA. This is a standard notification that is given to all our requesters and should
not be taken as an indication that excluded records do, or do not, exist. Additionally, NSD maintains
investigative and prosecutorial files pertaining to subjects of NSD investigations. We do not routinely
search these records in response to requests regarding NSD investigations in cases where the
confirmation or denial of the existence of responsive records would, in and of itself, reveal information
which would constitute a clearly unwarranted invasion of personal privacy of third parties or would
reasonably be expected to interfere with enforcement proceedings. Accordingly, we can neither confirm
nor deny the existence of records that may be potentially responsive to your request pursuant to 5 U.S.C.
552(b)(6) and/or (7)(A) and/or (7)(C).

         Portions of your request are too broad in scope to identify any responsive records. Specifically,
items (b), (d), and (f) are too broad for us to craft a search for records or to conclusively determine that
we would neither confirm nor deny their existence without conducting a search. The Department of
Justice regulations require that requests, must describe the records that you seek in enough detail to
enable Department personnel to locate them with a reasonable amount of effort. And, whenever
possible, your request should include specific information about each record sought, such as the date,
title or name, author, recipient, and subject matter of the record.[28 CFR 16.3 (b)].

         Please provide your response regarding items (b), (d), and (e) within 30 days of the date of this
letter clarifying these items.

        We will conduct searches for records in response to items (a), (c), and (f) that would not fall
within the aforementioned scope of records whose existence the NSD can neither confirm nor deny.

        As this matter is already in litigation, we are omitting our standard appeal paragraph. If you have
any questions concerning this response please contact Assistant United States Attorney, Andrea Parker
of the Eastern District of Texas at (409) 839-2538.

       Notwithstanding the pending litigation, you may also contact the Office of Government
Information Services (OGIS) at the National Archives and Records Administration to inquire about the
FOIA mediation services they offer to try to resolve disputes between FOIA requesters and federal
agencies. The contact information for OGIS is as follows: Office of Government Information Services,
National Archives and Records Administration, 8601 Adelphi Road-OGIS, College Park, Maryland
20740-6001, e-mail at ogis@nara.gov; telephone at (202) 741-5770; toll free at (877) 684-6448; or
facsimile at (202) 741-5769. You also have the right to seek dispute resolution services through the
DOJ’s FOIA Public Liaison. NSD FOIA’s Public Liaison, Patricia Matthews, may be reached by
telephone at (202) 233-0756.

                                                       Sincerely,
                                                       ARNETTA   Digitally signed by ARNETTA
                                                                 MALLORY
                                                       MALLORY   Date: 2020.11.05 12:47:07 -05'00'



                                                       Arnetta Mallory
                                                       Government Information Specialist
Case 4:20-cv-00467-SDJ-CAN Document 69-2 Filed 09/27/22 Page 32 of 249 PageID #:
                                    1874




                                 Exhibit G
 Case 4:20-cv-00467-SDJ-CAN Document 69-2 Filed 09/27/22 Page 33 of 249 PageID #:
                                     1875
                                                       U.S. Department of Justice

                                                       National Security Division


                                                    Washington, D.C. 20530

Ty Clevenger
PO Box 20753
Brooklyn, NY 11202-0753                             March 9, 2021
Via email: tyclevenger@yahoo.com
                                                    Re: FOIA/PA #20-333

Dear Mr. Clevenger:

       This is our first interim response to your email dated June 15, 2020 attaching a Freedom of
Information Act (FOIA) request.

       Specifically, your request seeks:

                (a) All documents, records, communications, and other tangible evidence supporting
       Gen. Demers’s claims to 60 minutes above, i.e., about Russian involvement in
       obtaining the DNC emails in 2016.
                (b) All documents, records, communications, and other tangible evidence relied on by
       Gen. Demers, Adam Hickey, Sean Newell, and Heather Alpino in support of their conclusions
       that Russians were responsible for obtaining the DNC emails in 2016.
                (c) All documents, records, communications, and other tangible evidence in the
       possession or control of the National Security Division concerning Seth Conrad Rich and/or
       Aaron Nathan Rich.
                (d) All documents, records, communications, and other tangible evidence in the
       possession or control of the National Security Division concerning other entities or individuals
       who may have played a role in stealing, hacking, leaking or improperly obtaining the DNC
       emails in 2016.
                (e) All documents, records, communications, and other tangible evidence in the
       possession or control of the National Security Division indicating whether the DNC emails were
       hacked externally, leaked from a source inside the DNC, or otherwise transmitted to third parties
       such as Wikileaks. If there was one or more than one instance of hacking, leaking, or other
       unauthorized transmission of DNC emails in 2016, please provide details for each such incident,
       e.g., the dates, persons and entities involved, the data that was hacked, leaked, or otherwise
       transmitted, and the means by which it was hacked, leaked, or transmitted.
                (f) All documents, records, communications, and other tangible evidence in the
       possession or control of the National Security Division or the FBI regarding whether Debbie
       Wasserman-Shultz or any other member of Congress was blackmailed or extorted, whether
       directly or indirectly, as a result of information procured by any of the following: Imran Awan,
       Abid Awan, Jamal Awan, Hina Alvi, Rao Abbas, or anyone affiliated with the government of
       Pakistan.

     In an e-mail dated November 19, 2020, you indicated that “We would be willing to limit the initial
search to Mr. Demers, but eventually we would like to see the relevant info for the other individuals.”
 Case 4:20-cv-00467-SDJ-CAN Document 69-2 Filed 09/27/22 Page 34 of 249 PageID #:
                                     1876



       We have conducted a search of the records of Mr. John Demers and located a record that is
responsive to your request. We are withholding portions of that record pursuant to the following
FOIA exemption set forth in 5 U.S.C. 552(b):

    (6) Which permits the withholding of personnel and medical files and similar files the disclosure of
which would constitute a clearly unwarranted invasion of personal privacy.

    NSD is continuing to process remaining records that are responsive to your request. Please note that
NSD is also conducting searches and processing records that are beyond the narrowed scope of just the
records of Mr. Demers. We will provide you with an update, to include a possible supplemental
production prior to the next (after the March 16, 2021) Joint Status Report in this matter.

     Please note that three discrete categories of law enforcement and national security records are
excluded from the requirements of FOIA. See 5 U.S.C. § 552(c). This response is limited to those
records that are subject to the requirements of FOIA. This is a standard notification that is given to all
our requesters and should not be taken as an indication that excluded records do, or do not, exist.
Additionally, NSD maintains investigative and prosecutorial files pertaining to subjects of NSD
investigations. We do not routinely search these records in response to requests regarding NSD
investigations in cases where the confirmation or denial of the existence of responsive records would, in
and of itself, reveal information which would constitute a clearly unwarranted invasion of personal
privacy of third parties or would reasonably be expected to interfere with enforcement proceedings.
Accordingly, we can neither confirm nor deny the existence of records that may be potentially
responsive to your request pursuant to 5 U.S.C. 552(b)(6) and/or (7)(A) and/or (7)(C).

        As this matter is already in litigation, we are omitting our standard appeal paragraph. If you have
any questions concerning this response please contact Assistant United States Attorney, Andrea Parker
of the Eastern District of Texas at (409) 839-2538.

       Notwithstanding the pending litigation, you may also contact the Office of Government
Information Services (OGIS) at the National Archives and Records Administration to inquire about the
FOIA mediation services they offer to try to resolve disputes between FOIA requesters and federal
agencies. The contact information for OGIS is as follows: Office of Government Information Services,
National Archives and Records Administration, 8601 Adelphi Road-OGIS, College Park, Maryland
20740-6001, e-mail at ogis@nara.gov; telephone at (202) 741-5770; toll free at (877) 684-6448; or
facsimile at (202) 741-5769. You also have the right to seek dispute resolution services through the
DOJ’s FOIA Public Liaison. NSD FOIA’s Public Liaison, Patricia Matthews, may be reached by
telephone at (202) 233-0756.

                                                     Sincerely,
                                                                         Digitally signed by KEVIN

                                                    KEVIN TIERNAN TIERNAN
                                                                  Date: 2021.03.09 11:52:15
                                                                         -05'00'

                                                     Kevin G. Tiernan
                                                     Records and FOIA
Case 4:20-cv-00467-SDJ-CAN Document 69-2 Filed 09/27/22 Page 35 of 249 PageID #:
                                    1877

   From:            Raimondi, Marc (PAO)
   To:              Demers, John C. (NSD); Andrews, Kelli (NSD); Hickey, Adam (NSD); b6
   Subject:         2019 10 31 GRU July 2018 Indictment Media Report
   Date:            Thursday, October 31, 2019 2:00:12 PM
   Attachments:     2019 10 31 GRU July 2018 Indictment Media Report.docx


  John, when our intern b6                     heard you were doing 60 Minutes on this case, she took it
  upon herself, unasked, to compile all the past clips for your review.
  If you find it useful, please feel free to send her a note because I know she spent a good amount of
  time on it: b6
  b6 /Adam, for your records. I messed with the margins a bit to get it down to 39 pages from 50.
    Case 4:20-cv-00467-SDJ-CAN Document 69-2 Filed 09/27/22 Page 36 of 249 PageID #:
              GRU U.S. Election Hacking 1878Indictment: July 13, 2018

                                              Indictment
    DOJ Press Release (full release is at the end of this document): Grand Jury Indicts 12 Russian
              Intelligence Officers for Hacking Offenses Related to the 2016 Election
               Media Report Compiled on October 31st, 2019 for AAG Demers 60M Prep
Headlines:
Mueller probe indicts 12 Russians with hacking of Democrats in 2016 The Washington Post
12 Russian Agents Indicted in Mueller Investigation NYT
Justice Department Charges Russian Cyberspies With Attack On 2016 Election NPR
Russian intel officers charged with hacking Dems, Clinton to disrupt election NBC
12 Russians indicted in Mueller investigation CNN
Russian intelligence officers indicted in DNC hacking CBS
12 Russian intelligence officers indicted for hacking into DNC, Clinton campaign USA Today
Read Mueller’s full indictment against 12 Russian officers for election interference PBS
Russian officers indicted for allegedly hacking Clinton campaign, DNC emails Fox News
Mueller indicts 12 Russians for DNC hacking as Trump-Putin summit looms POLITICO
Mueller Probe Indicts 12 Russians in Hacking of DNC and Clinton Campaign WSJ
U.S. accuses Russian spies of 2016 election hacking as summit looms Reuters
Russian Intelligence Officers Have Been Indicted For Hacking Hillary Clinton's Presidential
Campaign BuzzFeed News
The Coincidence at the Heart of the Russia Hacking Scandal The Atlantic (Opinion)
Mueller’s Politicized Indictment of Twelve Russian Intelligence Officers National Review (Opinion)
  Case 4:20-cv-00467-SDJ-CAN Document 69-2 Filed 09/27/22 Page 37 of 249 PageID #:
Mueller probe indicts 12 Russians with hacking of1879
                                                  Democrats in 2016
The Washington Post July 13, 2018
A dozen Russian military intelligence officers were indicted Friday on charges they hacked Democrats’
computers, stole their data and published those files to disrupt the 2016 election — the clearest connection to
the Kremlin established so far by special counsel Robert S. Mueller III’s investigation of interference in the
presidential campaign.
The indictment against members of the Russian military agency known as the GRU marks the first time
Mueller has taken direct aim at the Russian government, accusing specific military units and their named
officers of a sophisticated, sustained effort to hack the computer networks of Democratic organizations and
the Hillary Clinton campaign.
Deputy Attorney General Rod J. Rosenstein announced the charges at a midday news conference. Mueller, as
has been his practice, did not attend the announcement. Court records show that a grand jury that Mueller has
been using returned an indictment Friday morning.
The suspects “covertly monitored the computers, implanted hundreds of files containing malicious computer
code, and stole emails and other documents,” Rosenstein said. “The goal of the conspirators was to have an
LPSDFWRQWKHHOHFWLRQ:KDWLPSDFWWKH\PD\KDYHKDGௗௗLVDPDWWHURIVSHFXODWLRQWKDW¶VQRWRXU
responsibility.”
The indictment comes days before President Trump is due to meet with Russian President Vladimir Putin in
Finland. Rosenstein said he briefed Trump earlier this week on the charges.
Trump’s lawyer Rudolph W. Giuliani said on Twitter that the indictments “are good news for all Americans.
The Russians are nailed. No Americans are involved.” He then called on Mueller “to end this pursuit of the
president and say President Trump is completely innocent.”
The 11-count, 29-page indictment describes in granular detail a carefully planned and executed attack on the
information security of Democrats, as Russian government hackers implanted hundreds of malware files on
Democrats’ computer systems to steal information. The hackers then laundered the pilfered material through
fake personas called DC Leaks and Guccifer 2.0, as well as others, to try to influence voters.
One of their conduits, identified in the indictment only as “Organization 1,” was WikiLeaks, the global anti-
secrecy group led by Julian Assange, according to people familiar with the case. The indictment describes
WikiLeaks communicating with Guccifer 2.0 to obtain material.
On July 6, 2016, according to the indictment, WikiLeaks wrote, “if you have anything Hillary related we
want it in the next tweo [sic] days prefable [sic] because the DNC [Democratic National Convention] is
approaching and she will solidify bernie supporters behind her after,” referring to Clinton’s rival for the
Democratic nomination, Sen. Bernie Sanders (I-Vt.). WikiLeaks explained, “we think trump has only a 25%
FKDQFHRIZLQQLQJDJDLQVWKLOODU\ௗௗVRFRQIOLFWEHWZHHQEHUQLHDQGKLOODU\LVLQWHUHVWLQJ´
WikiLeaks released nearly 20,000 Democratic National Committee emails on the eve of the convention later
that month, providing an embarrassing look at party operations and attitudes toward the Sanders campaign.
A former Justice Department official who was previously involved in the Russia probe said the charges
should serve as a warning for the United States to buttress its election security as Americans prepare to vote
in congressional elections in November.
“The detailed charges in this indictment make it unmistakably clear that the United States faces an
aggressive, sophisticated adversary bent on using cyber means to subvert our democratic processes and
institutions,” said David Laufman, a former chief of the Justice Department’s Counterintelligence and Export
   Case 4:20-cv-00467-SDJ-CAN Document 69-2 Filed 09/27/22 Page 38 of 249 PageID #:
Control Section. “Now is the time for unequivocal recognition
                                                    1880      of this threat by both the executive branch and
Congress, and for a unified and well-coordinated commitment to confront it.”
The indictment offers troubling new accusations about the extent of Russian hacking efforts and interactions
with Americans.
 “On or about August 15, 2016, the conspirators, posing as Guccifer 2.0, received a request for stolen
documents from a candidate for the U.S. Congress,” the indictment states. “The conspirators responded using
the Guccifer 2.0 persona and sent the candidate stolen documents related to the candidate’s opponent.” The
indictment does not identify the candidate.
The indictment also describes an online conversation between the GRU, posing as Guccifer 2.0, and a
“person who was in regular contact with senior members of the presidential campaign of Donald J. Trump.”
People familiar with the case said that person is longtime Trump adviser Roger Stone. In August 2016, the
KDFNHUSHUVRQDZURWH³SOHDVHWHOOPHLILFDQKHOSXDQ\KRZௗௗLWZRXOGEHDJUHDWSOHDVXUHWRPH´
Stone’s lawyer Grant Smith said, “It is clear from the indictment issued today that our client, Roger Stone,
was not in any way involved with any of the alleged hacking of the 2016 election. As he testified before the
House Intelligence Committee under oath, his 24-word exchange with someone on Twitter claiming to be
Guccifer 2.0 is benign, based on its content, context and timing.”
U.S. officials identified one of the GRU sections that carried out the operations as Unit 26165, which worked
out of a building about four miles from the Kremlin. It was responsible for hacking the DNC and the
Democratic Congressional Campaign Committee, according to the indictment, which accuses Viktor
Netyksho of being the military officer in command of Unit 26165 at the time.
Although the DNC was able to partially kick the Russian hackers out of its system in June 2016, the
indictment says three months later, the GRU “successfully gained access to DNC computers hosted on a
third-party cloud-computing service” which held “test applications related to the DNC’s analytics,”
according to the indictment. The hacker stole that data from the DNC, the indictment said.
Another group of Russian military officers, Unit 74455, working out of a building that GRU officers referred
to as the “Tower,” used fake online personas to spread stolen files, officials charged. The indictment
identifies Col. Aleksandr Osadchuk as the commanding officer of that unit.
The indictment also notes an interesting development on July 27, 2016 — the day then-candidate Trump
gave a press conference declaring his hope that missing Clinton emails would be found and made public,
saying: “Russia, if you’re listening, I hope you’re able to find the 30,000 emails that are missing.”
The indictment says “on or about” that same day, “the conspirators attempted after hours to spearphish for
the first time email accounts at a domain hosted by a third-party provider and used by Clinton’s personal
office. At or around the same time, they also targeted seventy-six email addresses at the domain for the
Clinton campaign.”
The Russian Foreign Ministry rejected the indictment’s allegations as lacking evidence and described the
charges as a clear effort to derail the Trump-Putin summit in Helsinki.
 “It is unfortunate that distributing false information has become the norm in Washington, and that criminal
cases are being initiated based on clearly political motives,” the ministry said. Referring to the Mueller
investigation, the statement went on: “The question remains how long this shameful comedy that is
embarrassing the United States will go on.”
Rosenstein said the hackers interacted with some Americans in the course of their efforts but noted that those
people had not been charged with a crime.
     Case 4:20-cv-00467-SDJ-CAN Document 69-2 Filed 09/27/22 Page 39 of 249 PageID #:
“When we confront foreign interference in American1881  elections, it is important for us to avoid thinking
politically as Republicans or Democrats and instead to think patriotically as Americans. Our response must
not depend on who was victimized,” he said. “There will always be adversaries who work to exacerbate
domestic differences and try to confuse, divide and conquer us. So long as we are united in our commitment
to the values enshrined in the Constitution, they will not succeed.”
Mueller and a team of prosecutors have been working since May 2017 to determine whether any Trump
associates conspired with Russia to interfere in the election. With the new indictment, his office has filed
charges against 32 people on crimes including hacking, money laundering and lying to the FBI. Twenty-six
of those charged are Russians who are unlikely to ever be put on trial in the United States.
In February, Mueller indicted a group of Russian Internet trolls who worked out of the Internet Research
Agency, a company based in St. Petersburg and owned by a wealthy associate of Putin.
Trump’s former campaign manager, Paul Manafort, is in jail in Alexandria, Va., awaiting trial this month on
financial fraud charges brought by Mueller but stemming from activities that predated the Trump campaign.
Mueller’s probe has come under sustained attack from Trump and at a press conference in England on Friday
before Rosenstein spoke, the president again labeled the investigation a “witch hunt.”
“I think that we’re being hurt very badly by the — I would call it the witch hunt,” said Trump as he stood
beside British Prime Minister Theresa May. “It really hurts our relationship with Russia.”
Rosenstein said of his decision to brief Trump, “It was important for the president to know what information
we’ve uncovered because he’s got to make very important decisions for the country. He needs to understand
what evidence we have of foreign election interference.”
12 Russian Agents Indicted in Mueller Investigation
NYT July 13, 2018
WASHINGTON — The special counsel investigating Russian interference in the 2016 election issued an
indictment of 12 Russian intelligence officers on Friday in the hacking of the Democratic National
Committee and the Clinton presidential campaign. The indictment came only three days before President
Trump was planning to meet with President Vladimir V. Putin of Russia in Helsinki, Finland.
The 29-page indictment is the most detailed accusation by the American government to date of the Russian
government’s interference in the 2016 election, and it includes a litany of brazen Russian subterfuge
operations meant to foment chaos in the months before Election Day.
From phishing attacks to gain access to Democratic operatives, to money laundering, to attempts to break
into state elections boards, the indictment details a vigorous and complex effort by Russia’s top military
intelligence service to sabotage the campaign of Mr. Trump’s Democratic rival, Hillary Clinton.
The timing of the indictment, by Robert S. Mueller III, the special counsel, added a jolt of tension to the
already freighted atmosphere surrounding Mr. Trump’s meeting with Mr. Putin. It is all but certain to feed
into the conspiratorial views held by the president and some of his allies that Mr. Mueller’s prosecutors are
determined to undermine Mr. Trump’s designs for a rapprochement with Russia.
The president has long expressed doubt that Russia was behind the 2016 attacks, and the 11-count indictment
illustrates even more the distance between his skepticism and the nearly unanimous views of the intelligence
and law enforcement agencies he leads.
“Free and fair elections are hard fought and contentious, and there will always be adversaries who work to
exacerbate domestic differences and try to confuse, divide and conquer us,” Rod J. Rosenstein, the deputy
attorney general, said Friday during a news conference announcing the indictment.
    Case 4:20-cv-00467-SDJ-CAN Document 69-2 Filed 09/27/22 Page 40 of 249 PageID #:
“So long as we are united in our commitment to the shared
                                                   1882 values enshrined in the Constitution, they will not
succeed,” he said.
It was a striking statement a day after Republican members of Congress, engaging in a shouting match
during a hearing, attacked Peter Strzok, the F.B.I. agent who oversaw the early days of the Russia
investigation, and questioned the integrity of the Justice Department for what they charged was bias against
the president.
The announcement created a bizarre split screen on cable networks of the news conference at the Justice
Department and the solemn pageant at Windsor Castle in England, where Mr. Trump and his wife, Melania,
were reviewing royal guards with Queen Elizabeth II.
Russia has denied that its government had any role in hacking the presidential election, and on Friday, Mr.
Trump said he would confront Mr. Putin directly. But the president said he did not expect his Russian
counterpart to acknowledge it.
“I don’t think you’ll have any, ‘Gee, I did it, you got me,’” Mr. Trump said during a news conference hours
before the indictment was announced. He added that there would not be any “Perry Mason” — a reference to
the 1950s and 1960s courtroom TV drama in which Perry Mason, a criminal defense lawyer played by
Raymond Burr, often got people to confess. “I will absolutely firmly ask the question.”
But Mr. Trump also said he believed that the focus on Russia’s election meddling and whether his campaign
was involved were merely partisan issues that made it more difficult for him to establish closer ties with Mr.
Putin.
The Kremlin agreed. A statement on Friday from Russia’s Foreign Ministry said that the indictment was
meant to “spoil the atmosphere before the Russian-American summit.”
After the indictment was announced, Senator Chuck Schumer of New York, the Democratic leader, and
others in his party called on Mr. Trump to cancel his one-on-one meeting with Mr. Putin.
The indictment, Mr. Schumer said in a statement, was “further proof of what everyone but the president
seems to understand: President Putin is an adversary who interfered in our elections to help President Trump
win.” He added that “glad-handing with Vladimir Putin” would “be an insult to our democracy.”
The indictment builds on a declassified report released in January 2017 by several intelligence agencies,
which concluded that “Putin and the Russian government aspired to help President-elect Trump’s election
chances when possible by discrediting Secretary Clinton and publicly contrasting her unfavorably to him.”
Mr. Trump has long questioned the findings of intelligence agencies, suggesting alternate scenarios for who
might have carried out the hacking campaigns. “It also could be somebody sitting on their bed that weighs
400 pounds, O.K.?” Mr. Trump said during the first presidential debate in September 2016.
Friday’s indictment did not include any accusations that the Russian efforts succeeded in influencing the
election results, nor evidence that any of Mr. Trump’s advisers knowingly coordinated with the Russian
campaign — a point immediately seized upon by the president’s allies.
Rudolph W. Giuliani, the president’s lawyer, said in a Twitter post that the indictment showed “no
Americans are involved,” and he called on Mr. Mueller to end the inquiry. “The Russians are nailed,” Mr.
Giuliani wrote.
Still, the indictment added curious new details to the events leading up to the November 2016 elections.
The indictment revealed that on July 27, 2016, Russian hackers tried for the first time to break into the
servers of Mrs. Clinton’s personal offices. It was the same day that Mr. Trump publicly encouraged Russia to
hack Mrs. Clinton’s emails.
    Case 4:20-cv-00467-SDJ-CAN Document 69-2 Filed 09/27/22 Page 41 of 249 PageID #:
“I will tell you this, Russia: If you’re listening, I hope1883
                                                           you’re able to find the 30,000 emails that are missing,”
Mr. Trump said during a news conference in Florida. “I think you will probably be rewarded mightily by our
press.”
The indictment does not mention those remarks.
Separately, the indictment states that the hackers were communicating with “a person who was in regular
contact with senior members of the presidential campaign.” Two government officials identified the person
as Roger J. Stone Jr., a longtime adviser to Mr. Trump and the subject of close scrutiny by the F.B.I. and Mr.
Mueller’s team. There is no indication that Mr. Stone knew he was communicating with Russians.
Communicating on Aug. 15 as Guccifer 2.0, an online persona, the Russian hackers wrote: “thank u for
writing back … do u find anyt[h]ING interesting In the docs i posted?”
Two days later, the hackers wrote the person again, adding, “please tell me If i can help u anyhow … it
would be a great pleasure to me.”
In another interaction several weeks later, the hackers, again writing as Guccifer 2.0, pointed to a document
stolen from the Democratic Congressional Campaign Committee and posted online, asking, “what do u think
of the info on the turnout model for the democrats entire presidential campaign.”
The person replied: “[p]retty standard.”
Friday’s indictment is a “big building block in the narrative being constructed for the American people
regarding what happened during the election,” said Raj De, the chairman of the cybersecurity practice at
Mayer Brown and the former general counsel of the National Security Agency.
By pulling together threads that Americans have read about for years — including the hacking of political
institutions and campaigns, the dissemination of hacked emails and the attempts to compromise state election
infrastructure — “this shows that the Russian campaign to impact the election was more coordinated and
strategic than some have given it credit,” Mr. De said. “This indictment is our clearest window into that
campaign.”
The document is a portrait of a coordinated and well-executed attack that targeted more than 300 people
affiliated with the Clinton campaign, as well as other Democratic Party organizations. They implanted
malicious computer code into computers, covertly monitored their users and stole their files that led to a
series of disastrous leaks.
Investigators identified the 12 individuals in the indictment more than a year ago, according to a person with
knowledge of the investigation who was not authorized to speak publicly about it.
Starting in April 2016, the hackers began to spread their stolen files using several online personas, including
DC Leaks and Guccifer 2.0. The tens of thousands of stolen documents were released in stages that wreaked
havoc on the Democratic Party throughout much of the election season.
The Russians also worked with people and organizations that were in a position to spread the information,
including WikiLeaks, identified in the indictment as “Organization 1.”
According to the indictment, WikiLeaks wrote to Guccifer 2.0 in July 2016 asking for “anything Hillary
related” in the coming days.
Most of the Russian intelligence officials charged in Friday’s indictment worked for the Russian military
intelligence agency, formerly known as the G.R.U. and now called the Main Directorate.
While many of the broad elements of the Russian scheme were known before, investigators have not
previously said how the Russian agents paid for the hacking campaign. The hackers’ use of cryptocurrency
    Case 4:20-cv-00467-SDJ-CAN Document 69-2 Filed 09/27/22 Page 42 of 249 PageID #:
was one of the last pieces to fall into place for investigators
                                                        1884 in a case that they have been working on for
more than a year.
The indictment released Friday said that the agents handled the most delicate transactions with the
cryptocurrency Bitcoin. The Malaysian computer server that hosted DCLeaks.com, for instance, was paid for
with the virtual currency.
Because Bitcoin functions without any central authority, the technology “allowed the conspirators to avoid
direct relations with traditional financial institutions, allowing them to evade greater scrutiny of their
identities and sources of funds,” the indictment said.
The Russian agents had several methods for acquiring Bitcoin, according to the indictment. At one point, the
agents were actually mining new Bitcoin, a process that involves using computers to unlock new Bitcoin by
solving complex computational problems.
The indictment’s extraordinary details may raise pointed questions about actions taken and not taken by
American intelligence agencies and the Obama administration as the Russian campaign unfolded.
In many instances, the indictment describes the actions of individual Russian intelligence officers on
particular dates. It is unclear from the indictment whether American intelligence agencies, primarily the
National Security Agency, were watching in real time as the Russians prepared for and carried out their
attacks against Democratic targets in spring 2016.
It was not until October 2016 that the government put out its first public statement on the Russian intrusion.
If Americans knew much earlier about Russian actions, there will be questions about why they did not warn
the targets, try countermeasures or call Russia out publicly before they did.
It is possible, however, that American spies did not detect the Russian attacks in real time, but reconstructed
them later by studying the hacked Democratic networks and possibly breaking into Russian systems to
examine logs.
Some experts said that the granular detail in the indictment was a warning to groups who might be eyeing
future attacks.
“Even from a historical perspective, I can’t think of a case when someone went into this level of naming and
shaming,” said Thomas Rid, a professor of strategic studies at Johns Hopkins University. “This is really
significant.”
“There is going to be a deterrent effect on third parties,” he said. “If you are doing this kind of work, there
are now so many examples of you finding your name in an indictment, it will definitely have an effect.”
Justice Department Charges Russian Cyberspies With Attack On 2016 Election
NPR July 13th, 2018
The Justice Department charged 12 Russian intelligence officers on Friday with a litany of alleged offenses
related to Russia's hacking of the Democratic National Committee's emails, state election systems and other
targets in 2016.
Deputy Attorney General Rod Rosenstein, who announced the indictments, said the Russians involved
belonged to the military intelligence service GRU. They are accused of a sustained cyberattack against
Democratic Party targets, including its campaign committee and Hillary Clinton's campaign.
The GRU attackers also allegedly targeted state election systems, including government agencies and their
vendors, and stole information about 500,000 American voters.
     Case 4:20-cv-00467-SDJ-CAN Document 69-2 Filed 09/27/22 Page 43 of 249 PageID #:
The attacks were a signature feature of Russia's active   measures DJDLQVWWKH8QLWHG6WDWHVHPEDUUDVVLQJ
                                                       1885
emails were passed to WikiLeaks, which released them publicly. The GRU also created other ways to pass
the material it stole into the public, including a website called DCLeaks and a fake persona called "Guccifer
2.0."
The flood of embarrassing information about the inner workings of the Democratic Party's leadership led to
the resignation of then-DNC Chairwoman Debbie Wasserman-Schultz. Later, Clinton's campaign chairman
John Podesta also was embarrassed by the release of his emails.
The Russians named in the indictment discussed how and when to release material they had accumulated to
make the biggest political splash inside the United States, Rosenstein said.
There is no allegation in the indictment that any American participated knowingly in the GRU cyberattacks,
Rosenstein said.
Justice Department special counsel Robert Mueller is continuing to investigate whether anyone in the United
States conspired with the Russian attack on the election.
But Rosenstein said that responsibility for this prosecution — which is unlikely to go forward to a trial in
court as Russia is unlikely to extradite the suspects who have been charged — would pass from Mueller's
office to the national security division of the Justice Department.
Friday's announcement follows a separate but related indictment by the special counsel's office from earlier
this year of Russians allegedly connected to the campaign of social media agitation aimed at amplifying
political controversy within the United States.
The Russian government has so far declined to extradite the people named, although one American
attorney has been arguing the case in Washington on behalf of a company that's involved.
Cui bono?
Rosenstein asked Americans to not only focus on who was hurt by or benefited politically from the Russian
attacks but to unite against foreign influence in the American democratic process.
"In my remarks, I have not identified the victims," Rosenstein said. "When we confront foreign interference
in American elections, it is important for us to avoid thinking politically as Republicans or Democrats and
instead to think patriotically as Americans. Our response must not depend on who was victimized."
The U.S. intelligence community has concluded, with further verification by the Senate intelligence
committee, that Russia's active measures were aimed at hurting Clinton and helping Trump.
White House spokeswoman Lindsay Walter emphasized that no one in the Trump campaign was connected
with the indictment unsealed on Friday.
"Today's charges include no allegations of knowing involvement by anyone on the campaign and no
allegations that the alleged hacking affected the election result," she said. "This is consistent with what we
have been saying all along."
Separately, one of Trump's lawyers, former New York Mayor Rudy Giuliani, welcomed the Justice
Department announcement and said it showed that Mueller should finish up soon.
"The indictments Rod Rosenstein announced are good news for all Americans," he wrote on Twitter. "The
Russians are nailed. No Americans are involved. Time for Mueller to end this pursuit of the President and
say President Trump is completely innocent."
    Case 4:20-cv-00467-SDJ-CAN Document 69-2 Filed 09/27/22 Page 44 of 249 PageID #:
The Americans who were unwittingly communicating     with the Russian spies included a candidate for
                                                   1886
Congress — who is not identified — and at least one journalist. At least "one person who was in regular
contact with senior members of the presidential campaign" also communicated with the GRU officers.
The indictment also says that on July 27, 2016, the GRU officers "attempted after hours to spearphish for the
first time email accounts at a domain hosted by a third-party provider and used by Clinton's personal office."
They also pinged 76 emails associated with the Clinton campaign.
July 27 was the day that Trump said, "Russia, if you're listening, I hope you're able to find the 30,000 emails
that are missing" from Clinton's email servers.
Geopolitical implications
Rosenstein's announcement took place just ahead of a planned meeting between President Trump and
Russian President Vladimir Putin on Monday in Helsinki.
Trump told reporters Friday during his visit to the United Kingdom that he planned to "ask" Putin about
Russia's attack on the election.
Trump has gone back and forth as to what he acknowledges about what took place and has cited Russia's
official denials about its active measures. The president also has said the interference took place and vowed
that if it returned in the 2018 midterm election — as U.S. intelligence officials have warned it may — he
would "counteract it very strongly."
Rosenstein said the announcement of the charges on Friday took place because that was when the special
counsel's office had completed its work investigating them and had the ability to present the evidence to a
grand jury. The deputy attorney general said he had briefed the president about the matter.
Russia's foreign ministry said the indictments were an attempt to "spoil" the meeting.
Virginia Sen. Mark Warner, the top Democrat on the Senate intelligence committee, called on Trump to
cancel his one-on-one meeting with Putin in Helsinki.
Warner told reporters on Capitol Hill that he worried that Trump's "ad hoc style" in which he "does not
prepare" would be "taken advantage of" by Putin.
House Minority Leader Nancy Pelosi, D-Calif., said the indictment emphasized how tough Trump must be
on Putin at their summit.
"The stakes for the upcoming Trump-Putin meeting could not be higher," Pelosi said. "President Trump must
demand and secure a real, concrete and comprehensive agreement that the Russians will cease their ongoing
attacks on our democracy. Failure to stand up to Putin would constitute a profound betrayal of the
Constitution and our democracy."
Pelosi later joined other Democrats on Friday in calling for Trump to cancel his meeting with Putin.
Republicans stopped short of calling for Trump to cancel his meeting but some of them did also call for the
president to take a firm line.
"All patriotic Americans should understand that Putin is not America's friend, and he is not the president's
buddy," said Nebraska Sen. Ben Sasse. "We should stand united against Putin's past and planned future
attacks against us."
South Carolina Rep. Trey Gowdy, chairman of the House oversight committee, echoed the note that
Rosenstein sounded about how Americans of all political parties should be concerned about foreign election
interference.
    Case 4:20-cv-00467-SDJ-CAN Document 69-2 Filed 09/27/22 Page 45 of 249 PageID #:
"I am pleased Russia is being held accountable for their
                                                     1887actions against our country," Gowdy said. "This was
not an attack on Republicans or an attack on Democrats — this was an attack on the United States."
The oversight committee plans to convene a hearing about election security by the end of July.
Russian intel officers charged with hacking Dems, Clinton to disrupt election
NBC July 13th, 2018
WASHINGTON — Twelve Russian intelligence officers have been indicted in connection with the bitcoin-
funded hacking of Democratic organizations and the Hillary Clinton campaign "with the intent to interfere"
in the 2016 election, officials announced Friday.
The charges, brought by special counsel Robert Mueller and announced by Deputy Attorney General Rod
Rosenstein, come at a diplomatically sensitive time — just days before President Donald Trump meets
formally for the first time with Russian President Vladimir Putin in Helsinki.
Among the new details: the conspirators allegedly first tried to compromise email accounts used by Clinton's
personal office on July 27, 2016, the same day that Trump appeared to urge Russia to go after her emails at a
campaign press conference in Florida.
Prosecutors say that in August 2016, a U.S. congressional candidate requested and received from stolen
documents related to an opponent from an online persona created by the Russian cabal. And a state lobbyist
received stolen data on Democratic donors later that month, the indictment alleges.
Rosenstein, who laid out the allegations at a news conference that began while Trump was meeting with
Queen Elizabeth in London, said he had briefed Trump earlier in the week and that the president was "fully
aware" of the charges in the indictment.
A statement from the White House did not address the allegations of Russian government interference and
focused only on what was not in the indictment.
"Today’s charges include no allegations of knowing involvement by anyone on the campaign and no
allegations that the alleged hacking affected the election result. This is consistent with what we have been
saying all along," the statement said.
The broad strokes of the hacking operation had already been made public, but the indictment provided new
details and named names.
The court papers say that the defendants — two of whom were also charged with orchestrating attacks on
state election systems — disseminated emails stolen from the Democrats through two online personas that
they created, Guccifer 2.0 and DC Leaks.
William Bastone of the Smoking Gun website tweeted later Friday that he was the "U.S. reporter" referred to
in the indictment who had received from Guccifer 2.0 the "password access to a nonpublic, password-
protected website" that contained emails that had been stolen from "Victim 1."
The defendants used spear-phishing techniques to steal user names, passwords and emails and paid for the
operation with bitcoin and other cryptocurrencies, the indictment alleges.
"The goal of the conspiracy was to have an impact on the election," Rosenstein said, adding that the
indictment does not allege the Russian conduct changed the vote count or outcome of the 2016 election that
put Trump in the White House.
Mueller, who has been investigating Russian interference in the 2016 election and possible collusion by the
Trump campaign for more than a year, says the 12 defendants in Friday's indictment are members of the
GRU, Russia’s military intelligence agency.
   Case 4:20-cv-00467-SDJ-CAN Document 69-2 Filed 09/27/22 Page 46 of 249 PageID #:
Beginning in March 2016, they allegedly used fake identities
                                                   1888 and bogus accounts to trick volunteers and
employees of Clinton’s 2016 campaign and gain access to usernames and passwords that they used to steal
emails and hack into other computers.
They allegedly also hacked into the networks of the Democratic Congressional Campaign Committee and the
Democratic National Committee.
The goal of the conspiracy was to have an impact on the election.
The indictment says that in August and September 2016, Russians posing as Guccifer 2.0 were in contact
with a person who communicated with senior Trump campaign officials, flagging emails posted and offering
assistance.
"Please tell me if i can help u anyhow...it would be great pleasure to me," Guccifer 2.0 wrote, according to
the indictment. The description matches a contact that longtime Trump associate Roger Stone has previously
said he had with Guccifer.
The court papers also say that an unidentified organization — which matches the description of Wikileaks —
coordinated the release of DNC emails with Guccifer 2.0 in July 2016 with an eye toward disrupting the
party's convention.
"if you have anything hillary relayed we want it in the next tweo [sic] days prefable [sic] because the DNC is
approaching and she will solidify bernie supporters behind her after," the organization wrote, according to
the indictment.
DNC Chair Tom Perez said the latest indictments show the magnitude of the Russian operation. "This is not
a witch hunt and it is certainly not a joke, as Donald Trump has desperately and incorrectly argued in the
past," Perez said. "It’s long past time for him and his allies in the Republican Party to stop ignoring this
urgent threat to our national security."
The hackers were identified as Viktor Borisovich Netyksho, Boris Alekseyevich Antonov, Dmitriy
Sergeyevich Badin, Ivan Sergeyevich Yermakov, Aleksey Viktorovich Lukashev, Sergey Aleksandrovich
Morgachev, Nikolay Yuryevich Kozachek, Pavel Vyacheslavovich Yershov, Artem Andreyevich Malyshev,
Aleksandr Vladimirovich Osadchuk, Aleksey Aleksandrovich Potemkin, and Anatoliy Sergeyevich Kovalev
— all officials in Unit 26165 and Unit 74455 of GRU.
Kovalev is accused of targeting a state voter system in the U.S. In July 2016, he allegedly hacked the website
of an unnamed state board of elections and stole information for 500,000 voters. The following month, he
hacked into the computers of a U.S. vendor that supplied software used to verify voter registration
information.
Friday's announcement isn't Mueller's first move against the Russians. In February, he brought charges
against 13 Russian nationals who allegedly carried out a campaign of social media-fueled information
warfare — some of it supporting Trump and disparaging Clinton — that he said was aimed at meddling in
the 2016 election.
12 Russians indicted in Mueller investigation
CNN July 14th, 2018
Washington (CNN)The Justice Department announced indictments against 12 Russian nationals as part of
special counsel Robert Mueller's investigation of Russian interference in the 2016 election, accusing them of
engaging in a "sustained effort" to hack Democrats' emails and computer networks.
All 12 defendants are members of the GRU, a Russian federation intelligence agency within the main
intelligence directorate of the Russian military, who were acting in "their official capacities."
    Case 4:20-cv-00467-SDJ-CAN Document 69-2 Filed 09/27/22 Page 47 of 249 PageID #:
The revelations provide more detail on the sophisticated
                                                    1889 assault on the US election in 2016, including the
release of emails designed to damage Democratic presidential candidate Hillary Clinton.
The indictment was announced at almost exactly the moment that President Donald Trump rolled into the
quadrangle of Windsor Castle to meet the awaiting Queen Elizabeth II in the symbolic highpoint of his visit
to Britain.
Trump is due to meet Russian President Vladimir Putin -- who has denied election meddling -- in Helsinki on
Monday for a summit that includes a one-on-one meeting with only interpreters present. White House press
secretary Sarah Sanders said Friday the summit will not be canceled.
The Justice Department says the hacking targeted Clinton's campaign, Democratic National Committee and
the Democratic Congressional Campaign Committee, with the intention to "release that information on the
internet under the names DCLeaks and Guccifer 2.0 and through another entity."
Deputy Attorney General Rod Rosenstein said the indictment does not name any American citizen, but told
reporters that defendants "corresponded with several Americans during the course of the conspiracy through
the internet."
"There is no allegation in this indictment that any American citizen committed a crime," Rosenstein said at a
news conference. "There is no allegation that the conspiracy altered the vote count or changed any election
result."
Deputy White House press secretary Lindsay Walters referenced Rosenstein's comments and said there is no
evidence tying the Trump campaign to hacking attempts.
"Today's charges include no allegations of knowing involvement by anyone on the campaign and no
allegations that the alleged hacking affected the election result," Walters said in a statement. "This is
consistent with what we have been saying all along."
Trump private attorney Rudy Giuliani in a tweet said the indictments are "good news for all Americans" but
called on the special counsel investigation to end.
"The Russians are nailed. No Americans are involved. Time for Mueller to end this pursuit of the President
and say President Trump is completely innocent," he tweeted.
Trump, meanwhile, did not criticize Putin or condemn Russia's actions in a pair of tweets on Saturday,
instead attacking his predecessor, former President Barack Obama, with what has become a familiar claim of
his.
"The stories you heard about the 12 Russians yesterday took place during the Obama Administration, not the
Trump Administration," Trump wrote. "Why didn't they do something about it, especially when it was
reported that President Obama was informed by the FBI in September, before the Election?"
"These Russian individuals did their work during the Obama years," Trump continued in a tweet later
Saturday. "Why didn't Obama do something about it? Because he thought Crooked Hillary Clinton would
win, that's why. Had nothing to do with the Trump Administration, but Fake News doesn't want to report the
truth, as usual!"
Obama, however, personally warned Putin against messing with the election, imposed sanctions on Russian
individuals and entities, kicked out 35 Russian diplomats and closed two of the Kremlin's compounds in the
United States.
Announced as Trump meets Queen Elizabeth II
    Case 4:20-cv-00467-SDJ-CAN Document 69-2 Filed 09/27/22 Page 48 of 249 PageID #:
Rosenstein said he briefed Trump about the allegations   in the indictment earlier this week and that "the
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President is fully aware of the department's actions today."
Asked about the timing of the announcement, Rosenstein said it came as "a function of the collection of the
facts, the evidence, the law, and a determination that it was sufficient to present the indictment at this time."
The unfolding drama on both sides of the Atlantic reflected how Trump's presidency has been overshadowed
by the Mueller probe from its earliest moments and how the investigation frequently tramples the President's
attempts to carve out favorable headlines.
Some lawmakers are calling on Trump to cancel the meeting with Putin.
"Glad-handing with Vladimir Putin on the heels of these indictments would be an insult to our
democracy," said Senate Minority Leader Chuck Schumer.
"President Trump must be willing to confront Putin from a position of strength and demonstrate that there
will be a serious price to pay for his ongoing aggression towards the United States and democracies around
the world," said GOP Sen. John McCain in a statement. "If President Trump is not prepared to hold Putin
accountable, the summit in Helsinki should not move forward."
In a statement, Russia's foreign ministry said there was no basis for the charges and said purpose of the
announcement is to "spoil the atmosphere" before Monday's summit.
"It is regrettable that the duplication of false information in Washington has become the norm, and criminal
cases are worked up for obvious political reasons. The question remains: how long will they continue to
break this shameful comedy that disgraces the US," the Russian statement said.
Russian military stole information of 500,000 voters
Eleven of the Russians are charged with identity theft, conspiracy to launder money and conspiracy to
commit computer crimes. Two defendants are charged with a conspiracy to commit computer crimes.
"Russian GRU officers hacked the website of a state election board and stole information about 500,000
voters," Rosenstein said. "They also hacked into computers of a company that supplied software used to
verify voter registration information."
The defendants worked for two units of the GRU that "engaged in active cyber operations to interfere in the
2016 presidential elections," Rosenstein said. One unit stole information using spearfishing schemes and
hacked into computer networks where they "installed malicious software that allowed them to spy on users
and capture keystrokes, take screenshots and exfiltrate or remove data from those computers."
Intelligence gathered by US officials captured some of the Russians accused in Friday's indictments
congratulating each other and celebrating the success of their operation during the campaign, according to a
person familiar with the investigation. They were also captured celebrating Trump's victory. The source said
the intelligence was gathered both before and after the 2016 election.
Each of the Russians involved held military titles. One leader was Sergey Aleksandrovich Morgachev, a
lieutenant colonel who used the hacking tool "X-Agent." The other Russians involved also used various
pseudonyms to send phishing emails to Democratic Party affiliates.
The two-part operation started with a "spearphishing" effort in early 2016, the indictment describes. The
Russians hit more than 300 people connected to the Clinton campaign and Democratic political groups.
One of those targets was Clinton campaign chairman John Podesta, whom Aleksey Viktorovich Lukashev
and others spammed with a link that appeared to come from Google as a security notification but led Podesta
     Case 4:20-cv-00467-SDJ-CAN Document 69-2 Filed 09/27/22 Page 49 of 249 PageID #:
to a GRU-created website. Another phishing effort involved
                                                   1891 the Russians using an email address with one
letter deviated from the name of a Clinton campaign member's.
The computer crimes the Russians face also accuse them of installing malware on Democratic campaign
computers. That allowed them to steal passwords, record staffers' keystrokes, take screenshots and observe
computer work done on fundraising and voter outreach projects, according to the indictments. They also
watched a Democratic campaign committee employee access the organization's bank account information.
Though the Democratic organizations realized they were hacked by May 2016 and attempted to flush out the
hackers, the Russians continued to watch the computers through their hacks until a month before the election,
according to the indictment.
The then worked to distribute the documents starting in June 2016. The Russian intelligence agents had
registered the website DCLeaks.com and started a Facebook page and Twitter feed claiming they were
"American hacktivists." Once the DNC announced publicly it had been hacked, the Russians used the online
moniker Guccifer 2.0, claiming they were a lone Romanian. They did this "to undermine the allegations of
Russian responsibility for the intrusion," the indictment said. They also took steps to cover their tracks,
deleting files and logs on computers.
In June 2016, Guccifer 2.0 began posting stolen documents through a Wordpress site they ran. To spread the
material further, they shared stolen documents with people including a US congressional candidate, a state
lobbyist, journalists, an entity known as Organization 1, which appears to be Wikileaks, and a person in
touch with the Trump campaign.
It has been more than a year since the special counsel's Russia investigation began. The probe had already
resulted in criminal charges against 14 Russians, five Americans and one Dutch citizen and three corporate
entities. One of those people has already been sentenced and served a month in prison, while three others
pleaded guilty and await sentencing.
A number of Trump associates have so far been swept up in the special counsel investigation.
Paul Manafort, Trump's campaign chairman in 2016, is currently in jail after his bail was revoked for alleged
witness tampering and faces two sets of criminal charges related to his years of working as a lobbyist for pro-
Russian Ukrainian politicians. He has maintained his innocence and is set to go to trial on bank fraud and
other financial allegations on July 25.
Former Trump campaign official and Manafort deputy Rick Gates, former Trump campaign aide George
Papadopoulos and former Trump White House national security adviser Michael Flynn have all entered
guilty pleas in connection with the investigation. Gates, Papadopoulos and Flynn have all pleaded guilty to
making false statements to investigators. All agreed to cooperate with the special counsel's office, but
Papadopoulos' cooperation is likely to come to an end in September when he is sentenced. The four Trump
associates that have been charged are not accused of helping Russia meddle in the election.
Russian intelligence officers indicted in DNC hacking
CBS July 13, 2018
Twelve Russians have been indicted by a grand jury in the special counsel probe for alleged hacking during
the 2016 election, including for hacking emails of the Democratic National Committee, Deputy Attorney
General Rod Rosenstein announced Friday.
Rosenstein said the 12 defendants are all members of the Russian intelligence arm GRU, and attempted to
interfere with the 2016 presidential election by "spear phishing" volunteers and employees of Hillary
Clinton's campaign. By allegedly doing this — tricking staffers into clicking on emails from rogue accounts
— they were able to steal usernames and passwords, eventually hacking into the networks of the Democratic
    Case 4:20-cv-00467-SDJ-CAN Document 69-2 Filed 09/27/22 Page 50 of 249 PageID #:
National Campaign Committee and Democratic National 1892Committee. The GRU, Rosenstein said, created and
controlled the groups D.C. Leaks and Guccifer 2.0., which in 2016, posted thousands of emails from
Democratic party officials.
"The object of the conspiracy was to hack into the computers of U.S. persons and entities involved in the
2016 presidential election, steal documents from those computers, and stage releases of the stolen documents
to interfere with the 2016 U.S. presidential election," the indictment reads.
The indictment says that the alleged conspirators "spearphished individuals affiliated with the Clinton
campaign throughout the summer of 2016," and then goes on to say that "on or about July 27, 2016, the
conspirators attempted after hours to spearphish for the first time email accounts at a domain hosted by a
third-party provider and used by Clinton's personal office. At or around the same time, they also targeted
seventy-six email addresses at the domain for the Clinton campaign."
Also on July 27, 2016, when those efforts had already been ongoing, Donald Trump expressed the hope that
Russia would find Clinton's missing emails. "I will tell you this -- Russia, if you're listening, I hope you're
able to find the 30,000 emails that are missing. I think you will probably be rewarded mightily by our press,"
the GOP presidential nominee said at a press conference in Miami.
The indictment also claims in a related allegation that Russian officers hacked a state election board's website
and stole the information of roughly 500,000 voters. The indictment also alleges the GRU officers hacked
into computers belonging to a company that supplies software used to verify voter information, and targeted
local and state election offices.
Rosenstein made it clear that no Americans are accused of any wrongdoing in this indictment.
"There is no allegation in this indictment that Americans knew they were corresponding with Russian
intelligence officers," said Rosenstein, who also noted there is no evidence the alleged hacking had any
impact on the election results.
The indictment does mention that Russians provided opposition research to a congressional candidate,
although that individual is not named.
The indictment claims the conspirators, posing as Guccifer 2.0, "received a request for stolen documents
from a candidate for the U.S. Congress. The Conspirators responded using the Guccifer 2.0 persona and sent
the candidate stolen documents related to the candidate's opponent," the indictment reads.
The charges come just days before President Trump is set to meet with Russian President Vladimir Putin in
Helsinki, Finland. Sen. Mark Warner, the vice chairman of the Senate Intelligence Committee, said Mr.
Trump shouldn't be meeting with Putin one-on-one.
"There should be no one-on-one meeting between this president and Mr. Putin. There needs to be other
Americans in the room," Warner told reporters Friday.
Rosenstein said he briefed Mr. Trump on the indictment earlier this week.
"I'll allow president to speak for himself," Rosenstein said when asked for Mr. Trump's response to the news.
"Obviously it's important for the president to know what information we've uncovered because he's got to
make very important decisions for the country. So he needs to understand what evidence we have of foreign
election interference."
Hours before the DOJ announcement, in a press conference with British Prime Minister Theresa May, Mr.
Trump called the Russia investigation into election meddling and any ties to Trump associates a "rigged
witch hunt."
    Case 4:20-cv-00467-SDJ-CAN Document 69-2 Filed 09/27/22 Page 51 of 249 PageID #:
The White House Friday seized on Rosenstein's statement
                                                   1893 that the indictment doesn't include Americans, but
did not condemn the Russians' alleged actions.
"Today's charges include no allegations of knowing involvement by anyone on the campaign and no
allegations that the alleged hacking affected the election result. This is consistent with what we have been
saying all along," White House Deputy Press Secretary Lindsay Walters said.
Back in July 2016, Mr. Trump tweeted that the "new joke in town" is Russia leaked the "disastrous DNC
emails."
"The new joke in town is that Russia leaked the disastrous DNC e-mails, which should never have been
written (stupid), because Putin likes me," he tweeted on July 25, 2016.
Rudy Giuliani, the lawyer who is aiding Mr. Trump in the Russia investigation, used Rosenstein's
announcement as an opportunity to call on Mueller to end his investigation and declare Mr. Trump's
innocence.
When a reporter in London asked Mr. Trump if he would bring up election meddling with Putin, Mr. Trump
said he would.
The charges come after Mueller's investigation has already led to the indictment of 13 Russian nationals who
were accused of manipulating social media.
In the face of alleged foreign interference, Rosenstein urged unity and patriotism against foreign
interference.
"When we confront foreign interference in American elections, it is important for us to avoid thinking
politically as Republicans or Democrats and instead to think patriotically as Americans. Our response must
not depend on who was victimized," Rosenstein said in his prepared remarks.
"The blame for election interference belongs to the criminals who committed election interference," the
deputy attorney general added. "We need to work together to hold the perpetrators accountable, and keep
moving forward to preserve our values, protect against future interference, and defend America."
It is unclear, if not unlikely, however, that the indicted Russians will ever see a courtroom. The U.S. does not
have an extradition treaty with Russia.
12 Russian intelligence officers indicted for hacking into DNC, Clinton campaign
USA Today July 13th, 2018
WASHINGTON — Twelve Russian military intelligence officers were charged Friday in a far-reaching
hacking scheme that targeted the Democratic National Committee and the Clinton presidential campaign as
part of the Kremlin's effort to undermine the 2016 election, the Justice Department announced.
The 11-count indictment, unveiled just days before President Donald Trump was set to meet with Russian
President Vladimir Putin in Helsinki, Finland, asserts that the Russian suspects "engaged in a sustained
effort'' to penetrate the most sensitive repositories of information held by the Democratic Party.
Deputy Attorney General Rod Rosenstein announced the action, part of the continuing investigation into
Russia's interference in the 2016 campaign by special counsel Robert Mueller, as some Democratic
lawmakers called on the White House to immediately punish the Kremlin by canceling the Putin meeting.
The White House did not immediately address that demand Friday, but rather reasserted that the indictment
had not implicated anyone connected to the campaign.
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"Today’s charges include no allegations of knowing 1894involvement by anyone on the campaign and no
allegations that the alleged hacking affected the election result," White House spokeswoman Lindsay Walters
said. "This is consistent with what we have been saying all along.”
While Friday's announcement came as Trump was meeting with Queen Elizabeth II during his trip to the
United Kingdom, Rosenstein said that he had briefed Trump earlier this week before his departure abroad.
At the heart of the case, Mueller's team charged that the Russian operatives sought to "steal documents" from
the Democrat computer systems and "stage the release... to interfere with the 2016 U.S. presidential
election."
The charges build on a case Mueller brought in February, charging 13 Russian nationals and three businesses
– including an internet firm tied to the Kremlin – with waging "information warfare against the United
States" with the goal of "spreading distrust toward the candidates and the political system."
Still, Friday's indictment contained no allegations that the actions altered the vote count or changed the
outcome of the 2016 presidential elections.
"Free and fair elections are hard-fought and contentious, and there will always be adversaries who work to
exacerbate domestic differences and try to confuse, divide and conquer us," Rosenstein said. "So long as we
are united in our commitment to the shared values enshrined in the Constitution, they will not succeed."
Among the jarring disclosures in the 29-page indictment included the allegation that the Russian intelligence
officials first sought to penetrate email accounts associated with Clinton's personal offices on July 27, 2016.
Earlier that same day, then-candidate Trump appeared to enlist Russia in a similar effort.
"Russia, If you’re listening, I hope you’re able to find the 30,000 emails that are missing,” Trump said at the
time, referring to Clinton's use of a private email server while she was secretary of State.
Also contained in Friday's court documents, federal prosecutors said that the Russian operatives in August
2016 "received a request for stolen documents from a candidate for U.S. Congress."
According to court papers, the suspects posing as online activists later sent the unnamed candidate stolen
information related to the candidate's opponent.
The group also allegedly conspired to hack into computers of state election boards, secretaries of State and
U.S. companies that supplied software and other technology related to election administrations. According to
court papers, the personal information of at least 500,000 voters was stolen from one state election
organization.
Because the Russian officials remain in Russia, it is highly unlikely that they will ever be prosecuted in the
United States. Nevertheless, the U.S. action follows a practice of so-called "naming and shaming" of foreign
government operatives implicated in actions against the U.S.
The indictment included charges of conspiracy, aggravated identity theft and money laundering. Federal
prosecutors asserted that the Russian hackers corresponded with "several" Americans. But Rosenstein said
there was no evidence that the Americans were aware that they were corresponding with Russian intelligence
officers.
The deputy attorney general said the announcement of the charges were made with "no regard to politics,"
adding that the evidence was "sufficient" to bring the case.
The suspects, according to the indictment, were attached to two military divisions of Russia's Main
Intelligence Directorate, known as the GRU — Unit 26165 and Unit 74455. In 2016, Unit 26165 operatives
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allegedly launched spearphishing campaigns — sending misleading emails to targets in attempts to steal
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usernames, passwords and other personal information — against the Clinton campaign.
Those stolen credentials, according to federal prosecutors, were used to hack into the DCCC and the DNC.
At the same time, the suspects were able to "monitor" the activities of dozens of staffers and "implant
hundreds of malicious files to steal passwords and maintain access to these networks."
Democratic National Committee Chairman Tom Perez said that while the DNC was a primary target of the
attack, the indictment outlines a vast disruption effort.
"Donald Trump has desperately been calling this investigation a witch hunt. But once again we have cold
hard proof that he is absolutely wrong," Perez said. "This is not a witch hunt. This is not a joke. This is an
attack on our democracy.”
Democratic lawmakers described the charges as only further proof of what the U.S. intelligence community
determined long ago: that Russia sought to tilt the election to Trump's favor.
"President Putin is an adversary who interfered in our elections to help President Trump win," Senate
Minority Leader Chuck Schumer, D-N.Y., said. “President Trump should cancel his meeting with Vladimir
Putin until Russia takes demonstrable and transparent steps to prove that they won’t interfere in future
elections. Glad-handing with Vladimir Putin on the heels of these indictments would be an insult to our
democracy.”
Schumer was joined in the call by a coalition of Democrat lawmakers, including Virginia Sen. Mark
Warner, the senior Democrat on the Senate Intelligence Committee.
House Democratic Leader Nancy Pelosi said the indictment highlighted "a massive, concerted operation to
interfere in our elections," and she warned that the Kremlin "will do so again in the fall."
"Strong, immediate action is needed to secure our state election systems," Pelosi said.
She continued: “The stakes for the upcoming Trump-Putin meeting could not be higher. President Trump
must demand and secure a real, concrete and comprehensive agreement that the Russians will cease their
ongoing attacks on our democracy. Failure to stand up to Putin would constitute a profound betrayal of the
Constitution and our democracy."
Arizona Sen. John McCain, the Republican chairman of the Armed Services Committee, also urged Trump
to use Friday's indictment to confront the Russian leader.
"If President Trump is not prepared to hold Putin accountable, the summit in Helsinki should not move
forward," McCain said.
Republican House Foreign Affairs Committee Chairman Ed Royce of California, meanwhile, argued that the
charges demonstrate that the Trump administration was holding Russia "accountable."
"For years, we’ve known about the Kremlin’s campaign to weaponize information and chip away at our
institutions," Royce said. "And yet for years, we have not done enough to counter it. I’m glad that’s begun to
change, thanks in part to Congress, but there’s much more to be done."
Sen. Ben Sasse, R-Neb., said the criminal charges should serve to unite Americans to push back against the
Kremlin's disruption campaign.
"This is not a Republican or a Democrat view -- it is simply the reality," Sasse said. "All patriotic Americans
should understand that Putin is not America's friend, and he is not the president's buddy."
Read Mueller’s full indictment against 12 Russian officers for election interference
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PBS July 13th, 2018                    1896
Twelve Russian intelligence officers were accused Friday of trying to interfere in the 2016 presidential
elections, including a hack of Democratic National Committee.
The allegations came in the latest indictment from special counsel Robert Mueller’s investigation into
Russian interference in the elections and possible ties to President Donald Trump’s campaign. The
announcement comes days before Trump’s scheduled meeting wiWK5XVVLDQ3UHVLGHQW9ODGLPLU3XWLQWKH
president pledged this morning during his visit with British Prime Minister Theresa May to raise the issue of
election meddling with Putin.
According to the indictment, the officers worked for a military agency known as “GRU,” which conspired to
hack into computers of those working on the elections with the goal of stealing and releasing documents.
That includes the DNC, but also computers associated with the Democratic Congressional Campaign
Committee as well as those of volunteers and employees of the Hillary Clinton campaign.
Starting in June 2016, they released tens of thousands of these documents using online pseudonyms, such as
“Guccifer 2.0” and “DC Leaks.” They used a network of computers around the world, a system paid for with
cryptocurrency, to conceal their identities.
They also broke into the computers of those charged with overseeing elections, including state election
officials and secretaries of state, as well as companies in charge of election technology and software.
Deputy Attorney General Rod Rosenstein said he has no evidence that the hacking changed the outcome of
the 2016 election, nor that “any American was a knowing participant in the alleged unlawful activity.”
Russian officers indicted for allegedly hacking Clinton campaign, DNC emails
Fox News July 13th, 2018
A federal grand jury has indicted 12 Russian intelligence officers for allegedly hacking emails from the
Hillary Clinton campaign and Democratic Party during the 2016 election, the Justice Department announced
Friday.
“The internet allows foreign adversaries to attack America in new and unexpected ways,” Deputy Attorney
General Rod Rosenstein said during a press conference.
All 12 defendants are members of GRU, the Russian intelligence agency.
The case stems from Special Counsel Robert Mueller’s probe into Russia’s efforts to interfere in the 2016
presidential election. It comes as President Trump plans to meet Russian President Vladimir Putin for a
summit in Helsinki on Monday.
The indictment amounted to the clearest allegation yet of Russian meddling in the election, blaming Moscow
for the email hacking scandal that rocked the 2016 race by revealing embarrassing and politically damaging
discussions by major Democrats. The charges swiftly fueled calls from Democratic lawmakers for Trump to
cancel his Putin summit.
But as Trump continues to describe the probe as a "witch hunt," the White House downplayed the
allegations.
“Today’s charges include no allegations of knowing involvement by anyone on the campaign and no
allegations that the alleged hacking affected the election result,” said Lindsay Walters, the deputy White
House press secretary. “This is consistent with what we have been saying all along.”
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Of the 12 defendants, 11 are charged with conspiracy1897
                                                     to commit computer crimes, eight counts of aggravated
identity theft and conspiracy to launder money. Another is charged with a separate conspiracy to commit
computer crimes.
The 29-page indictment says starting in March 2016, the Russian agents used “a variety of means to hack the
email accounts of volunteers and employees” of Hillary Clinton’s campaign. Her campaign chairman, John
Podesta, famously had his emails leaked during the campaign.
They also targeted campaign committees, like the Democratic National Committee and the Democratic
Congressional Campaign Committee, the indictment said.
“The conspirators covertly monitored the computers of dozens of DCCC and DNC employees, implanted
hundreds of files containing malicious computer code and stole emails and other documents from the DCCC
and DNC,” it read.
By April 2016, according to the documents, the defendants began to release the hacked materials to the
public by using fictitious online personas like DCLeaks and Guccifer 2.0.
The indictment comes as Mueller's team has investigated whether anyone associated with the Trump
campaign assisted the Russians.
But during his press conference, Rosenstein said, "there is no allegation in this indictment that any American
citizen committed a crime."
He also said, "There is no allegation that the conspiracy changed the vote count or affected any election
result. The special counsel's investigation is ongoing.”
Director of National Intelligence Dan Coats, reacting to the indictment and the broader cyber threat on
Friday, said there is “not yet” this kind of electoral interference happening in the midterms – but warned
history could repeat itself.
“In regards to state actions, Russia has been the most aggressive foreign actor. No question,” he said. “We
are not yet seeing the kind of electoral interference in specific states and voter databases that we experienced
in 2016. However, we fully realize that we are just one click away … from a similar situation repeating
itself.”
Oleksandr Danylyuk, a military and intelligence expert on Russian information operations, told Fox News he
believes Russia “does not stop its active measures in the inter-election period.”
“Politicians of both camps should understand that the United States is under a hybrid attack,” said Danylyuk,
who chairs the Center for Defense Reforms in Ukraine. “In this regard, they have to put state interests above
their party interests.”
He also called on journalists to be aware of how they can be used.
“Much of the kompromat will be provided by Russian proxies directly to American politicians and
journalists,” Danylyuk said. “They must fight the temptations to use this information without checking its
reality.”
The Rosenstein announcement came at the same time Trump was meeting with Queen Elizabeth II in
England, with plans to meet Putin for a summit on Monday. Trump has previously cited Putin's denials of
election interference, while saying he would like their two countries to get along.
“President Trump should cancel his meeting with Vladimir Putin until Russia takes demonstrable and
transparent steps to prove that they won’t interfere in future elections," Senate Minority Leader Chuck
    Case 4:20-cv-00467-SDJ-CAN Document 69-2 Filed 09/27/22 Page 56 of 249 PageID #:
Schumer, D-N.Y., said Friday. "Glad-handing with Vladimir
                                                 1898 Putin on the heels of these indictments would
be an insult to our democracy.”
Rosenstein said he briefed the president on the charges this week.
Though the indictment listed the Democratic groups, Rosenstein made a point of not naming the political
affiliation of the hacked organizations during his press statement, saying it’s important to think
“patriotically” and not politically in the face of such threats.
Florida Rep. Debbie Wasserman Schultz, who served as chairman of the Democratic National Committee
during the time period, took aim at Trump in a statement.
“I’m pleased that the Justice Department is following the facts wherever they may lead, despite Donald
Trump’s dangerous distortions and his refusal to acknowledge the conclusions reached by the American
intelligence community,” she said.
Russian individuals have previously been indicted as part of the case. In February, Mueller brought a case
against 13 Russians and three Russian companies who are accused of setting a “strategic goal to sow discord
in the U.S. political system, including the 2016 presidential election.”
In that case, the defendants are accused of spreading derogatory information about Clinton, denigrating
Republican candidates Ted Cruz and Marco Rubio -- and ultimately supporting Democratic candidate Bernie
Sanders and then-Republican candidate Donald Trump.
Mueller indicts 12 Russians for DNC hacking as Trump-Putin summit looms
POLITICO July 13th, 2018
Special counsel Robert Mueller indicted 12 Russian military officials on Friday and accused them of hacking
into two Democratic Party computer systems to sabotage the 2016 presidential election.
Deputy Attorney General Rod Rosenstein announced the indictment, filed in federal district court in
Washington, just days before a scheduled Monday summit in Helsinki between President Donald Trump and
Russian President Vladimir Putin. U.S. intelligence agencies have assessed that Putin ordered a Russian
effort to manipulate the 2016 election in Trump’s favor.
Rosenstein said the Russians stole and released Democratic documents after planting malicious computer
codes in the network of the Democratic National Committee as well as the Democratic Congressional
Campaign Committee. The Russians also illegally downloaded data related to some 500,000 voters from a
state database, he charged.
While many of the indictment's details confirmed previous news reports and other assessments, it
dramatically shifts the context for Trump's upcoming meeting with Putin, whom U.S. intelligence services
have concluded was behind the 2016 election interference scheme. Senate Democratic leader Chuck Schumer
quickly called on Trump to cancel the planned meeting.
Speaking at a press conference at Justice Department headquarters in Washington, Rosenstein said he briefed
Trump about the upcoming criminal charges earlier this week. He said the indictment’s timing was “a
function of the collection of the facts, the evidence, and the law and a determination that it was sufficient to
present the indictment at this time.”
“I'll let the president speak for himself,” Rosenstein told reporters when asked if Trump—who just this
morning in Great Britain again blasted the Russia investigation as a “rigged witch hunt”—supported the
latest step in the nearly 14-month old Mueller probe.
    Case 4:20-cv-00467-SDJ-CAN Document 69-2 Filed 09/27/22 Page 57 of 249 PageID #:
“Obviously it was important for the president to know what information we've uncovered because he's got to
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make very important decisions for the country. So he needs to understand what evidence we have for an
election interference,” he added.
Rosenstein added that the indictment does not allege that any U.S. citizen committed a crime, nor that “the
conspiracy changed the vote count or affected any election result.”
White House officials and Trump allies declared Rosenstein's statement as validating Trump's claim that
there was "no collusion" between his campaign and Moscow.
"The indictments Rod Rosenstein announced are good news for all Americans," said Trump's personal
lawyer, Rudy Giuliani. "The Russians are nailed. No Americans are involved. Time for Mueller to end this
pursuit of the President and say President Trump is completely innocent."
"Today’s charges include no allegations of knowing involvement by anyone on the campaign and no
allegations that the alleged hacking affected the election result," White House spokeswoman Lindsay Walters
said. "This is consistent with what we have been saying all along.”
However, during a question-and-answer session with reporters, Rosenstein was more cautious. He said the
lack of any claim that the hacking affected vote totals or the outcome of the election was not a conclusion on
whether that happened, but rather something beyond the purview of federal prosecutors.
"We know the goal was to have an impact on the election. What impact they may have had or what their
motivation may have been—independently of what’s required to prove this offense—is a matter of
speculation," the deputy attorney general said. "That’s not our responsibility.”
The indictments are the latest charges in a probe that has already netted guilty pleas from three former
Donald Trump campaign aides, two of them for lying to the FBI about their contacts with Russians during or
after the 2016 campaign. Mueller is also investigating the president for potential obstruction of justice,
related in part to his April 2017 firing of FBI Director James Comey, who was then overseeing the federal
government's burgeoning Trump-Russia probe.
Although the 11-criminal count indictment was obtained by prosecutors from Mueller's office, Rosenstein
said plans are to hand the case off to Justice's National Security Division "while we await the apprehension
of the defendants." That possibility seems remote—however Democrats on Friday called on Trump to
demand their extradition to when he meets with Putin.
While Rosenstein stood alone on the podium five months ago when he announced another Mueller
indictment of Russians alleged to have used social media to manipulate Americans during the 2016 election,
on Friday he was flanked by two other officials: Assistant Attorney General for National Security John
Demers and Rosenstein's top deputy, Ed O'Callaghan. Demers heads the division assigned to take over the
case, while O'Callaghan has been overseeing Mueller' probe.
Mueller, who has been the focus of intense attacks and vitriol from Trump and his allies, was again absent as
the new charges were announced.
Several Trump allies said they welcomed tough action against Russian election meddlers. “This is good stuff.
This is what they ought to be doing,” said Trump's personal lawyer John Dowd, who has often criticized
Mueller's focus on Trump and his associates.
But appearing next to British Prime Minister Theresa May outside London hours before the indictment was
publicly unveiled, Trump had complained that the Mueller probe has complicated his effort to befriend the
Russian leader.
     Case 4:20-cv-00467-SDJ-CAN Document 69-2 Filed 09/27/22 Page 58 of 249 PageID #:
"I think that really hurts our country and it really hurts our relationship with Russia," he said. "I think that we
                                                        1900
would have a chance to have a very good relationship with Russia and a very good chance—a very good
relationship with President Putin. I would hope so."
The indictment alleges that the Russian military officials in 2016 sent spearphishing emails to volunteers and
employees of Clinton’s campaign, including its chairman, John Podesta. Through those tactics, they stole
user names and passwords from several people and used the information to both steal emails and hack into
other Clinton campaign computers, according to the charges. The Russians allegedly funded their online
hacking network with cryptocurrency.
Prosecutors say Russian officials also gained access to computer networks at the DCCC and DNC, where
they covertly monitored the online activity of dozens of employees while implanting hundreds of files of
malicious computer code to steal passwords and stay on their networks. The techniques allowed the Russians
to get into cloud-based services in September 2016 that contained "test applications related to the DNC's
analytics," the indictment says. From there, the hackers created backup files and then moved the backups to
other cloud accounts the hackers controlled, the charges say.
In late May and early June, the indictment adds, the Russians took "countermeasures" to maintain access to
DNC and DCCC networks after the Democratic groups hired a security company to fight off the intrusions.
Those measures included attempts to "delete traces of their presence on the DCCC network using the
computer program CCleaner. They also spent seven hours trying to reactive a hacking tool known as "X-
Agent" that the security company had disabled, according to the indictment.
According to the indictment, the Russians employed a wide variety of tactics, including the creation of a fake
website that mimicked the progressive ActBlue.com with the goal of siphoning contributions from
Democratic donors. The Russians allegedly used stolen login credentials to insert the fraudulent link on the
Democratic Congressional Campaign Committee's website, where donors would click on it.
On April 6, 2016, the Russians allegedly sought to access the emails of more than 30 Clinton campaign
officials, creating a fake email address that nearly matched one of the campaign officials and including an
attachment that appeared to be about Clinton's poll numbers.
"In fact this link directed the recipients' computers to a GRU-created website," the indictment alleges.
The charges filed in U.S. District Court in Washington against the Russians include criminal conspiracy to
commit offense against the U.S. through cyber operations and attempting to hack into state election officials,
aggravated identity theft and money laundering.
Democrats have long speculated that Moscow received guidance from Americans, possibly even ones within
the Trump campaign, about how to which political targets to exploit and what kinds of leaked information
would most resonate with swing voters.
Key figures close to Trump—including his son Donald Trump Jr. and his former political adviser Roger
Stone—have admitted to communicating with Kremlin-linked individuals and WikiLeaks, the group that
posted many of the Democrats’ hacked emails.
The indictment describes communications between an unnamed person and Guccifer 2.0, an online persona
the indictment calls a cover for the GRU hackers. Guccifer 2.0 released tens of thousands of emails through
DC Leaks and Wikileaks, per the indictment.
After Guccifer 2.0 posted the stolen documents, the persona contacted a person identified in the indictment as
"a person who was in regular contact with senior members of the presidential campaign of Donald J. Trump."
The communications match text messages to and from Stone that have been previously reported and which
Stone himself, who says he did nothing wrong, posted on his personal website.
    Case 4:20-cv-00467-SDJ-CAN Document 69-2 Filed 09/27/22 Page 59 of 249 PageID #:
The Russians asked Stone about the info they posted1901
                                                    on the Democrats' turnout model and Stone replied it
was "pretty standard," the indictment alleges.
Mueller’s prior indictments have also revealed that George Papadopoulos, a Trump campaign foreign policy
aide who pleaded guilty to lying to the FBI, was told by a Kremlin-linked professor that the Russian
government had “dirt” on Clinton in the form of “thousands of emails” a full three months before the DNC
hack became public.
Mueller has also indicted Russian Internet “trolls,” not directly employed by the Russian government, for
using fake American personas to communicate with “unwitting” Trump aides and U.S. individuals as they
gathered information on the American political landscape.
While lawyers for one of the Russian companies fighting Mueller’s earlier charges has pushed back in
federal court, It’s still considered unlikely any of the latest spate of charged hackers will actually end up in a
U.S. court.
But American officials see indictments of overseas hackers as a way of shaming foreign governments. In
recent years, the Justice Department has similarly filed charges against Chinese and Iranian officials for
cyber intrusions.
Even before the indictments landed, Trump said he would raise with Putin the issue of Russian election
interference. He has done so at least once before, during the leaders’ first meeting in at the G20 summit in
Hamburg, Germany last July.
After that meeting, Trump reported that Putin had denied the charges, and Trump publicly declared that it
was “time to move forward.” Russia’s foreign minister separately claimed that that Trump “accept[ed]”
Putin’s insistence that the Russian government did not meddle in the election.
Trump has often cast doubt on whether Russia meddled in the election at all. During a 2016 presidential
debate with Clinton, he said the election meddling could have been the work of China or even “somebody
sitting on their bed, that weighs 400 pounds.”
The DNC was first breached in the summer of 2015, according to CrowdStrike, the cyber firm hired by the
committee after the digital break-in.
The culprit, the firm said, was “Cozy Bear,” a Russian intelligence-linked hacker group that had previously
infiltrated the White House and State Department. The FBI first reached out to the DNC in September to
alert staffers that they were under digital siege. But the tech-support contractor that picked up the phone
thought it might be a prank and the committee didn’t follow through. That allowed the Russians free rein to
explore DNC servers, collecting login credentials and lifting private emails and documents.
The following April, another group, the Russian military-aligned “Fancy Bear,” joined its counterpart,
apparently without any coordination between the two. Fancy Bear started collecting much of the same
information, according to researchers.
Weeks later, the DNC caught on to the digital rummaging — and it quickly dawned on officials that they
might have a catastrophe on their hands. In June, the DNC went public, blaming Russia for the digital
espionage.
But what came next caught everyone — including counterintelligence veterans — off guard. The day after
the DNC revealed it had been compromised, an online persona that went by the name Guccifer 2.0 popped
up, claiming to be the DNC hacker and posting a sampling of documents stolen from the committee’s
servers.
     Case 4:20-cv-00467-SDJ-CAN Document 69-2 Filed 09/27/22 Page 60 of 249 PageID #:
What first appeared to be a confusing oddity quickly1902became a dominant force in the 2016 election. Guccifer
2.0 proceed to disseminate reams of documents, shopping them to journalists and bloggers around the
country in an effort to destabilize both local and national elections. Other mysterious websites, such
as DCLeaks.com, suddenly appeared, posting caches of purloined emails and documents that the media
eagerly consumed and converted into splashy headlines. WikiLeaks, the pro-transparency activist group, also
started posting stolen DNC emails in July.
Separately, the Clinton campaign was rocked by its own data breach. In March 2016, Russian hackers
infiltrated campaign chairman John Podesta’s personal Gmail account, gaining access after Podesta clicked
on a link in a fake email instructing him to change his password.
Six months later, WikiLeaks started Podesta’s entire Gmail catalogue online in small, daily batches.
Two months after the 2016 election, a declassified report issued by the CIA, FBI and NSA — at President
Barack Obama’s request — stated with “high confidence” that Russian military intelligence had used the
Guccifer 2.0 persona, DCLeaks.com and WikiLeaks to release its hacked documents.
The leaks had a quick political impact: In July 2016, Florida Rep. Debbie Wasserman Schultz resigned as
DNC chairwoman after the party's national convention, a casualty of a batch of 20,000 stolen emails posted
on WikiLeaks that suggested bias against the political committee against Clinton's primary rival, Bernie
Sanders.
Trump gleefully spotlighted the Democratic divide. And while Sanders publicly made amends with Clinton,
the leaks fueled lingering suspicion among his supporters, some of whom post-
election studies and polls show stayed home that November or even voted for Trump.
The Clinton campaign leaks also became a regular subject in the American media, which picked up on
everything from portions of Clinton’s private speeches to Wall Street bankers to Podesta’s recipe for
“creamy” risotto. The omnipresent headlines distracted and demoralized Clinton's team.
Trump reveled in the chaos. "I love WikiLeaks!" he proclaimed at one October 10 rally, waving paper copies
of hacked emails in the air. "This WikiLeaks is like a treasure trove!" he said later that month.
Clinton supporters also say the leaked Podesta emails blunted the fall out from two bombshell news stories
that were damaging for Trump. WikiLeaks’ first post of Podesta’s communications came just half an hour
after The Washington Post released the “Access Hollywood” videotape of Trump bragging about sexually
assaulting women. That same day, the Obama administration took the unprecedented step of accusing Russia
of deploying its hackers to meddle with the U.S. election.
“WikiLeaks is unfortunately now practically a fully owned subsidiary of Russian intelligence,”
Clinton told an Australian broadcaster a week after the Podesta emails started appearing on the site.
Still, WikiLeaks founder Julian Assange insisted there was “no proof” Russia was behind the stolen
documents that ended up on his website.
In a statement on Friday, Wasserman Schultz applauded the latest Mueller indictments. “The Democratic
National Committee was the first major target of the Russian attack on our democracy, and I strongly believe
that every individual who helped carry it out—foreign or domestic—should be held accountable to the fullest
extent of the law,” she said. “I’m pleased that the Justice Department is following the facts wherever they
may lead, despite Donald Trump’s dangerous distortions and his refusal to acknowledge the conclusions
reached by the American Intelligence Community.”
Mueller Probe Indicts 12 Russians in Hacking of DNC and Clinton Campaign
WSJ July 14th, 2018
    Case 4:20-cv-00467-SDJ-CAN Document 69-2 Filed 09/27/22 Page 61 of 249 PageID #:
Special counsel Robert Mueller charged a dozen Russian1903intelligence officers on Friday with hacking the
computers of Democratic organizations and ensuring the pilfered information became public, putting
Russia’s interference in the 2016 election front and center as President Donald Trump prepares to meet
President Vladimir Putin in Helsinki.
The detailed 29-page indictment, which identified the alleged operatives by name and rank, is the latest set of
charges in Mr. Mueller’s wide-ranging investigation into the Kremlin’s electoral meddling.
Mr. Trump, who has expressed skepticism that Russia was involved in the hacking, told reporters before the
indictment that he planned to raise the issue with Mr. Putin.
In a tweet Saturday morning issued from his golf resort in Scotland, Mr. Trump faulted the Obama
administration for the Russian hacking alleged in the indictment.
“The stories you heard about the 12 Russians yesterday took place during the Obama Administration, not the
Trump Administrations,” he wrote. “Why didn’t they do something about it, especially when it was reported
that President Obama was informed by the FBI in September, before the Election?”
Mr. Obama in September confronted Mr. Putin over election meddling.
The indictment lays out a vivid picture of a powerful nation deploying the latest technological trickery in a
secretive effort to subvert the U.S. election. It alsooutlines notable details, including the way operatives
allegedly used false Google security alerts to hoodwink Democratic staffers or created emails that differed by
one letter from the name of a staffer of Democratic candidate Hillary Clinton.
Russia doesn’t extradite its citizens to face trial in the U.S., so the defendants aren’t likely to see the inside of
an American courtroom, though they may be restricted in their ability to travel. Rather, the document lays
out a broad case that the Russian government directed an array of crimes as it sought to disrupt the 2016
campaign.
In announcing the case, Deputy Attorney General Rod Rosenstein cited the deep partisan divide in the U.S.
between Republicans and Democrats, and encouraged Americans to assess the charges on their merits and
not through a political lens.
“The Internet allows foreign adversaries to attack America in new and unexpected ways,” Mr. Rosenstein
said. “Our response must not depend on who was victimized.”
A White House spokeswoman noted that the indictment cited no wrongdoing by Americans and didn’t allege
that any votes were affected. “This is consistent with what we have been saying all along,” spokeswoman
Lindsay Walters said.
Russia on Friday repeated its previous denials of electoral meddling, saying the indictment was designed to
“spoil the atmosphere” of the Trump-Putin meeting.
Democrats urged Mr. Trump to cancel the summit and refrain from meeting Mr. Putin until Russia takes
responsibility and pledges to refrain from future election interference. They were joined by Sen. John
McCain (R., Ariz.), who said on Twitter that “if President Trump is not prepared to hold Putin accountable,
the #HelsinkiSummit should not move forward.”
The indictment depicted a determined effort by two units of the Kremlin’s intelligence directorate, called the
GRU, to steal tens of thousands of emails and documents from Mrs. Clinton’s campaign and Democratic
groups, distribute them through fake online personas and pay for it through mining digital currency. Two of
the defendants were also accused of hacking computers of those responsible for administering elections,
including secretaries of state.
    Case 4:20-cv-00467-SDJ-CAN Document 69-2 Filed 09/27/22 Page 62 of 249 PageID #:
The hacked emails, from the account of Clinton campaign
                                                     1904 Chairman John Podesta and others, led to a series
of embarrassing news stories at the height of the 2016 campaign.
According to the indictment, the Russian officers targeted more than 300 people associated with the Clinton
campaign, the Democratic Congressional Campaign Committee and the Democratic National Committee,
luring them with fake emails.
The hackers sent such a “spear-phishing” email to Mr. Podesta on March 19, 2016. Mr. Podesta followed the
fake security instructions in the message, giving the hackers the ability to steal more than 50,000 of his
emails, the indictment said.
Meanwhile, the officers were also targeting the DCCC, and obtained the credentials of one employee to
access the network. That gave them access to at least 10 computers and the ability to monitor employees’
computer activity and steal passwords. Using that information, they successfully hacked into the DNC
computers, ultimately gaining access to 33 DNC computers.
Once inside the network, Russian operatives demonstrated a focused effort to find files on particular topics,
the indictment said. Shortly after breaching the DCCC in April 2016, the alleged conspirators searched for
files that included the words “hillary,” “trump” or “cruz.” A folder labeled “Benghazi Investigations” was
also copied, the indictment said.
This was around the time that Trump foreign policy adviser George Papadopoulos learned that Russia
possessed “dirt” on Mrs. Clinton, according to documents filed in connection with his plea agreement with
Mr. Mueller’s team.
By May 2016, the Democratic groups hired a cybersecurity company to address the breach, but the GRU
officers continued to try to maintain their access to the networks, and remained on the DNC network until
October 2016, the indictment said.
On July 27, 2016, the officers tried for the first time to spear-phish email accounts used by Mrs. Clinton’s
personal office, the indictment said. Earlier that day, Mr. Trump had invited Russia to unearth missing emails
from her time as secretary of state, telling reporters, “Russia, if you’re listening, I hope you’re able to find
the 30,000 emails that are missing.”
The indictment alleges that two of the main conduits of the stolen data, Guccifer 2.0 and DCLeaks, were
created by the Russian government. Guccifer 2.0 claimed to be a lone Romanian hacker, which the
indictment alleges was intended to “undermine allegations of Russian responsibility for the intrusion.”
The Russians later began funneling information to “Organization 1,” which isn’t named in the indictment but
is identifiable as Wikileaks.org, which published thousands of emails belonging to Mr. Podesta and the DNC.
In August 2016, the Russian officers posing as Guccifer 2.0 communicated with a person “who was in
regular contact” with “senior members” of the Trump campaign, telling the person, “please tell me if i can
help u anyhow…it would be a great pleasure to me.” The indictment doesn’t name the person, but former
Trump adviser Roger Stone has posted on his website a text exchange with Guccifer that corresponds to
language included in the indictment.
Eleven of the GRU officials are charged with conspiring to commit computer crimes, launder money and
commit identity theft through the DNC and Clinton hacks. One of the officers, along with a 12th individual,
were also accused of trying to hack into state election agencies and voting software companies.
Specifically, “Russian GRU officers hacked the website of a state election board and stole information about
500,000 voters,” Mr. Rosenstein said. There is no allegation that information was used to alter vote totals.
    Case 4:20-cv-00467-SDJ-CAN Document 69-2 Filed 09/27/22 Page 63 of 249 PageID #:
Friday’s indictment follows previous election-interference
                                                     1905 accusations Mr. Mueller has leveled at Moscow.
In February, a federal grand jury indicted three Russian companies and 13 Russian citizens on charges of
engaging in a widespread effort to meddle in the 2016 campaign through social-media messages, invented
fake personas and staged rallies.
Before Friday’s indictment, Mr. Mueller’s office had publicly filed cases against 20 people and three
companies, and had obtained five guilty pleas, including from Mr. Trump’s first national security adviser,
Michael Flynn. Mr. Flynn pleaded guilty last year to lying to the FBI about his communications with the
Russian ambassador to the U.S.
Director of National Intelligence Dan Coats, speaking about Russian cyber influence at the Hudson Institute
think tank shortly after the indictment was released, said U.S. intelligence agencies continue to see Russia
attempting to create new social media accounts that pose as Americans in order to inflame political and
social divisions.
Intelligence agencies haven’t yet seen Russia attempt to hack election infrastructure as it did in the 2016
election, Mr. Coats said. “However,” he added, “we fully realize that we are one click away from a similar
situation repeating itself.”
U.S. accuses Russian spies of 2016 election hacking as summit looms
Reuters July 13th, 2018
WASHINGTON (Reuters) - A federal grand jury charged 12 Russian intelligence officers on Friday with
hacking Democratic computer networks in 2016, in the most detailed U.S. accusation yet that Moscow
meddled in the presidential election to help Republican Donald Trump.
The indictment, which alleges a wide-ranging conspiracy involving sophisticated hacking and staged releases
of documents, raises the stakes for a summit next week between President Trump and Russian President
Vladimir Putin.
Officers of Russia’s military intelligence agency, the GRU, covertly monitored computers of Democratic
candidate Hillary Clinton’s campaign and Democratic campaign committees, and stole large amounts of data,
the indictment said.
“In addition to releasing documents directly to the public, the defendants transferred stolen documents to
another organization, not named in the indictment, and discussed timing the release of the documents in an
attempt to enhance the impact on the election,” Deputy U.S. Attorney General Rod Rosenstein told a news
conference.
Friday’s indictment was secured by Special Counsel Robert Mueller as part of his probe into Russian
involvement in the election. It was the first by Mueller that directly charges the Russian government with
meddling in the election, which Trump unexpectedly won. The Kremlin denies it interfered.
Rosenstein said he briefed Trump this week about the indictment. It contains no allegations that U.S. citizens
committed a crime, he said.
A few hours before the indictments were announced, Trump called the Mueller investigation a “rigged witch
hunt” that is hurting the United States’ relationship with Russia.
The announcement of the indictment came at an awkward time for Trump, who met Britain’s Queen
Elizabeth at Windsor Castle on Friday for tea during a visit to Britain.
Trump said he would “absolutely, firmly ask” Putin about the meddling at their planned meeting in Helsinki
on Monday.
    Case 4:20-cv-00467-SDJ-CAN Document 69-2 Filed 09/27/22 Page 64 of 249 PageID #:
The Russian Foreign Ministry said on Friday that the1906
                                                     indictment aimed to damage the atmosphere before the
summit. It said there was no evidence that the 12 people charged were linked to military intelligence or
hacking.
Several prominent Democratic lawmakers called on Trump to cancel the summit.
“In light of this stunning indictment by the Justice Department that these Russian conspirators attacked our
democracy and were communicating with Americans to interfere in our election, President Trump should
immediately cancel his meeting with Vladimir Putin,” said Senator Jack Reed, the ranking Democrat on the
Senate Armed Services Committee.
PROPAGANDA, HACKING
Mueller is investigating whether Trump’s campaign colluded with Russia and whether the president has
unlawfully sought to obstruct the Russia investigation.
U.S. intelligence agencies concluded in January 2017 that Russia, in action ordered by Putin, used
propaganda and hacking to meddle in the election to harm Clinton and eventually help Trump.
But the 29-page document describes several incidents in which the alleged Russian hackers, using the
internet personas DCLeaks and Guccifer 2.0, were in contact with Americans.
It says Russian operatives provided direct assistance to a candidate for the U.S. Congress, who in August
2016 requested and received from Guccifer 2.0 documents stolen from the DCCC about their opponent. The
candidate and the person’s party affiliation were not identified.
That same month, the indictment says, “the Conspirators, posing as Guccifer 2.0, sent a reporter stolen
documents pertaining to the Black Lives Matter movement,” which was a sensitive political issue for the
Democratic Party.
Deputy U.S. Attorney General Rod Rosenstein announces grand jury indictments of 12 Russian intelligence
officers in special counsel Robert Mueller's Russia investigation during a news conference at the Justice
Department in Washington, U.S., July 13, 2018. REUTERS/Leah Millis
The reporter, who was not identified, “responded by discussing when to release the documents and offering
to write an article about their release.”
The indictment says the Russian operatives wrote to a unnamed person “who was in regular contact with
senior members” of the Trump campaign. Trump ally Roger Stone told CNN he “probably” was the person
referred to in the indictment.
The indictment says the Russian operatives told the person it would be a “great pleasure” to help them and
later asked their opinion about a stolen DCCC document posted online. “(P)retty standard,” the person
responded.
Stone denied passing any stolen emails to WikiLeaks. He said in a statement to Reuters: “The indictments
today show I did not conspire with any of the defendants to do the hacking, distribute the stolen emails or aid
them in anyway.”
“RUSSIANS ARE NAILED”
A former federal prosecutor, Renato Mariotti, raised the question of the next steps in the probe.
“The open question is whether Americans were involved in this and will they be charged. You can certainly
imagine a subsequent indictment in the future of an American of being part of this conspiracy,” Mariotti said.
    Case 4:20-cv-00467-SDJ-CAN Document 69-2 Filed 09/27/22 Page 65 of 249 PageID #:
The indictment says that on or about July 27, 2016, the Russians attempted for the first time to break into
                                                     1907
email accounts “at a domain hosted by a third-party provider and used by Clinton’s personal office. At or
around the same time, they also targeted 76 email addresses at the domain of the Clinton Campaign.”
The same day, candidate Trump told a news conference: “Russia if you are listening I hope you’re able to
find the 30,000 (Clinton) emails that are missing,” referring to emails from a private server used by Clinton
when she was secretary of state.
The indictment documents extensive cooperation between the Russian hackers and the unnamed
“Organization 1.”
That group appears to match WikiLeaks, which released large numbers of hacked Democratic Party emails
during the 2016 campaign.
On July 22, 2016, Organization 1 “released over 20,000 emails and other documents stolen from the DNC
network by the Conspirators,” the indictment said. That matches the date that a WikiLeaks began publishing
internal DNC documents.
WikiLeaks, which was not indicted, did not immediately respond to a request for comment.
In June 2016, “Organization 1 sent a private message to Guccifer 2.0 to ‘(s)end any new material (stolen
from the DNC) here for us to review and it will have a much higher impact than what you are doing,” the
indictment said.
Trump lawyer Rudolph Giuliani, in a tweet, said the indictments showed it was time to end the special
counsel’s probe.
“The indictments Rod Rosenstein announced are good news for all Americans. The Russians are nailed. No
Americans are involved. Time for Mueller to end this pursuit of the President and say President Trump is
completely innocent,” Giuliani said.
Mueller has secured indictments against several former Trump campaign aides, including former campaign
chairman Paul Manafort and former White House national security adviser Michael Flynn.
In February, Mueller charged 13 Russians and three Russian companies in an elaborate conspiracy to
interfere in the election. That indictment said the Russians adopted false online personas to push divisive
messages, traveled to the United States to collect intelligence and staged political rallies while posing as
Americans.
Russian Intelligence Officers Have Been Indicted For Hacking Hillary Clinton's Presidential
Campaign
BuzzFeed News July 13th, 2018
Twelve Russian military officers were indicted Friday by a federal grand jury for hacking Hillary Clinton's
presidential campaign and two Democratic organizations — marking the latest charges to come out of special
counsel Robert Mueller's investigation.
The defendants, all members of the Russian intelligence agency GRU, are accused of conspiring to hack into
computer networks, steal documents, and orchestrate their release with the goal of interfering with the 2016
presidential election.
Although the Russian defendants communicated with unnamed Americans, according to the indictment,
there is no allegation in the charging papers that any American citizen knew they were participating in
unlawful activity or that they were communicating with Russian intelligence. The charging papers indicate
     Case 4:20-cv-00467-SDJ-CAN Document 69-2 Filed 09/27/22 Page 66 of 249 PageID #:
that the defendants were in touch with an unnamed person
                                                   1908 who was in contact with senior members of the
Trump campaign.
The indictment also alleges a scheme to hack into state government networks to steal voter information.
According to charging papers, hackers stole the personal information of more than 500,000 voters from the
website of an unidentified state board of elections, including names, addresses, partial Social Security
numbers, birthdates, and driver's license numbers. The indictment doesn't specify what happened to that
information, and Deputy Attorney General Rod Rosenstein did not elaborate when asked about it on Friday.
Rosenstein said there was no evidence that the alleged criminal activity affected vote counts or election
outcomes.
At a press conference on Tuesday announcing the indictment, Rosenstein warned against public speculation
about federal investigations.
"I want to caution you that people who speculate about federal investigations usually do not know all of the
relevant facts. We do not try cases on television or in congressional hearings. Most anonymous leaks are not
from the government officials who actually conduct investigations," Rosenstein said in prepared remarks.
"We follow the rule of law, which means that we follow procedures and reserve judgment. We complete our
investigations and evaluate all of the evidence before we reach any conclusion."
Rosenstein said he had briefed President Donald Trump about the indictment. Asked about Trump's repeated
characterization of Mueller's investigation as a "witch hunt," Rosenstein said he could only comment on the
evidence. When charges are filed, he said, they represent "a determination by prosecutors and agents, without
regard to politics, that we believe the evidence is sufficient to justify the charges."
Although the case came out of Mueller's investigation, Rosenstein said it would be transferred to the Justice
Department's National Security Division.
Mueller's investigation is ongoing, Rosenstein said Friday. White House spokesperson Lindsay Walters put
out a statement highlighting Rosenstein's comments that no Americans were accused of criminal activity and
that there was no allegation that votes were affected.
"Today’s charges include no allegations of knowing involvement by anyone on the campaign and no
allegations that the alleged hacking affected the election result. This is consistent with what we have been
saying all along," Walters said.
Responding to news of the latest charges, Trump's personal lawyer Rudy Giuliani tweeted, "Time for
Mueller to end this pursuit of the President and say President Trump is completely innocent."
The charges come as Trump will meet face-to-face with Russian President Vladimir Putin in Finland on
Monday. Trump has in the past defended Russia and said he believes Putin when Putin said he didn't meddle
in the election.
"I don't think anybody knows it was Russia that broke into the DNC. She's saying Russia, Russia, Russia.
Maybe it was. I mean, it could be Russia, but it could also be China, but it could also be lots of other people,
it also could be someone sitting on their bed that weighs 400 pounds, OK?" Trump said in September 2016.
In a brief, hastily organized press conference, Sen. Mark Warner, the ranking member of the Senate
Intelligence Committee, commended the Mueller investigation, which he said had resulted in “direct
evidence of Russian agents interfering in our elections.” He said a “vast majority” of the information from
today was new, at least to that level of specificity, and he stated his surprise at the information.
"What is remarkable about special prosecutor Mueller's work was the level of specificity to identify the
actual Russian spies who specifically interfered in our state's election systems, who hacked into the DNC,
who hacked into the Democratic Congressional Campaign Committee, who hacked into John Podesta's
     Case 4:20-cv-00467-SDJ-CAN Document 69-2 Filed 09/27/22 Page 67 of 249 PageID #:
emails. That's pretty good investigation work by Mueller
                                                     1909and his team," Warner said. He spent time
criticizing the White House's attitude toward Russia, and called on Trump to stop taking one-on-one
meetings with Putin, expressing a fear that Trump could be taken advantage of.
According to the indictment, as of at least March 2016 the GRU officers had launched a sustained effort to
hack into the computer networks of the DNC, Clinton's campaign, and the Democratic Congressional
Campaign Committee. That included hacking the email account of Clinton's campaign chair, John Podesta.
Within months, the defendants are accused of having staged the release of tens of thousands of stolen
documents. According to the indictment, the officers registered a domain, DCLeaks.com, and created the
"fictitious persona" Guccifer 2.0, to facilitate the release of documents. When the DNC announced it had
been hacked in June 2016, prosecutors say the defendants created Guccifer 2.0 to falsely make it seem as
though it was the work of a single Romanian hacker. They also allegedly used the Guccifer 2.0 persona to
release documents through the website of an additional unnamed entity, referred to as "Organization 1."
According to the indictment, the defendants, through the Guccifer 2.0 persona, communicated with an
unidentified person "who was in regular contact with senior members" of the Trump campaign, asking what
they thought about the released documents and offering to send information. The charging papers also
alleged that the defendants, via Guccifer 2.0, also communicated with an unnamed US congressional
candidate, a state lobbyist, and a reporter.
The indictment alleges that the GRU officials used spear-phishing to target volunteers and employees of
Clinton's campaign. They allegedly were able to steal the usernames and passwords of numerous individuals,
and then use those credentials to steal emails and maintain access. The defendants allegedly sent Podesta a
"spoofing" email that was made to look like a security notification from Google, instructing the recipient to
click on a link. According to the indictment, the hackers stole more than 50,000 emails from Podesta's
account.
Once the hackers had access to the DCCC network, they allegedly searched one computer for the terms
"hillary," "cruz," and "trump," copied a folder called "Benghazi Investigations," and targeted computers with
opposition research and 2016 field operations information.
During his news conference, Rosenstein spoke about the nonpartisan nature of the investigation.
"When we confront foreign interference in American elections, it's important for us to avoid thinking
politically as Republicans or Democrats and instead to think patriotically as Americans," Rosenstein said.
"Partisan warfare fueled by modern technology does not fairly reflect the grace, dignity, and unity of the
American people."
"Our response must not depend on which side was victimized," he said.
When asked about the timing of the indictment, days before Trump is scheduled to meet with Putin,
Rosenstein said, "The timing, as I mentioned, is a function of the collection of the facts, the evidence, and the
law."
The defendants are Russian nationals, and assuming they don't travel to the United States or otherwise
participate in the US litigation, it will be difficult for the Justice Department to pursue the charges against
them. The pending case could make it difficult for them to travel internationally, and could make them
subject to the US sanctions.
This is the second case brought by Mueller's office against a group of Russian nationals accused of
attempting to interfere in the 2016 election. In February, a grand jury returned an indictment against the
Russian-based troll farm Internet Research Agency, two other Russian entities, and 13 Russian
individuals accused of creating fake US personas to manage social media accounts and collect intelligence.
    Case 4:20-cv-00467-SDJ-CAN Document 69-2 Filed 09/27/22 Page 68 of 249 PageID #:
Only one of the defendants in that case, Concord Management
                                                     1910       and Consulting, has engaged in the case to
date. Concord has pleaded not guilty and is contesting the legitimacy of Mueller's appointment.
This is the ninth case brought by Mueller's office. It was filed in the US District Court for the District of
Columbia, and assigned to US District Judge Amy Berman Jackson — the same judge presiding over one of
the special counsel office's prosecutions against former Trump campaign chair Paul Manafort.
No one from Trump's campaign has been charged with colluding with the Russian government, but
prosecutors have connected people involved in the campaign and Russia-affiliated individuals in court
papers. Alex van der Zwaan, a Dutch lawyer, pleaded guilty earlier this year to lying to investigators about
his contacts with former deputy Trump campaign chair Rick Gates — who had been Manafort's co-defendant
but has since pleaded guilty and agreed to cooperate — and an unnamed person known as "Person A."
According to a March filing by prosecutors, Gates told van der Zwaan that Person A, who Gates was in touch
with in 2016, waVDIRUPHU5XVVLDQLQWHOOLJHQFHRIILFHUZLWK*58WKH)%,DVVHVVHGWKDW3HUVRQ$VWLOOKDG
ties to Russian intelligence in 2016.
Media reports speculated that Person A was Konstantin Kilimnik, a longtime Russian-Ukrainian business
SDUWQHURI0DQDIRUW.LOLmnik has denied ties to Russian intelligence. In June, Kilimnik became Manafort's
new co-defendant — Mueller's office charged him with attempting to interfere with potential witnesses.
Two civil lawsuits have made the jump in connecting the DNC hack to the Trump campaign, alleging a
conspiracy with the Russian government. One, filed last year in DC federal court on behalf of two DNC
donors and a former DNC employee, was dismissed earlier this month after a judge found it was filed in the
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this week in the US District Court for the Eastern District of Virginia.
In April, the DNC filed a lawsuit of its own in federal court in Manhattan in April. That case is pending.
The Coincidence at the Heart of the Russia Hacking Scandal
The Atlantic July 13th, 2018
The broad outlines of Friday’s indictment by Special Counsel Robert Mueller, charging 12 Russians with
conspiracy, identity theft, and money laundering in connection with hacking during the 2016 presidential
election, are not surprising. The hacking of the Democratic National Committee has been public
knowledge since July 2016, and even then, the authorities publicly stated that the perpetrators were Russian
government officials. Other details, such as the apparent involvement of WikiLeaks and Trump adviser
Roger Stone, were also known. Some of the details, however, are striking.
On July 27, 2016, at a Trump press conference in Florida, the candidate referred to 33,000 emails that an aide
to Hillary Clinton had deleted from the former secretary of state’s personal email server. The DNC had
recently announced the Russian intrusion, and Trump speculated that if Russia broke into the DNC, it would
have accessed Clinton’s emails, too.
“By the way, if they hacked, they probably have her 33,000 emails,” Trump said. “I hope they do. They
probably have her 33,000 emails that she lost and deleted. Because you’d see some beauties there.”
That was perhaps irresponsible speculation, but it wasn’t crazy. There were widespread questions about
Clinton’s information security, and whether she might have compromised government secrets. But a few
minutes later Trump said something much stranger.
“I will tell you this: Russia, if you’re listening, I hope you’re able to find the 30,000 emails that are missing,”
he said. “I think you will probably be rewarded mightily by our press.”
     Case 4:20-cv-00467-SDJ-CAN Document 69-2 Filed 09/27/22 Page 69 of 249 PageID #:
The president was encouraging a foreign adversary to1911illegally hack into messages by a former secretary of
state that might contain sensitive information, then release them publicly.
Trump had good reason to believe that Russia was liVWHQLQJ7KHSUHYLRXVPRQWKKLVVRQ'RQDOG-UVRQ-in-
ODZ-DUHG.XVKQHUDQGFDPSDLJQFKDLUPDQ3DXO0DQDIRUWKDGDPHHWLQJDW7UXPS7RZHUZLWK5XVVLDQV
who they believed were offering damaging information about Clinton. (The meeting wasn’t revealed to the
public until 2017, and both the Russians and the Trump campaign officials say no dirt was exchanged.) Prior
to the meeting, Trump Jr. had received an email stating that the meeting was “part of Russia and its
government’s support for Mr. Trump.”
Mueller’s indictment offers new evidence that Russia was listening—and acting on Trump’s request. The
indictment charges 12 officers of the GRU, Russia’s military-intelligence agency, with hacking intended to
interfere with the election. According to the document:
The Conspirators spearphished individuals affiliated with the Clinton Campaign throughout the summer of
2016. For example, on or about July 27, 2016, the Conspirators 7 attempted after hours to spearphish for the
first time email accounts at a domain hosted by a third-party provider and used by Clinton's personal office.
At or around the same time, they also targeted seventy-six email addresses at the domain for the Clinton
Campaign.
In other words, a Russian attempt to penetrate Clinton’s server and her campaign came around the same time
that Trump was publicly pleading with Russia to do just that. (Mueller alleges that there had been attempts to
hack Clinton’s campaign since at least March 2016.)
Trump’s hacking request was so egregious that it earned immediate pushback from other Republicans.
Speaker Paul Ryan’s spokesman issued a statement saying, “Russia is a global menace led by a devious thug.
Putin should stay out of this election.” Even Mike Pence, Trump’s own vice-presidential nominee,
contradicted his running mate. “If it is Russia [that hacked the DNC] and they are interfering in our elections,
I can assure you both parties and the United States government will ensure there are serious
consequences,” he said.
The indictment notes other examples of Russia releasing documents at times engineered to benefit the Trump
campaign, though it doesn’t offer any evidence that Trump aides directed, or were aware of, those releases
before they happened. The indictment notes that WikiLeaks released a tranche of emails allegedly stolen by
Russia on July 22, 2016—just three days before the DNC, a convenient stroke of timing for Trump. Then, on
October 7, 2016, WikiLeaks released another batch of hacked emails within hours of the revelation of
the Access Hollywood tape, in which Trump is overheard boasting about sexually assaulting women.
In a statement responding to the indictment on Friday, the White House did not condemn Russian
interference in the election, instead striking a purely defensive note regarding the president’s 2016 victory.
“Today’s charges include no allegations of knowing involvement by anyone on the campaign and no
allegations that the alleged hacking affected the election result,” a spokeswoman said. “This is consistent
with what we have been saying all along.” Trump is scheduled to meet one-on-one with Russian President
Vladimir Putin on Monday in Helsinki, Finland.
At the time of Trump’s comments in July 2016, it was easy to write them off as the latest sideshow from his
circus of a campaign. Though he was at that moment enjoying a brief post-Republican National
Convention bounce in the polls, Trump was widely expected to lose the election, so his comments, while
dangerous, were of limited relevance.
That was incorrect, of course: Trump defeated Clinton. And since then, the public has learned a great deal
about both Russian interference in the election and ties between the Trump campaign and Russia.
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Mueller indicted a coterie of Russians on charges of 1912
                                                     interfering in the election via online trolling. The public
learned of the June 2016 Trump Tower meeting, despite multiple attempts by Trump Jr. to mislead about it.
Former National-Security Adviser Michael Flynn pleaded guilty to lying to the FBI about contacts with the
Russian ambassador. Former Trump campaign foreign-policy adviser George Papadopoulos pleaded guilty to
lying to the FBI about contacts with Russians during the election. Another foreign-policy aide, Carter Page,
offered confusing and sometimes contradictory evidence about his travels to Russia and elsewhere. Mueller
has produced evidence showing Manafort’s deep pre-campaign ties to the Kremlin. Kushner reportedly
attempted to establish a back-channel to communicate with Russia. And so on.
As I have argued, the question of whether these ties existed ought to be closed. There is extensive evidence
to support that they did. Friday’s indictment adds an astonishing new wrinkle. Trump campaign officials may
or may not have been colluding with a Russian influence operation behind closed doors, but Trump himself
was making no attempt to hide his own desires, with cameras and reporters watching. The Russians heeded
his call.
Mueller’s Politicized Indictment of Twelve Russian Intelligence Officers
National Review July 16th, 2018
So, is Russia now presumed innocent of hacking the 2016 election?
If not, it is difficult to understand any proper purpose served by Special Counsel Robert
Mueller’s indictment of twelve military officers in the Kremlin’s intelligence services for doing what
everybody in America already knew that they did, and has known since before Donald Trump took office —
indeed, since before the 2016 election.
Make no mistake: This is nakedly politicized law enforcement. There is absolutely no chance any of the
Russian officials charged will ever see the inside of an American courtroom. The indictment is a strictly
political document by which the special counsel seeks to justify the existence of his superfluous
investigation.
Oh, and by the way, the answer to the question posed above is, “Yes, it is now the official position of the
United States that Russia gets our Constitution’s benefit of the doubt.” Here is Deputy Attorney General Rod
Rosenstein announcing the Friday the 13th indictment: “In our justice system, everyone who is charged with
a crime is presumed innocent unless proven guilty.”
Of course, the indicted Russians are never going to be proven guilty — not in the courtroom sense
Rosenstein was invoking.
As is so often the case in today’s politicized Justice Department, Rosenstein was trying to make a different
political point. As he went on to note, if people whom we have formally charged are presumed innocent,
then, a fortiori, people who have not been accused — implicitly, Rosenstein was talking about President
Trump — must also be presumed innocent. But, see, you can’t make that point without stepping on the
political purpose of Friday’s charade: We have taken the not only pointless but reckless step
of indicting operatives of a hostile foreign power who cannot be prosecuted and whose schemes could easily
have been exposed — and, in fact, have been exposed, multiple times — in publLFJRYHUQPHQWUHSRUWVVR
now, due-process rules oblige us to caution you that we must presume the Russians did not do what we have
formally accused them of doing. They are entitled to that presumption unless and until we convict them in
court . . . which is never going to happen.
Rosenstein made another telling remark at his big press conference. The Justice Department, he explained,
will now “transition responsibility for this case to our Department’s National Security Division while we
await the apprehension of the defendants.”
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Now, stop giggling over that last part — the bit where   we hold our breath until Russian dictator Vladimir
                                                      1913
Putin extradites his spies into the FBI’s waiting arms. I’m talking about the first part: Mueller’s case, the
definitive case about what Russia did to interfere in the 2016 election, is no longer Mueller’s case. It is being
“transitioned” — i.e., buried — in the Justice Department unit that deals with counterintelligence matters that
do not result in public trials.
This underscores what we have been arguing here since before Mueller was appointed: There was no need
and no basis in federal regulations for a special counsel.
A special counsel is supposed to be appointed only when there are (a) a concrete factual basis to believe
federally prosecutable crimes have been committed, calling for a criminal investigation, and (b) a conflict of
interest that prevents the Justice Department from conducting the criminal investigation.
As we’ve observed countless times, there was no basis for a criminal investigation of President Trump or the
Trump campaign. The fact that Russia interfered in an American election — as it routinely does — never
meant that the perceived beneficiary of the interference was criminally complicit in it. There is no known
evidence that Trump-campaign officials had any involvement in hacking by the Russian intelligence services.
Mueller’s new indictment powerfully suggests that this could not have happened — the Russians were expert
in their cyberespionage tactics, they did not need anyone’s help, and they took pains to conceal their identity
from everyone with whom they dealt.
Moreover, even though Trump-campaign officials have been charged with other crimes (having nothing to
do with the 2016 election), and some of those Trump officials had “contacts” with Russians, Mueller has
never charged one of them with a crime related to Russia’s espionage attack on the election, nor has he ever
elicited from any defendant who pled guilty an admission of any such crime. The only known allegations of
such a crime are contained in the unverified, Clinton-campaign-sponsored Steele dossier, and the Trump-
campaign figures implicated in it have either not been charged at all (e.g., Carter Page, Michael Cohen), or
not been charged with a “collusion” crime (Paul Manafort).
Thus, among the worst aspects of Mueller’s new indictment is its continuation of the Justice Department’s
politicized perversion of its critical counterintelligence mission.
Lacking the requisite basis to conduct a criminal investigation, the Justice Department used its
counterintelligence mission as a pretext for appointing a special counsel. This was grossly improper: (1)
Counterintelligence work, which is geared at thwarting the operations of hostile foreign powers, is not the
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authorities do not afford Americans the due-process protections required in criminal investigations, the
Justice Department is not permitted to use counterintelligence as a pretext for conducting what is actually an
effort to build a criminal prosecution.
Now Mueller has taken the next logical wayward step: He has woven an indictment that can never be tried
out of counterintelligence work against foreign governments that is not supposed to be the subject of criminal
prosecution — i.e., the subject of public courtroom testing under due-process rules.
This is not the way counterintelligence is supposed to work. And the Justice Department knows it. That is
why Mueller’s indictment will now be the property of DOJ’s National Security Division, the home of other
non-prosecutable foreign counterintelligence work that is never intended to see the light of day in a public
courtroom.
And why such an easy transition? Because there is no conflict of interest.
There never was. Russia’s interference in the 2016 election was never something that the Justice Department
was unable to investigate in the normal course. In fact, for months, the Trump Justice Department was
     Case 4:20-cv-00467-SDJ-CAN Document 69-2 Filed 09/27/22 Page 72 of 249 PageID #:
investigating it in the normal course, just as the Obama Justice Department had done. Then, President Trump
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fired FBI director James Comey. It was this event that prompted Rosenstein to appoint Mueller. We got a
special counsel not because of Russia’s espionage or any evidence indicating actual Trump-campaign
FRPSOLFLW\LQLWZHJRWDVSHFLDOFRXQVHOEHFDXVH5RVHQVWHLQZDVGHHSO\LQvolved in Comey’s ouster and
wanted to fend off Democratic attacks on him over it.
The only point of the new indictment is to justify Rosenstein’s decision and Mueller’s existence. Proponents
of the unnecessary special counsel want to say, “See, we really needed this investigation.” But that can be
said with a straight face only if the goalposts are moved.
To be clear, we did need an FBI counterintelligence investigation of Russia’s espionage operation against the
2016 election, and we already had a quite aggressive one before Mueller came on the scene. But we would
have needed a special-counsel investigation only if there had been a concrete factual basis to believe
the Trump campaign conspired in Russia’s espionage operation against the 2016 election.
There never was. So now, the purported need for Mueller is being rationalized on two fictitious premises.
The first is that the new indictment shows we needed Mueller to get to the bottom of Russia’s perfidy. This is
false: There is nothing new in Mueller’s indictment, his participation was unnecessary to discover what our
counterintelligence investigators have learned, and the intelligence they have gathered should not have been
put in an indictment — aggression by hostile foreign powers is not a law-enforcement issue, and it is a
mockery of the justice system to charge foreign aggressors and pretend we presume them innocent of their
attacks against our country.
The second is that the number of indictments Mueller has generated proves that there were solid grounds to
suspect Trump-campaign “collusion” in Russia’s election-meddling. The blatant, partisan dishonesty of this
claim is best encapsulated in this passage from the Washington Post’s report on Mueller’s new indictment:
Mueller and a team of prosecutors have been working since May 2017 to determine whether any Trump
associates conspired with Russia to interfere in the election. With the new indictment, his office has filed
charges against 32 people on crimes including hacking, money laundering and lying to the FBI.
The Post goes on grudgingly to point out that 26 of the 32 charged are Russians “who are unlikely to ever be
put on trial in the United States.” (Unlikely?) But the paper conveniently omits mention of the fact that none
of the 32 have been charged with a Trump–Russia conspiracy to interfere in the election. That’s the only
thing Mueller was needed for.
As I pointed out on Twitter over the weekend, besides the two-dozen-odd Kremlin operatives already
charged, there are 144 million other people in Russia who will never see the inside of an American
courtroom. If Mueller indicts every one of them, his stats will look really impressive . . . and there will still
be no Trump conspiracy against the election.
What there will be, though, is a new international order in which nation-states are encouraged to file criminal
charges against each other’s officials for actions deemed to be provocative (or, more accurately, actions that
can be exploited for domestic political purposes). Of all government officials in the world, American
officials are the most active on the global stage — and that includes meddling in other countries’ elections. I
doubt our diplomats, intelligence operatives, elected officials, and citizens will much like living in the world
Robert Mueller and Rod Rosenstein have given us. If the idea was to give Vladimir Putin and his thug
regime a new way to sabotage the United States, nice work.
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Department of Justice Office of Public Affairs 1915


FOR IMMEDIATE RELEASE Friday, July 13, 2018
GRAND JURY INDICTS 12 RUSSIAN INTELLIGENCE OFFICERS FOR HACKING
OFFENSES RELATED TO THE 2016 ELECTION

The Department of Justice today announced that a grand jury in the District of Columbia returned an indictment
presented by the Special Counsel’s Office. The indictment charges twelve Russian nationals for committing federal
crimes that were intended to interfere with the 2016 U.S. presidential election. All twelve defendants are members of
the GRU, a Russian Federation intelligence agency within the Main Intelligence Directorate of the Russian military.
These GRU officers, in their official capacities, engaged in a sustained effort to hack into the computer networks of the
Democratic Congressional Campaign Committee, the Democratic National Committee, and the presidential campaign
of Hillary Clinton, and released that information on the internet under the names "DCLeaks" and "Guccifer 2.0" and
through another entity.


“The Internet allows foreign adversaries to attack America in new and unexpected ways,” said Deputy Attorney General
Rod J. Rosenstein. “Together with our law enforcement partners, the Department of Justice is resolute in its
commitment to locate, identify and seek to bring to justice anyone who interferes with American elections. Free and
fair elections are hard-fought and contentious, and there will always be adversaries who work to exacerbate domestic
differences and try to confuse, divide, and conquer us. So long as we are united in our commitment to the shared values
enshrined in the Constitution, they will not succeed.”


According to the allegations in the indictment, Viktor Borisovich Netyksho, Boris Alekseyevich Antonov, Dmitriy
Sergeyevich Badin, Ivan Sergeyevich Yermakov, Aleksey Viktorovich Lukashev, Sergey Aleksandrovich Morgachev,
Nikolay Yuryevich Kozachek, Pavel Vyacheslavovich Yershov, Artem Andreyevich Malyshev, Aleksandr Vladimirovich
Osadchuk, Aleksey Aleksandrovich Potemkin, and Anatoliy Sergeyevich Kovalev were officials in Unit 26165 and Unit
74455 of the Russian government’s Main Intelligence Directorate.


In 2016, officials in Unit 26165 began spearphishing volunteers and employees of the presidential campaign of Hillary
Clinton, including the campaign’s chairman. Through that process, officials in this unit were able to steal the
usernames and passwords for numerous individuals and use those credentials to steal email content and hack into
other computers. They also were able to hack into the computer networks of the Democratic Congressional Campaign
Committee (DCCC) and the Democratic National Committee (DNC) through these spearphishing techniques to steal
emails and documents, covertly monitor the computer activity of dozens of employees, and implant hundreds of files of
malicious computer code to steal passwords and maintain access to these networks.


The officials in Unit 26165 coordinated with officials in Unit 74455 to plan the release of the stolen documents for the
purpose of interfering with the 2016 presidential election. Defendants registered the domain DCLeaks.com and later
staged the release of thousands of stolen emails and documents through that website. On the website, defendants
claimed to be “American hacktivists” and used Facebook accounts with fictitious names and Twitter accounts to
promote the website. After public accusations that the Russian government was behind the hacking of DNC and DCCC
computers, defendants created the fictitious persona Guccifer 2.0. On the evening of June 15, 2016 between 4:19PM
and 4:56PM, defendants used their Moscow-based server to search for a series of English words and phrases that later
appeared in Guccifer 2.0’s first blog post falsely claiming to be a lone Romanian hacker responsible for the hacks in the
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hopes of undermining the allegations of Russian involvement.


Members of Unit 74455 also conspired to hack into the computers of state boards of elections, secretaries of state, and
US companies that supplied software and other technology related to the administration of elections to steal voter data
stored on those computers.


To avoid detection, defendants used false identities while using a network of computers located around the world,
including the United States, paid for with cryptocurrency through mining bitcoin and other means intended to obscure
the origin of the funds. This funding structure supported their efforts to buy key accounts, servers, and domains. For
example, the same bitcoin mining operation that funded the registration payment for DCLeaks.com also funded the
servers and domains used in the spearphishing campaign.


The indictment includes 11 criminal counts:


    x   Count One alleges a criminal conspiracy to commit an offense against the United States through cyber
        operations by the GRU that involved the staged release of stolen documents for the purpose of interfering with
        the 2016 president election;
    x   Counts Two through Nine charge aggravated identity theft for using identification belonging to eight victims to
        further their computer fraud scheme;
    x   Count Ten alleges a conspiracy to launder money in which the defendants laundered the equivalent of more
        than $95,000 by transferring the money that they used to purchase servers and to fund other costs related to
        their hacking activities through cryptocurrencies such as bitcoin; and
    x   Count Eleven charges conspiracy to commit an offense against the United States by attempting to hack into the
        computers of state boards of elections, secretaries of state, and US companies that supplied software and other
        technology related to the administration of elections.



There is no allegation in the indictment that any American was a knowing participant in the alleged unlawful activity or
knew they were communicating with Russian intelligence officers. There is no allegation in the indictment that the
charged conduct altered the vote count or changed the outcome of the 2016 election.


Everyone charged with a crime is presumed innocent unless proven guilty in court. At trial, prosecutors must introduce
credible evidence that is sufficient to prove each defendant guilty beyond a reasonable doubt, to the unanimous
satisfaction of a jury of twelve citizens.


This case was investigated with the help of the FBI’s cyber teams in Pittsburgh, Philadelphia and San Francisco and the
National Security Division. The Special Counsel's investigation is ongoing. There will be no comments from the Special
Counsel at this time.
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                                 Exhibit H
Case 4:20-cv-00467-SDJ-CAN Document 69-2 Filed 09/27/22 Page 76 of 249 PageID #:
                                    1918
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                                    1920

   From:          b6               (NSD)
   To:            b6             (NSD)
   Subject:        Binder for John
   Date:           Tuesday, October 29, 2019 11:48:00 AM
   Attachments:    Morenets Indictment.pdf
                   khusyaynova complaint.pdf
                   indictment concord management.pdf
                   Order.pdf
                   netyksho et al indictment.pdf


  Hi b6 ,
  I’m putting together a binder for John before the prep for his 60 Minutes Interview on Thursday.
  When you have a moment, would you mind putting the attached in a binder? I’m going to add a
  couple more documents, but it’s going to take me some time to gather the right items (sifting
  through some voluminous reports).
      • Order
      • Netykscho Indictment
      • Khusyaynova Complaint
      • Concord Management Indictment
      • Morenets Indictment
  Thank you!
  b6
  Counsel to the Assistant Attorney General
  National Security Division
  (U) b6
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Case 4:20-cv-00467-SDJ-CAN   Document
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                                    1981
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                                    1982
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                                    1983
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                                    2011
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                                    2014
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                                    2016
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                                    2018
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                                    2020
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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

  UNITED STATES OF AMERICA          *
                                    *    CRIMINAL NO.
       v.                           *
                                    *    (18 U.S.C. §§ 2, 371, 1030, 1028A, 1956,
  VIKTOR BORISOVICH NETYKSHO,       *    and 3551 et seq.)
  BORIS ALEKSEYEVICH ANTONOV,       *
  DMITRIY SERGEYEVICH BADIN,        *
  IVAN SERGEYEVICH YERMAKOV,        *
  ALEKSEY VIKTOROVICH               *
     LUKASHEV,                      *
  SERGEY ALEKSANDROVICH             *
     MORGACHEV,                     *
  NIKOLAY YURYEVICH KOZACHEK,       *
  PAVEL VYACHESLAVOVICH             *
     YERSHOV,                       *
  ARTEM ANDREYEVICH                 *
     MALYSHEV,                      *
  ALEKSANDR VLADIMIROVICH           *
     OSADCHUK,                      *
  ALEKSEY ALEKSANDROVICH            *
     POTEMKIN, and                  *
  ANATOLIY SERGEYEVICH              *
     KOVALEV,                       *
                                    *
            Defendants.             *
                                    *
                                 *******
                              INDICTMENT

  The Grand Jury for the District of Columbia charges:

                                       COUNT ONE
                  (Conspiracy to Commit an Offense Against the United States)

  1.     In or around 2016, the Russian Federation (“Russia”) operated a military intelligence

  agency called the Main Intelligence Directorate of the General Staff (“GRU”). The GRU had

  multiple units, including Units 26165 and 74455, engaged in cyber operations that involved the

  staged releases of documents stolen through computer intrusions. These units conducted large-

  scale cyber operations to interfere with the 2016 U.S. presidential election.
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  2.     Defendants        VIKTOR   BORISOVICH       NETYKSHO,        BORIS     ALEKSEYEVICH

  ANTONOV, DMITRIY SERGEYEVICH BADIN, IVAN SERGEYEVICH YERMAKOV,

  ALEKSEY VIKTOROVICH LUKASHEV, SERGEY ALEKSANDROVICH MORGACHEV,

  NIKOLAY YURYEVICH KOZACHEK, PAVEL VYACHESLAVOVICH YERSHOV, ARTEM

  ANDREYEVICH MALYSHEV, ALEKSANDR VLADIMIROVICH OSADCHUK, and

  ALEKSEY ALEKSANDROVICH POTEMKIN were GRU officers who knowingly and

  intentionally conspired with each other, and with persons known and unknown to the Grand Jury

  (collectively the “Conspirators”), to gain unauthorized access (to “hack”) into the computers of

  U.S. persons and entities involved in the 2016 U.S. presidential election, steal documents from

  those computers, and stage releases of the stolen documents to interfere with the 2016 U.S.

  presidential election.

  3.     Starting in at least March 2016, the Conspirators used a variety of means to hack the email

  accounts of volunteers and employees of the U.S. presidential campaign of Hillary Clinton (the

  “Clinton Campaign”), including the email account of the Clinton Campaign’s chairman.

  4.     By in or around April 2016, the Conspirators also hacked into the computer networks of

  the Democratic Congressional Campaign Committee (“DCCC”) and the Democratic National

  Committee (“DNC”). The Conspirators covertly monitored the computers of dozens of DCCC

  and DNC employees, implanted hundreds of files containing malicious computer code

  (“malware”), and stole emails and other documents from the DCCC and DNC.

  5.     By in or around April 2016, the Conspirators began to plan the release of materials stolen

  from the Clinton Campaign, DCCC, and DNC.

  6.     Beginning in or around June 2016, the Conspirators staged and released tens of thousands

  of the stolen emails and documents. They did so using fictitious online personas, including



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  “DCLeaks” and “Guccifer 2.0.”

  7.     The Conspirators also used the Guccifer 2.0 persona to release additional stolen documents

  through a website maintained by an organization (“Organization 1”), that had previously posted

  documents stolen from U.S. persons, entities, and the U.S. government. The Conspirators

  continued their U.S. election-interference operations through in or around November 2016.

  8.     To hide their connections to Russia and the Russian government, the Conspirators used

  false identities and made false statements about their identities. To further avoid detection, the

  Conspirators used a network of computers located across the world, including in the United States,

  and paid for this infrastructure using cryptocurrency.

                                             Defendants

  9.     Defendant VIKTOR BORISOVICH NETYKSHO (ɇɟɬɵɤɲɨ ȼɢɤɬɨɪ Ȼɨɪɢɫɨɜɢɱ) was

  the Russian military officer in command of Unit 26165, located at 20 Komsomolskiy Prospekt,

  Moscow, Russia. Unit 26165 had primary responsibility for hacking the DCCC and DNC, as well

  as the email accounts of individuals affiliated with the Clinton Campaign.

  10.    Defendant BORIS ALEKSEYEVICH ANTONOV (Ⱥɧɬɨɧɨɜ Ȼɨɪɢɫ Ⱥɥɟɤɫɟɟɜɢɱ) was a

  Major in the Russian military assigned to Unit 26165. ANTONOV oversaw a department within

  Unit 26165 dedicated to targeting military, political, governmental, and non-governmental

  organizations with spearphishing emails and other computer intrusion activity. ANTONOV held

  the title “Head of Department.” In or around 2016, ANTONOV supervised other co-conspirators

  who targeted the DCCC, DNC, and individuals affiliated with the Clinton Campaign.

  11.    Defendant DMITRIY SERGEYEVICH BADIN (Ȼɚɞɢɧ Ⱦɦɢɬɪɢɣ ɋɟɪɝɟɟɜɢɱ) was a

  Russian military officer assigned to Unit 26165 who held the title “Assistant Head of Department.”

  In or around 2016, BADIN, along with ANTONOV, supervised other co-conspirators who targeted

  the DCCC, DNC, and individuals affiliated with the Clinton Campaign.

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  12.    Defendant IVAN SERGEYEVICH YERMAKOV (ȿɪɦɚɤɨɜ ɂɜɚɧ ɋɟɪɝɟɟɜɢɱ) was a

  Russian military officer assigned to ANTONOV’s department within Unit 26165. Since in or

  around 2010, YERMAKOV used various online personas, including “Kate S. Milton,” “James

  McMorgans,” and “Karen W. Millen,” to conduct hacking operations on behalf of Unit 26165. In

  or around March 2016, YERMAKOV participated in hacking at least two email accounts from

  which campaign-related documents were released through DCLeaks. In or around May 2016,

  YERMAKOV also participated in hacking the DNC email server and stealing DNC emails that

  were later released through Organization 1.

  13.    Defendant ALEKSEY VIKTOROVICH LUKASHEV (Ʌɭɤɚɲɟɜ Ⱥɥɟɤɫɟɣ ȼɢɤɬɨɪɨɜɢɱ)

  was a Senior Lieutenant in the Russian military assigned to ANTONOV’s department within Unit

  26165. LUKASHEV used various online personas, including “Den Katenberg” and “Yuliana

  Martynova.” In or around 2016, LUKASHEV sent spearphishing emails to members of the

  Clinton Campaign and affiliated individuals, including the chairman of the Clinton Campaign.

  14.    Defendant    SERGEY ALEKSANDROVICH               MORGACHEV (Ɇɨɪɝɚɱɟɜ ɋɟɪɝɟɣ

  Ⱥɥɟɤɫɚɧɞɪɨɜɢɱ) was a Lieutenant Colonel in the Russian military assigned to Unit 26165.

  MORGACHEV oversaw a department within Unit 26165 dedicated to developing and managing

  malware, including a hacking tool used by the GRU known as “X-Agent.” During the hacking of

  the DCCC and DNC networks, MORGACHEV supervised the co-conspirators who developed and

  monitored the X-Agent malware implanted on those computers.

  15.    Defendant NIKOLAY YURYEVICH KOZACHEK (Ʉɨɡɚɱɟɤ ɇɢɤɨɥɚɣ ɘɪɶɟɜɢɱ) was a

  Lieutenant Captain in the Russian military assigned to MORGACHEV’s department within Unit

  26165. KOZACHEK used a variety of monikers, including “kazak” and “blablabla1234565.”

  KOZACHEK developed, customized, and monitored X-Agent malware used to hack the DCCC



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  and DNC networks beginning in or around April 2016.

  16.    Defendant PAVEL VYACHESLAVOVICH YERSHOV (ȿɪɲɨɜ ɉɚɜɟɥ ȼɹɱɟɫɥɚɜɨɜɢɱ)

  was a Russian military officer assigned to MORGACHEV’s department within Unit 26165. In or

  around 2016, YERSHOV assisted KOZACHEK and other co-conspirators in testing and

  customizing X-Agent malware before actual deployment and use.

  17.    Defendant ARTEM ANDREYEVICH MALYSHEV (Ɇɚɥɵɲɟɜ Ⱥɪɬɺɦ Ⱥɧɞɪɟɟɜɢɱ) was

  a Second Lieutenant in the Russian military assigned to MORGACHEV’s department within Unit

  26165. MALYSHEV used a variety of monikers, including “djangomagicdev” and “realblatr.” In

  or around 2016, MALYSHEV monitored X-Agent malware implanted on the DCCC and DNC

  networks.

  18.    Defendant ALEKSANDR VLADIMIROVICH OSADCHUK                         Ɉɫɚɞɱɭɤ Ⱥɥɟɤɫɚɧɞɪ

  ȼɥɚɞɢɦɢɪɨɜɢɱ) was a Colonel in the Russian military and the commanding officer of Unit 74455.

  Unit 74455 was located at 22 Kirova Street, Khimki, Moscow, a building referred to within the

  GRU as the “Tower.” Unit 74455 assisted in the release of stolen documents through the DCLeaks

  and Guccifer 2.0 personas, the promotion of those releases, and the publication of anti-Clinton

  content on social media accounts operated by the GRU.

  19.    Defendant ALEKSEY ALEKSANDROVICH POTEMKIN (ɉɨɬɟɦɤɢɧ Ⱥɥɟɤɫɟɣ

  Ⱥɥɟɤɫɚɧɞɪɨɜɢɱ) was an officer in the Russian military assigned to Unit 74455. POTEMKIN was

  a supervisor in a department within Unit 74455 responsible for the administration of computer

  infrastructure used in cyber operations. Infrastructure and social media accounts administered by

  POTEMKIN’s department were used, among other things, to assist in the release of stolen

  documents through the DCLeaks and Guccifer 2.0 personas.




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                                      Object of the Conspiracy

  20.    The object of the conspiracy was to hack into the computers of U.S. persons and entities

  involved in the 2016 U.S. presidential election, steal documents from those computers, and stage

  releases of the stolen documents to interfere with the 2016 U.S. presidential election.

                               Manner and Means of the Conspiracy

                                      Spearphishing Operations

  21.    ANTONOV, BADIN, YERMAKOV, LUKASHEV, and their co-conspirators targeted

  victims using a technique known as spearphishing to steal victims’ passwords or otherwise gain

  access to their computers. Beginning by at least March 2016, the Conspirators targeted over 300

  individuals affiliated with the Clinton Campaign, DCCC, and DNC.

         a.      For example, on or about March 19, 2016, LUKASHEV and his co-conspirators

                 created and sent a spearphishing email to the chairman of the Clinton Campaign.

                 LUKASHEV used the account “john356gh” at an online service that abbreviated

                 lengthy website addresses (referred to as a “URL-shortening service”).

                 LUKASHEV used the account to mask a link contained in the spearphishing email,

                 which directed the recipient to a GRU-created website. LUKASHEV altered the

                 appearance of the sender email address in order to make it look like the email was

                 a security notification from Google (a technique known as “spoofing”), instructing

                 the user to change his password by clicking the embedded link. Those instructions

                 were followed. On or about March 21, 2016, LUKASHEV, YERMAKOV, and

                 their co-conspirators stole the contents of the chairman’s email account, which

                 consisted of over 50,000 emails.

         b.      Starting on or about March 19, 2016, LUKASHEV and his co-conspirators sent

                 spearphishing emails to the personal accounts of other individuals affiliated with


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               the Clinton Campaign, including its campaign manager and a senior foreign policy

               advisor. On or about March 25, 2016, LUKASHEV used the same john356gh

               account to mask additional links included in spearphishing emails sent to numerous

               individuals affiliated with the Clinton Campaign, including Victims 1 and 2.

               LUKASHEV sent these emails from the Russia-based email account

               hi.mymail@yandex.com that he spoofed to appear to be from Google.

        c.     On or about March 28, 2016, YERMAKOV researched the names of Victims 1 and

               2 and their association with Clinton on various social media sites. Through their

               spearphishing operations, LUKASHEV, YERMAKOV, and their co-conspirators

               successfully stole email credentials and thousands of emails from numerous

               individuals affiliated with the Clinton Campaign. Many of these stolen emails,

               including those from Victims 1 and 2, were later released by the Conspirators

               through DCLeaks.

        d.     On or about April 6, 2016, the Conspirators created an email account in the name

               (with a one-letter deviation from the actual spelling) of a known member of the

               Clinton Campaign. The Conspirators then used that account to send spearphishing

               emails to the work accounts of more than thirty different Clinton Campaign

               employees. In the spearphishing emails, LUKASHEV and his co-conspirators

               embedded a link purporting to direct the recipient to a document titled “hillary-

               clinton-favorable-rating.xlsx.” In fact, this link directed the recipients’ computers

               to a GRU-created website.

  22.   The Conspirators spearphished individuals affiliated with the Clinton Campaign

  throughout the summer of 2016. For example, on or about July 27, 2016, the Conspirators



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  attempted after hours to spearphish for the first time email accounts at a domain hosted by a third-

  party provider and used by Clinton’s personal office. At or around the same time, they also

  targeted seventy-six email addresses at the domain for the Clinton Campaign.

                                      Hacking into the DCCC Network

  23.     Beginning in or around March 2016, the Conspirators, in addition to their spearphishing

  efforts, researched the DCCC and DNC computer networks to identify technical specifications and

  vulnerabilities.

          a.         For example, beginning on or about March 15, 2016, YERMAKOV ran a technical

                     query for the DNC’s internet protocol configurations to identify connected devices.

          b.         On or about the same day, YERMAKOV searched for open-source information

                     about the DNC network, the Democratic Party, and Hillary Clinton.

          c.         On or about April 7, 2016, YERMAKOV ran a technical query for the DCCC’s

                     internet protocol configurations to identify connected devices.

  24.     By in or around April 2016, within days of YERMAKOV’s searches regarding the DCCC,

  the Conspirators hacked into the DCCC computer network. Once they gained access, they

  installed and managed different types of malware to explore the DCCC network and steal data.

          a.         On or about April 12, 2016, the Conspirators used the stolen credentials of a DCCC

                     Employee (“DCCC Employee 1”) to access the DCCC network.                    DCCC

                     Employee 1 had received a spearphishing email from the Conspirators on or about

                     April 6, 2016, and entered her password after clicking on the link.

          b.         Between in or around April 2016 and June 2016, the Conspirators installed multiple

                     versions of their X-Agent malware on at least ten DCCC computers, which allowed

                     them to monitor individual employees’ computer activity, steal passwords, and

                     maintain access to the DCCC network.

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         c.     X-Agent malware implanted on the DCCC network transmitted information from

                the victims’ computers to a GRU-leased server located in Arizona.              The

                Conspirators referred to this server as their “AMS” panel.           KOZACHEK,

                MALYSHEV, and their co-conspirators logged into the AMS panel to use

                X-Agent’s keylog and screenshot functions in the course of monitoring and

                surveilling activity on the DCCC computers. The keylog function allowed the

                Conspirators to capture keystrokes entered by DCCC employees. The screenshot

                function allowed the Conspirators to take pictures of the DCCC employees’

                computer screens.

         d.     For example, on or about April 14, 2016, the Conspirators repeatedly activated

                X-Agent’s keylog and screenshot functions to surveil DCCC Employee 1’s

                computer activity over the course of eight hours. During that time, the Conspirators

                captured DCCC Employee 1’s communications with co-workers and the passwords

                she entered while working on fundraising and voter outreach projects. Similarly,

                on or about April 22, 2016, the Conspirators activated X-Agent’s keylog and

                screenshot functions to capture the discussions of another DCCC Employee

                (“DCCC Employee 2”) about the DCCC’s finances, as well as her individual

                banking information and other personal topics.

  25.    On or about April 19, 2016, KOZACHEK, YERSHOV, and their co-conspirators remotely

  configured an overseas computer to relay communications between X-Agent malware and the

  AMS panel and then tested X-Agent’s ability to connect to this computer. The Conspirators

  referred to this computer as a “middle server.” The middle server acted as a proxy to obscure the

  connection between malware at the DCCC and the Conspirators’ AMS panel. On or about April



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  20, 2016, the Conspirators directed X-Agent malware on the DCCC computers to connect to this

  middle server and receive directions from the Conspirators.

                                  Hacking into the DNC Network

  26.    On or about April 18, 2016, the Conspirators hacked into the DNC’s computers through

  their access to the DCCC network. The Conspirators then installed and managed different types

  of malware (as they did in the DCCC network) to explore the DNC network and steal documents.

         a.     On or about April 18, 2016, the Conspirators activated X-Agent’s keylog and

                screenshot functions to steal credentials of a DCCC employee who was authorized

                to access the DNC network. The Conspirators hacked into the DNC network from

                the DCCC network using stolen credentials. By in or around June 2016, they

                gained access to approximately thirty-three DNC computers.

         b.     In or around April 2016, the Conspirators installed X-Agent malware on the DNC

                network, including the same versions installed on the DCCC network.

                MALYSHEV and his co-conspirators monitored the X-Agent malware from the

                AMS panel and captured data from the victim computers. The AMS panel collected

                thousands of keylog and screenshot results from the DCCC and DNC computers,

                such as a screenshot and keystroke capture of DCCC Employee 2 viewing the

                DCCC’s online banking information.

                               Theft of DCCC and DNC Documents

  27.    The Conspirators searched for and identified computers within the DCCC and DNC

  networks that stored information related to the 2016 U.S. presidential election. For example, on

  or about April 15, 2016, the Conspirators searched one hacked DCCC computer for terms that

  included “hillary,” “cruz,” and “trump.” The Conspirators also copied select DCCC folders,

  including “Benghazi Investigations.” The Conspirators targeted computers containing information

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  such as opposition research and field operation plans for the 2016 elections.

  28.    To enable them to steal a large number of documents at once without detection, the

  Conspirators used a publicly available tool to gather and compress multiple documents on the

  DCCC and DNC networks.            The Conspirators then used other GRU malware, known as

  “X-Tunnel,” to move the stolen documents outside the DCCC and DNC networks through

  encrypted channels.

         a.      For example, on or about April 22, 2016, the Conspirators compressed gigabytes

                 of data from DNC computers, including opposition research. The Conspirators

                 later moved the compressed DNC data using X-Tunnel to a GRU-leased computer

                 located in Illinois.

         b.      On or about April 28, 2016, the Conspirators connected to and tested the same

                 computer located in Illinois. Later that day, the Conspirators used X-Tunnel to

                 connect to that computer to steal additional documents from the DCCC network.

  29.    Between on or about May 25, 2016 and June 1, 2016, the Conspirators hacked the DNC

  Microsoft Exchange Server and stole thousands of emails from the work accounts of DNC

  employees.    During that time, YERMAKOV researched PowerShell commands related to

  accessing and managing the Microsoft Exchange Server.

  30.    On or about May 30, 2016, MALYSHEV accessed the AMS panel in order to upgrade

  custom AMS software on the server.          That day, the AMS panel received updates from

  approximately thirteen different X-Agent malware implants on DCCC and DNC computers.

  31.    During the hacking of the DCCC and DNC networks, the Conspirators covered their tracks

  by intentionally deleting logs and computer files. For example, on or about May 13, 2016, the

  Conspirators cleared the event logs from a DNC computer. On or about June 20, 2016, the



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  Conspirators deleted logs from the AMS panel that documented their activities on the panel,

  including the login history.

                         Efforts to Remain on the DCCC and DNC Networks

  32.    Despite the Conspirators’ efforts to hide their activity, beginning in or around May 2016,

  both the DCCC and DNC became aware that they had been hacked and hired a security company

  (“Company 1”) to identify the extent of the intrusions. By in or around June 2016, Company 1

  took steps to exclude intruders from the networks. Despite these efforts, a Linux-based version of

  X-Agent, programmed to communicate with the GRU-registered domain linuxkrnl.net, remained

  on the DNC network until in or around October 2016.

  33.    In response to Company 1’s efforts, the Conspirators took countermeasures to maintain

  access to the DCCC and DNC networks.

         a.      On or about May 31, 2016, YERMAKOV searched for open-source information

                 about Company 1 and its reporting on X-Agent and X-Tunnel. On or about June

                 1, 2016, the Conspirators attempted to delete traces of their presence on the DCCC

                 network using the computer program CCleaner.

         b.      On or about June 14, 2016, the Conspirators registered the domain actblues.com,

                 which mimicked the domain of a political fundraising platform that included a

                 DCCC donations page. Shortly thereafter, the Conspirators used stolen DCCC

                 credentials to modify the DCCC website and redirect visitors to the actblues.com

                 domain.

         c.      On or about June 20, 2016, after Company 1 had disabled X-Agent on the DCCC

                 network, the Conspirators spent over seven hours unsuccessfully trying to connect

                 to X-Agent. The Conspirators also tried to access the DCCC network using

                 previously stolen credentials.

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  34.    In or around September 2016, the Conspirators also successfully gained access to DNC

  computers hosted on a third-party cloud-computing service. These computers contained test

  applications related to the DNC’s analytics. After conducting reconnaissance, the Conspirators

  gathered data by creating backups, or “snapshots,” of the DNC’s cloud-based systems using the

  cloud provider’s own technology. The Conspirators then moved the snapshots to cloud-based

  accounts they had registered with the same service, thereby stealing the data from the DNC.

                            Stolen Documents Released through DCLeaks

  35.    More than a month before the release of any documents, the Conspirators constructed the

  online persona DCLeaks to release and publicize stolen election-related documents. On or about

  April 19, 2016, after attempting to register the domain electionleaks.com, the Conspirators

  registered the domain dcleaks.com through a service that anonymized the registrant. The funds

  used to pay for the dcleaks.com domain originated from an account at an online cryptocurrency

  service that the Conspirators also used to fund the lease of a virtual private server registered with

  the operational email account dirbinsaabol@mail.com. The dirbinsaabol email account was also

  used to register the john356gh URL-shortening account used by LUKASHEV to spearphish the

  Clinton Campaign chairman and other campaign-related individuals.

  36.    On or about June 8, 2016, the Conspirators launched the public website dcleaks.com, which

  they used to release stolen emails. Before it shut down in or around March 2017, the site received

  over one million page views. The Conspirators falsely claimed on the site that DCLeaks was

  started by a group of “American hacktivists,” when in fact it was started by the Conspirators.

  37.    Starting in or around June 2016 and continuing through the 2016 U.S. presidential election,

  the Conspirators used DCLeaks to release emails stolen from individuals affiliated with the Clinton

  Campaign. The Conspirators also released documents they had stolen in other spearphishing

  operations, including those they had conducted in 2015 that collected emails from individuals

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  affiliated with the Republican Party.

  38.    On or about June 8, 2016, and at approximately the same time that the dcleaks.com website

  was launched, the Conspirators created a DCLeaks Facebook page using a preexisting social media

  account under the fictitious name “Alice Donovan.” In addition to the DCLeaks Facebook page,

  the Conspirators used other social media accounts in the names of fictitious U.S. persons such as

  “Jason Scott” and “Richard Gingrey” to promote the DCLeaks website. The Conspirators accessed

  these accounts from computers managed by POTEMKIN and his co-conspirators.

  39.    On or about June 8, 2016, the Conspirators created the Twitter account @dcleaks_. The

  Conspirators operated the @dcleaks_ Twitter account from the same computer used for other

  efforts to interfere with the 2016 U.S. presidential election. For example, the Conspirators used

  the same computer to operate the Twitter account @BaltimoreIsWhr, through which they

  encouraged U.S. audiences to “[j]oin our flash mob” opposing Clinton and to post images with the

  hashtag #BlacksAgainstHillary.

                          Stolen Documents Released through Guccifer 2.0

  40.    On or about June 14, 2016, the DNC—through Company 1—publicly announced that it

  had been hacked by Russian government actors. In response, the Conspirators created the online

  persona Guccifer 2.0 and falsely claimed to be a lone Romanian hacker to undermine the

  allegations of Russian responsibility for the intrusion.

  41.    On or about June 15, 2016, the Conspirators logged into a Moscow-based server used and

  managed by Unit 74455 and, between 4:19 PM and 4:56 PM Moscow Standard Time, searched

  for certain words and phrases, including:




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                                            Search Term(s)

                                       “some hundred sheets”
                                     “some hundreds of sheets”
                                                  dcleaks
                                               illuminati
                                    ɲɢɪɨɤɨ ɢɡɜɟɫɬɧɵɣ ɩɟɪɟɜɨɞ
                                     [widely known translation]
                                         “worldwide known”
                                         “think twice about”
                                      “company’s competence”

  42.    Later that day, at 7:02 PM Moscow Standard Time, the online persona Guccifer 2.0

  published its first post on a blog site created through WordPress. Titled “DNC’s servers hacked

  by a lone hacker,” the post used numerous English words and phrases that the Conspirators had

  searched for earlier that day (bolded below):

              Worldwide known cyber security company [Company 1] announced that
              the Democratic National Committee (DNC) servers had been hacked by
              “sophisticated” hacker groups.
              I’m very pleased the company appreciated my skills so highly))) [. . .]
              Here are just a few docs from many thousands I extracted when hacking
              into DNC’s network. [. . .]
              Some hundred sheets! This’s a serious case, isn’t it? [. . .]
              I guess [Company 1] customers should think twice about company’s
              competence.
              F[***] the Illuminati          and     their   conspiracies!!!!!!!!!   F[***]
              [Company 1]!!!!!!!!!

  43.    Between in or around June 2016 and October 2016, the Conspirators used Guccifer 2.0 to

  release documents through WordPress that they had stolen from the DCCC and DNC. The

  Conspirators, posing as Guccifer 2.0, also shared stolen documents with certain individuals.

         a.      On or about August 15, 2016, the Conspirators, posing as Guccifer 2.0, received a


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                 request for stolen documents from a candidate for the U.S. Congress.            The

                 Conspirators responded using the Guccifer 2.0 persona and sent the candidate

                 stolen documents related to the candidate’s opponent.

         b.      On or about August 22, 2016, the Conspirators, posing as Guccifer 2.0, transferred

                 approximately 2.5 gigabytes of data stolen from the DCCC to a then-registered state

                 lobbyist and online source of political news. The stolen data included donor records

                 and personal identifying information for more than 2,000 Democratic donors.

         c.      On or about August 22, 2016, the Conspirators, posing as Guccifer 2.0, sent a

                 reporter stolen documents pertaining to the Black Lives Matter movement. The

                 reporter responded by discussing when to release the documents and offering to

                 write an article about their release.

  44.     The Conspirators, posing as Guccifer 2.0, also communicated with U.S. persons about the

  release of stolen documents. On or about August 15, 2016, the Conspirators, posing as Guccifer

  2.0, wrote to a person who was in regular contact with senior members of the presidential campaign

  of Donald J. Trump, “thank u for writing back . . . do u find anyt[h]ing interesting in the docs i

  posted?” On or about August 17, 2016, the Conspirators added, “please tell me if i can help u

  anyhow . . . it would be a great pleasure to me.” On or about September 9, 2016, the Conspirators,

  again posing as Guccifer 2.0, referred to a stolen DCCC document posted online and asked the

  person, “what do u think of the info on the turnout model for the democrats entire presidential

  campaign.” The person responded, “[p]retty standard.”

  45.    The Conspirators conducted operations as Guccifer 2.0 and DCLeaks using overlapping

  computer infrastructure and financing.

         a.      For example, between on or about March 14, 2016 and April 28, 2016, the



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                 Conspirators used the same pool of bitcoin funds to purchase a virtual private

                 network (“VPN”) account and to lease a server in Malaysia. In or around June

                 2016, the Conspirators used the Malaysian server to host the dcleaks.com website.

                 On or about July 6, 2016, the Conspirators used the VPN to log into the

                 @Guccifer_2 Twitter account. The Conspirators opened that VPN account from

                 the same server that was also used to register malicious domains for the hacking of

                 the DCCC and DNC networks.

         b.      On or about June 27, 2016, the Conspirators, posing as Guccifer 2.0, contacted a

                 U.S. reporter with an offer to provide stolen emails from “Hillary Clinton’s staff.”

                 The Conspirators then sent the reporter the password to access a nonpublic,

                 password-protected portion of dcleaks.com containing emails stolen from Victim 1

                 by LUKASHEV, YERMAKOV, and their co-conspirators in or around March

                 2016.

  46.    On or about January 12, 2017, the Conspirators published a statement on the Guccifer 2.0

  WordPress blog, falsely claiming that the intrusions and release of stolen documents had “totally

  no relation to the Russian government.”

                                        Use of Organization 1

  47.    In order to expand their interference in the 2016 U.S. presidential election, the Conspirators

  transferred many of the documents they stole from the DNC and the chairman of the Clinton

  Campaign to Organization 1. The Conspirators, posing as Guccifer 2.0, discussed the release of

  the stolen documents and the timing of those releases with Organization 1 to heighten their impact

  on the 2016 U.S. presidential election.

         a.      On or about June 22, 2016, Organization 1 sent a private message to Guccifer 2.0

                 to “[s]end any new material [stolen from the DNC] here for us to review and it will

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                have a much higher impact than what you are doing.” On or about July 6, 2016,

                Organization 1 added, “if you have anything hillary related we want it in the next

                tweo [sic] days prefable [sic] because the DNC [Democratic National Convention]

                is approaching and she will solidify bernie supporters behind her after.” The

                Conspirators responded, “ok . . . i see.” Organization 1 explained, “we think trump

                has only a 25% chance of winning against hillary . . . so conflict between bernie

                and hillary is interesting.”

         b.     After failed attempts to transfer the stolen documents starting in late June 2016, on

                or about July 14, 2016, the Conspirators, posing as Guccifer 2.0, sent

                Organization 1 an email with an attachment titled “wk dnc link1.txt.gpg.” The

                Conspirators explained to Organization 1 that the encrypted file contained

                instructions on how to access an online archive of stolen DNC documents. On or

                about July 18, 2016, Organization 1 confirmed it had “the 1Gb or so archive” and

                would make a release of the stolen documents “this week.”

  48.    On or about July 22, 2016, Organization 1 released over 20,000 emails and other

  documents stolen from the DNC network by the Conspirators.                This release occurred

  approximately three days before the start of the Democratic National Convention. Organization 1

  did not disclose Guccifer 2.0’s role in providing them. The latest-in-time email released through

  Organization 1 was dated on or about May 25, 2016, approximately the same day the Conspirators

  hacked the DNC Microsoft Exchange Server.

  49.    On or about October 7, 2016, Organization 1 released the first set of emails from the

  chairman of the Clinton Campaign that had been stolen by LUKASHEV and his co-conspirators.

  Between on or about October 7, 2016 and November 7, 2016, Organization 1 released



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  approximately thirty-three tranches of documents that had been stolen from the chairman of the

  Clinton Campaign. In total, over 50,000 stolen documents were released.

                                        Statutory Allegations

  50.     Paragraphs 1 through 49 of this Indictment are re-alleged and incorporated by reference as

  if fully set forth herein.

  51.     From at least in or around March 2016 through November 2016, in the District of Columbia

  and elsewhere, Defendants NETYKSHO, ANTONOV, BADIN, YERMAKOV, LUKASHEV,

  MORGACHEV, KOZACHEK, YERSHOV, MALYSHEV, OSADCHUK, and POTEMKIN,

  together with others known and unknown to the Grand Jury, knowingly and intentionally conspired

  to commit offenses against the United States, namely:

          a.      To knowingly access a computer without authorization and exceed authorized

                  access to a computer, and to obtain thereby information from a protected computer,

                  where the value of the information obtained exceeded $5,000, in violation of Title

                  18, United States Code, Sections 1030(a)(2)(C) and 1030(c)(2)(B); and

          b.      To knowingly cause the transmission of a program, information, code, and

                  command, and as a result of such conduct, to intentionally cause damage without

                  authorization to a protected computer, and where the offense did cause and, if

                  completed, would have caused, loss aggregating $5,000 in value to at least one

                  person during a one-year period from a related course of conduct affecting a

                  protected computer, and damage affecting at least ten protected computers during

                  a one-year period, in violation of Title 18, United States Code, Sections

                  1030(a)(5)(A) and 1030(c)(4)(B).

  52.     In furtherance of the Conspiracy and to effect its illegal objects, the Conspirators

  committed the overt acts set forth in paragraphs 1 through 19, 21 through 49, 55, and 57 through

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  64, which are re-alleged and incorporated by reference as if fully set forth herein.

  53.    In furtherance of the Conspiracy, and as set forth in paragraphs 1 through 19, 21 through

  49, 55, and 57 through 64, the Conspirators knowingly falsely registered a domain name and

  knowingly used that domain name in the course of committing an offense, namely, the

  Conspirators registered domains, including dcleaks.com and actblues.com, with false names and

  addresses, and used those domains in the course of committing the felony offense charged in Count

  One.

         All in violation of Title 18, United States Code, Sections 371 and 3559(g)(1).

                                 COUNTS TWO THROUGH NINE
                                   (Aggravated Identity Theft)

  54.    Paragraphs 1 through 19, 21 through 49, and 57 through 64 of this Indictment are re-alleged

  and incorporated by reference as if fully set forth herein.

  55.    On or about the dates specified below, in the District of Columbia and elsewhere,

  Defendants VIKTOR BORISOVICH NETYKSHO, BORIS ALEKSEYEVICH ANTONOV,

  DMITRIY SERGEYEVICH BADIN, IVAN SERGEYEVICH YERMAKOV, ALEKSEY

  VIKTOROVICH LUKASHEV, SERGEY ALEKSANDROVICH MORGACHEV, NIKOLAY

  YURYEVICH         KOZACHEK,         PAVEL      VYACHESLAVOVICH             YERSHOV,      ARTEM

  ANDREYEVICH MALYSHEV, ALEKSANDR VLADIMIROVICH OSADCHUK, and

  ALEKSEY ALEKSANDROVICH POTEMKIN did knowingly transfer, possess, and use, without

  lawful authority, a means of identification of another person during and in relation to a felony

  violation enumerated in Title 18, United States Code, Section 1028A(c), namely, computer fraud

  in violation of Title 18, United States Code, Sections 1030(a)(2)(C) and 1030(c)(2)(B), knowing

  that the means of identification belonged to another real person:




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         Count Approximate Date               Victim             Means of Identification

                                                                Username and password for
            2       March 21, 2016           Victim 3
                                                                  personal email account
                                                                Username and password for
            3       March 25, 2016           Victim 1
                                                                  personal email account
                                                                Username and password for
            4        April 12, 2016          Victim 4
                                                                 DCCC computer network
                                                                Username and password for
            5        April 15, 2016          Victim 5
                                                                 DCCC computer network
                                                                Username and password for
            6        April 18, 2016          Victim 6
                                                                 DCCC computer network
                                                                Username and password for
            7         May 10, 2016           Victim 7
                                                                 DNC computer network
                                                                Username and password for
            8         June 2, 2016           Victim 2
                                                                  personal email account
                                                                Username and password for
            9         July 6, 2016           Victim 8
                                                                  personal email account

          All in violation of Title 18, United States Code, Sections 1028A(a)(1) and 2.

                                             COUNT TEN
                                     (Conspiracy to Launder Money)

  56.    Paragraphs 1 through 19, 21 through 49, and 55 are re-alleged and incorporated by reference

  as if fully set forth herein.

  57.    To facilitate the purchase of infrastructure used in their hacking activity—including hacking

  into the computers of U.S. persons and entities involved in the 2016 U.S. presidential election and

  releasing the stolen documents—the Defendants conspired to launder the equivalent of more than

  $95,000 through a web of transactions structured to capitalize on the perceived anonymity of

  cryptocurrencies such as bitcoin.

  58.    Although the Conspirators caused transactions to be conducted in a variety of currencies,

  including U.S. dollars, they principally used bitcoin when purchasing servers, registering domains,

  and otherwise making payments in furtherance of hacking activity. Many of these payments were



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  processed by companies located in the United States that provided payment processing services to

  hosting companies, domain registrars, and other vendors both international and domestic. The use

  of bitcoin allowed the Conspirators to avoid direct relationships with traditional financial

  institutions, allowing them to evade greater scrutiny of their identities and sources of funds.

  59.   All bitcoin transactions are added to a public ledger called the Blockchain, but the

  Blockchain identifies the parties to each transaction only by alpha-numeric identifiers known as

  bitcoin addresses. To further avoid creating a centralized paper trail of all of their purchases, the

  Conspirators purchased infrastructure using hundreds of different email accounts, in some cases

  using a new account for each purchase. The Conspirators used fictitious names and addresses in

  order to obscure their identities and their links to Russia and the Russian government. For

  example, the dcleaks.com domain was registered and paid for using the fictitious name “Carrie

  Feehan” and an address in New York. In some cases, as part of the payment process, the

  Conspirators provided vendors with nonsensical addresses such as “usa Denver AZ,” “gfhgh

  ghfhgfh fdgfdg WA,” and “1 2 dwd District of Columbia.”

  60.   The Conspirators used several dedicated email accounts to track basic bitcoin transaction

  information and to facilitate bitcoin payments to vendors. One of these dedicated accounts,

  registered with the username “gfadel47,” received hundreds of bitcoin payment requests from

  approximately 100 different email accounts. For example, on or about February 1, 2016, the

  gfadel47 account received the instruction to “[p]lease send exactly 0.026043 bitcoin to” a certain

  thirty-four character bitcoin address. Shortly thereafter, a transaction matching those exact

  instructions was added to the Blockchain.

  61.   On occasion, the Conspirators facilitated bitcoin payments using the same computers that

  they used to conduct their hacking activity, including to create and send test spearphishing emails.



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  Additionally, one of these dedicated accounts was used by the Conspirators in or around 2015 to

  renew the registration of a domain (linuxkrnl.net) encoded in certain X-Agent malware installed

  on the DNC network.

  62.    The Conspirators funded the purchase of computer infrastructure for their hacking activity

  in part by “mining” bitcoin. Individuals and entities can mine bitcoin by allowing their computing

  power to be used to verify and record payments on the bitcoin public ledger, a service for which

  they are rewarded with freshly-minted bitcoin. The pool of bitcoin generated from the GRU’s

  mining activity was used, for example, to pay a Romanian company to register the domain

  dcleaks.com through a payment processing company located in the United States.

  63.    In addition to mining bitcoin, the Conspirators acquired bitcoin through a variety of means

  designed to obscure the origin of the funds. This included purchasing bitcoin through peer-to-peer

  exchanges, moving funds through other digital currencies, and using pre-paid cards. They also

  enlisted the assistance of one or more third-party exchangers who facilitated layered transactions

  through digital currency exchange platforms providing heightened anonymity.

  64.    The Conspirators used the same funding structure—and in some cases, the very same pool

  of funds—to purchase key accounts, servers, and domains used in their election-related hacking

  activity.

          a.     The bitcoin mining operation that funded the registration payment for dcleaks.com

                 also sent newly-minted bitcoin to a bitcoin address controlled by “Daniel Farell,”

                 the persona that was used to renew the domain linuxkrnl.net. The bitcoin mining

                 operation also funded, through the same bitcoin address, the purchase of servers

                 and domains used in the GRU’s spearphishing operations, including accounts-

                 qooqle.com and account-gooogle.com.



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         b.        On or about March 14, 2016, using funds in a bitcoin address, the Conspirators

                   purchased a VPN account, which they later used to log into the @Guccifer_2

                   Twitter account. The remaining funds from that bitcoin address were then used on

                   or about April 28, 2016, to lease a Malaysian server that hosted the dcleaks.com

                   website.

         c.        The Conspirators used a different set of fictitious names (including “Ward

                   DeClaur” and “Mike Long”) to send bitcoin to a U.S. company in order to lease a

                   server used to administer X-Tunnel malware implanted on the DCCC and DNC

                   networks, and to lease two servers used to hack the DNC’s cloud network.

                                        Statutory Allegations

  65.   From at least in or around 2015 through 2016, within the District of Columbia and

  elsewhere, Defendants VIKTOR BORISOVICH NETYKSHO, BORIS ALEKSEYEVICH

  ANTONOV, DMITRIY SERGEYEVICH BADIN, IVAN SERGEYEVICH YERMAKOV,

  ALEKSEY VIKTOROVICH LUKASHEV, SERGEY ALEKSANDROVICH MORGACHEV,

  NIKOLAY YURYEVICH KOZACHEK, PAVEL VYACHESLAVOVICH YERSHOV, ARTEM

  ANDREYEVICH MALYSHEV, ALEKSANDR VLADIMIROVICH OSADCHUK, and

  ALEKSEY ALEKSANDROVICH POTEMKIN, together with others, known and unknown to the

  Grand Jury, did knowingly and intentionally conspire to transport, transmit, and transfer monetary

  instruments and funds to a place in the United States from and through a place outside the United

  States and from a place in the United States to and through a place outside the United States, with

  the intent to promote the carrying on of specified unlawful activity, namely, a violation of Title

  18, United States Code, Section 1030, contrary to Title 18, United States Code, Section

  1956(a)(2)(A).

        All in violation of Title 18, United States Code, Section 1956(h).

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                                      COUNT ELEVEN
                   (Conspiracy to Commit an Offense Against the United States)

  66.     Paragraphs 1 through 8 of this Indictment are re-alleged and incorporated by reference as

  if fully set forth herein.

                                              Defendants

  67.     Paragraph 18 of this Indictment relating to ALEKSANDR VLADIMIROVICH

  OSADCHUK is re-alleged and incorporated by reference as if fully set forth herein.

  68.     Defendant ANATOLIY SERGEYEVICH KOVALEV Ʉɨɜɚɥɟɜ Ⱥɧɚɬɨɥɢɣ ɋɟɪɝɟɟɜɢɱ

  was an officer in the Russian military assigned to Unit 74455 who worked in the GRU’s 22 Kirova

  Street building (the Tower).

  69.     Defendants OSADCHUK and KOVALEV were GRU officers who knowingly and

  intentionally conspired with each other and with persons, known and unknown to the Grand Jury,

  to hack into the computers of U.S. persons and entities responsible for the administration of 2016

  U.S. elections, such as state boards of elections, secretaries of state, and U.S. companies that

  supplied software and other technology related to the administration of U.S. elections.

                                      Object of the Conspiracy

  70.     The object of the conspiracy was to hack into protected computers of persons and entities

  charged with the administration of the 2016 U.S. elections in order to access those computers and

  steal voter data and other information stored on those computers.

                                 Manner and Means of the Conspiracy

  71.     In or around June 2016, KOVALEV and his co-conspirators researched domains used by

  U.S. state boards of elections, secretaries of state, and other election-related entities for website

  vulnerabilities. KOVALEV and his co-conspirators also searched for state political party email

  addresses, including filtered queries for email addresses listed on state Republican Party websites.



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  72.     In or around July 2016, KOVALEV and his co-conspirators hacked the website of a state

  board of elections (“SBOE 1”) and stole information related to approximately 500,000 voters,

  including names, addresses, partial social security numbers, dates of birth, and driver’s license

  numbers.

  73.     In or around August 2016, KOVALEV and his co-conspirators hacked into the computers

  of a U.S. vendor (“Vendor 1”) that supplied software used to verify voter registration information

  for the 2016 U.S. elections.         KOVALEV and his co-conspirators used some of the same

  infrastructure to hack into Vendor 1 that they had used to hack into SBOE 1.

  74.     In or around August 2016, the Federal Bureau of Investigation issued an alert about the

  hacking of SBOE 1 and identified some of the infrastructure that was used to conduct the hacking.

  In response, KOVALEV deleted his search history. KOVALEV and his co-conspirators also

  deleted records from accounts used in their operations targeting state boards of elections and

  similar election-related entities.

  75.     In or around October 2016, KOVALEV and his co-conspirators further targeted state and

  county offices responsible for administering the 2016 U.S. elections. For example, on or about

  October 28, 2016, KOVALEV and his co-conspirators visited the websites of certain counties in

  Georgia, Iowa, and Florida to identify vulnerabilities.

  76.     In or around November 2016 and prior to the 2016 U.S. presidential election, KOVALEV

  and his co-conspirators used an email account designed to look like a Vendor 1 email address to

  send over 100 spearphishing emails to organizations and personnel involved in administering

  elections in numerous Florida counties. The spearphishing emails contained malware that the

  Conspirators embedded into Word documents bearing Vendor 1’s logo.

                                          Statutory Allegations

  77.     Between in or around June 2016 and November 2016, in the District of Columbia and

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  elsewhere, Defendants OSADCHUK and KOVALEV, together with others known and unknown

  to the Grand Jury, knowingly and intentionally conspired to commit offenses against the United

  States, namely:

            a.     To knowingly access a computer without authorization and exceed authorized

                   access to a computer, and to obtain thereby information from a protected computer,

                   where the value of the information obtained exceeded $5,000, in violation of Title

                   18, United States Code, Sections 1030(a)(2)(C) and 1030(c)(2)(B); and

            b.     To knowingly cause the transmission of a program, information, code, and

                   command, and as a result of such conduct, to intentionally cause damage without

                   authorization to a protected computer, and where the offense did cause and, if

                   completed, would have caused, loss aggregating $5,000 in value to at least one

                   person during a one-year period from a related course of conduct affecting a

                   protected computer, and damage affecting at least ten protected computers during

                   a one-year period, in violation of Title 18, United States Code, Sections

                   1030(a)(5)(A) and 1030(c)(4)(B).

  78.       In furtherance of the Conspiracy and to effect its illegal objects, OSADCHUK,

  KOVALEV, and their co-conspirators committed the overt acts set forth in paragraphs 67 through

  69 and 71 through 76, which are re-alleged and incorporated by reference as if fully set forth

  herein.

            All in violation of Title 18, United States Code, Section 371.

                                    FORFEITURE ALLEGATION

  79.   Pursuant to Federal Rule of Criminal Procedure 32.2, notice is hereby given to Defendants

  that the United States will seek forfeiture as part of any sentence in the event of Defendants’

  convictions under Counts One, Ten, and Eleven of this Indictment. Pursuant to Title 18, United

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  States Code, Sections 982(a)(2) and 1030(i), upon conviction of the offenses charged in Counts

  One and Eleven, Defendants NETYKSHO, ANTONOV, BADIN, YERMAKOV, LUKASHEV,

  MORGACHEV, KOZACHEK, YERSHOV, MALYSHEV, OSADCHUK, POTEMKIN, and

  KOVALEV shall forfeit to the United States any property, real or personal, which constitutes or

  is derived from proceeds obtained directly or indirectly as a result of such violation, and any

  personal property that was used or intended to be used to commit or to facilitate the commission

  of such offense. Pursuant to Title 18, United States Code, Section 982(a)(1), upon conviction of

  the offense charged in Count Ten, Defendants NETYKSHO, ANTONOV, BADIN,

  YERMAKOV, LUKASHEV, MORGACHEV, KOZACHEK, YERSHOV, MALYSHEV,

  OSADCHUK, and POTEMKIN shall forfeit to the United States any property, real or personal,

  involved in such offense, and any property traceable to such property. Notice is further given that,

  upon conviction, the United States intends to seek a judgment against each Defendant for a sum

  of money representing the property described in this paragraph, as applicable to each Defendant

  (to be offset by the forfeiture of any specific property).

                                           Substitute Assets

  80.   If any of the property described above as being subject to forfeiture, as a result of any act or

  omission of any Defendant --

                 a.      cannot be located upon the exercise of due diligence;

                 b.      has been transferred or sold to, or deposited with, a third party;

                 c.      has been placed beyond the jurisdiction of the court;

                 d.      has been substantially diminished in value; or

                 e.      has been commingled with other property that cannot be subdivided without

                         difficulty;

  it is the intent of the United States of America, pursuant to Title 18, United States Code, Section

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                                UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF NORTH CAROLINA
                                     CHARLOTTE DIVISION


   UNITED STATES OF AMERICA
                                                            DOCKET NO. 3:15 CR           47
                v.
                                                            FACTUAL BASIS
   DAVID HOWELL PETRAEUS                           )


             NOW COMES the United States of America, by and through Anne M. Tompkins, United

   States Attorney for the Western District of North Carolina, James P. Melendres, Trial Attorney,

   Jill Westmoreland Rose, Assistant United States Attorney, and Richard S. Scott, Trial Attorney,

   and hereby files this Factual Basis in support of the Plea Agreement filed simultaneously in this

   matter.

             This Factual Basis does not attempt to set forth all of the facts known to the United States

   at this time. By their signatures below, the parties expressly agree that there is a factual basis for

   the guilty plea that the defendant will tender pursuant to the Plea Agreement. The parties also

   agree that this Factual Basis may, but need not, be used by the United States Probation Office

   and the Court in determining the applicable advisory guideline range under the United States

   Sentencing Guidelines or the appropriate sentence under 18 U.S.C. § 3553(a). The defendant

   agrees not to object to any fact set forth below being used by the Court or the United States

   Probation Office to determine the applicable advisory guideline range or the appropriate sentence

   under 18 U.S.C. § 3553(a). The parties' agreement does not preclude either party from hereafter

   presenting the Court with additional facts which do not contradict facts to which the parties have

   agreed not to object and which are relevant to the Court's guideline computations, to 18 U.S.C. §

   3553 factors, or to the Court's overall sentencing decision.




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          The parties stipulate that the allegations in the Bill of Information and the following facts

   are true and correct, and that had the matter gone to trial, the United States would have proven

   them beyond a reasonable doubt with admissible and credible evidence.              Specifically, the

   evidence would establish, at a minimum, the following facts;



          At all relevant times,

                                             The Defendant

           1.     Defendant DAVID HOWELL PETRAEUS, a citizen of the United States and

   resident of Arlington, Virginia, was a United States Army four-star general when he retired from

   the Army on or about August 31, 2011. From on or about July 4, 2010, to on or about July 18,

   2011, defendant DAVID HOWELL PETRAEUS served as Commander of the International

   Security Assistance Force ("ISAF") in Afghanistan. From on or about September 6, 2011, to on

   or about November 9, 2012, defendant DAVID HOWELL PETRAEUS served as Director of the

   Central Intelligence Agency ("CIA").

                                        Classified Information

          2.      Those persons with security clearances granting them access to classified

   information were required to properly store and secure classified information, by Title 18, United

   States Code, Sections 793 and 1924, and applicable rules, regulations, and orders.

          3.      Classified information was defined by Executive Order 13526 ("E.O. 13526") and

   relevant preceding Executive Orders, as information in any form that: (1) is owned by, produced

   by or for, or under the control of the United States government; (2) falls within one or more of

   the categories set forth in E.O. 13526; and (3) is classified by an original classification authority


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   who determines that its unauthorized disclosure reasonably could be expected to result in

   damage to the national security.      Where such unauthorized disclosure reasonably could be

   expected to cause "damage" to the national security, the information is classified as

   "Confidential." Where such unauthorized disclosure reasonably could be expected to cause

   "serious damage" to the national security, the information is classified as "Secret." Where such

   unauthorized disclosure reasonably could be expected to cause "exceptionally grave damage" to

   the national security, the information is classified as "Top Secret."

          4.      E.O. 13526 also provides that certain senior U.S. officials are authorized to

   establish "special access programs" upon a finding that "the vulnerability of, or threat to, specific

   information is exceptional" and "the normal criteria for determining eligibility for access

   applicable to information classified at the same level are not deemed sufficient to protect the

   information from unauthorized disclosure."        Within the U.S. Intelligence Community, the

   Director of National Intelligence is authorized to establish special access programs for

   intelligence sources, methods, and activities. Such intelligence programs are called "Sensitive

   Compartmented Information Programs" or SCI Programs. A term commonly used to describe

   certain materials in such programs is "code word."

          5.      Pursuant to E.O. 13526, a person may gain access to classified information only i f

   a favorable determination of eligibility for access has been made by an agency head or an agency

   head's designee, the person has signed an approved nondisclosure agreement, and the person has

   a "need-to-know" the information.




                                                    3




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           6.     "Need-to-know" means a determination by an authorized holder of classified

   information that a prospective recipient requires access to specific classified information in order

   to perform or assist in a lawful and authorized government function.

          7.      The classified information being accessed may not be removed from the

   controlling agency's premises without permission. Moreover, even when SCI is maintained on

   the controlling agency's premises, it must be stored in a Sensitive Compartmented Information

   Facility ("SCIF"), which is an accredited area, room, group of rooms, building, or installation

   designed to prevent as well as detect visual, acoustical, technical, and physical access by

   unauthorized persons.

                                      The Department of Defense

          8.      The Department of Defense ("DOD") was a United States government military

   agency. The DOD's headquarters were at Arlington, Virginia. The DOD was responsible for

   providing the military forces needed to deter war and protect the security of the United States.

   Moreover, through its subordinate national intelligence services, including the Defense

   Intelligence Agency, the National Security Agency, the National Geospatial-Intelligence

   Agency, and the National Reconnaissance Office, the DOD was responsible for, among other

   things, collecting information that revealed the military plans, intentions, and capabilities of the

   United States' adversaries and the bases for their decisions and actions, as well as conducting

   clandestine actions, at the direction of the President and his authorized designee, designed to

   preempt threats and achieve the United States' policy objectives.

          9.      The responsibilities of certain DOD employees required that their association with

   the DOD be kept secret; as a result, the fact that these individuals were employed by the DOD


                                                    4




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   was classified.    The responsibilities of other DOD employees required that, while their

   employment by the DOD was itself not secret, their association with certain DOD programs and

   their particular activities on behalf of the DOD were kept secret; accordingly, such information

   was classified.   Disclosure of the fact that such individuals were employed by the DOD,

   associated with certain DOD programs, or engaged in particular activities on behalf of the DOD,

   had the potential to damage national security in ways that ranged from preventing the future use

   of individuals in a covert or clandestine capacity, to compromising clandestine actions and

   intelligence-gathering methods and operations, to endangering the safety of DOD employees and

   those who interacted with them.

                                   The Central Intelligence Agency

          10.     The CIA was a United States government intelligence agency.            The CIA's

   headquarters were at Langley, Virginia. The CIA was responsible for, among other things,

   collecting information that revealed the plans, intentions, and capabilities of the United States'

   adversaries and the bases for their decisions and actions, as well as conducting clandestine

   actions, at the direction of the President and his authorized designees, designed to preempt

   threats and achieve the United States' policy objectives.

          11.     The responsibilities of certain CIA employees required that their association with

   the CIA be kept secret; as a result, the fact that these individuals were employed by the CIA was

   classified. The responsibilities of other CIA employees required that, while their employment by

   the CIA was itself not necessarily secret, their association with certain CIA programs and their

   particular activities on behalf of the CIA be kept secret; accordingly, such information was

   classified. Disclosure of the fact that such individuals were employed by the CIA, associated


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   with certain CIA programs, or engaged in particular activities on behalf of the CIA, had the

   potential to damage national security in ways that ranged from preventing the future use of

   individuals in a covert or clandestine capacity, to compromising clandestine actions and

   intelligence-gathering methods and operations, to endangering the safety of CIA employees and

   those who dealt with them.

                                          Criminal Conduct

          12.    Throughout his employment by the DOD, defendant DAVID HOWELL

   PETRAEUS entered into various agreements with the United States regarding the protection and

   proper handling of classified information. Examples of these agreements include:

                 a.      On March 15, 2006, as a condition of being granted access to certain SCI,

   DAVID HOWELL PETRAEUS entered into a Non-Disclosure Agreement ("NDA") with the

   DOD in which he agreed, in pertinent part, as follows:

          I have been advised that unauthorized disclosure, unauthorized retention, or
          negligent handling of SCI by me could cause irreparable injury to the United
          States or be used to advantage by a foreign nation. I hereby agree that I will never
          divulge anything marked as SCI or that I know to be SCI to anyone who is not
          authorized to receive it without prior written authorization from the United States
          Government department or agency . . . that last authorized my access to SCI.

          I hereby agree to submit for security review by the [agency] that last authorized
          my access to such information or material, any writing or other preparation in any
          form . . . that contains or purports to contain any SCI . . . that I contemplate
          disclosing to any person not authorized to have access to SCI. ..

          In addition, I have been advised that any unauthorized disclosure of SCI by me
          may constitute a violation or violations of United States criminal laws, including
          the provisions o f . . . Section[ ] 793 . . . [of] Title 18, United States Code . . .

          I agree that I shall return all materials that may have come into my possession or
          for which I am responsible because of such access, upon demand by an authorized
          representative of the United States Government or upon the conclusion of my
          employment or other relationship with the United States Government entity




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           providing me access to such materials. I f I do not return such materials upon
           request, I understand this may be a violation of Section 793, Title 18, United
           States Code . . .

   Defendant DAVID HOWELL PETRAEUS entered into at least 13 additional NDAs in the

   course of his DOD employment. In each instance, DAVID HOWELL PETRAEUS promised

   never to disclose SCI to anyone not authorized to receive it without prior written authorization

   from the United States government, and he acknowledged that unauthorized retention and/or

   disclosure of classified information could cause irreparable injury to the United States and be

   used to advantage by a foreign nation. The scope of these NDAs encompassed classified

   information referenced in this Statement of Facts.

                  b.      As a condition of being granted access to classified information, defendant

   DAVID HOWELL PETRAEUS entered into a Secrecy Agreement with the DOD, in which he

   agreed, in pertinent part, as follows:

          I accept the responsibilities associated with being granted access to classified
          national security information. I am aware of my obligation to protect classified
          national security information through proper safeguarding and limiting access to
          individuals with the proper security clearance and official need to know. I further
          understand that, in being granted access to classified information, a special
          confidence and trust has been placed in me by the United States Government.

   Defendant DAVID HOWELL PETRAEUS entered into at least 13 additional Secrecy

   Agreements in the course of his DOD employment.            In each instance, defendant DAVID

   HOWELL PETRAEUS agreed to protect classified national security information through proper

   safeguarding and limiting access to individuals with proper security clearance and official need-

   to-know.

           13.    On or about August 31, 2011, defendant DAVID HOWELL PETRAEUS retired

   from the DOD, after which time he retained his continuing lifelong obligation to the United

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   States to protect the classified information to which he had been granted access while employed

   by the DOD.

          14.     As a condition of his employment by the CIA, defendant DAVID HOWELL

   PETRAEUS entered into various agreements with the United States, including, for example, the

   following;

                  a.      On June 16, 2011, as a condition of being granted access to certain SCI,

   defendant DAVID HOWELL PETRAEUS entered into a NDA with the CIA which was

   materially identical to the March 2006 NDA he signed while employed by the DOD.

                  b.      On November 26, 2012, following his resignation from the CIA,

   defendant DAVID HOWELL PETRAEUS entered into a Secrecy Agreement with the CIA in

   which he agreed, in pertinent part, as follows:

          I understand that in the course of my employment . . . I may be given access to
          information or material that is classified or is in the process of a classification
          determination . . . that, i f disclosed in an unauthorized manner would jeopardize
          intelligence activities of the United States Government. I accept that by being
          granted access to such information or material I will be placed in a position of
          special confidence and trust and become obligated to protect the information
          and/or material from unauthorized disclosure.

          As a further condition of the special confidence and trust reposed in me by the
          Central Intelligence Agency, I hereby agree to submit for review by the Central
          Intelligence Agency any writing or other preparation in any form . . . which
          contains any mention of intelligence data or activities, or contains any other
          information or material that might be based on [classified information]...

          I understand that . . . the disclosure of information that I agreed herein not to
          disclose can, in some circumstances, constitute a criminal offense . . .

          15.     On or about November 9, 2012, defendant DAVID HOWELL PETRAEUS

   resigned from the CIA, after which time he retained his continuing lifelong obligation to the



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   United States to protect the classified information to which he had been granted access while

   employed by the CIA.

           16.    During his tenure at the DOD and the CIA, defendant DAVID HOWELL

   PETRAEUS held a United States government security clearance allowing him access to

   classified United States government information. As a result, defendant DAVID HOWELL

   PETRAEUS had regular access to classified and national defense information relating to DOD

   and CIA programs, operations, methods, sources, and personnel.

           17.    During his tenure as Commander of ISAF in Afghanistan, defendant DAVID

   HOWELL PETRAEUS maintained bound, five-by-eight-inch notebooks that contained his daily

   schedule and classified and unclassified notes he took during official meetings, conferences, and

   briefings. The notebooks had black covers and, for identification purposes, defendant DAVID

   HOWELL PETRAEUS taped his business card on the front exterior of each notebook. A total of

   eight such books (hereinafter the "Black Books") encompassed the period of defendant DAVID

   HOWELL PETRAEUS's ISAF Command and collectively contained classified information

   regarding the identities of covert officers, war strategy, intelligence capabilities and mechanisms,

   diplomatic discussions, quotes and deliberative discussions from high-level National Security

   Council meetings, and defendant DAVID HOWELL PETRAEUS's discussions with the

   President of the United States of America.

          18.     The Black Books contained national defense information, including Top

   Secret//SCI and code word information.

          19.     The National Defense University ("NDU") was an institution of higher education

   funded by the DOD, intended to facilitate high-level training and education, as well as the


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   development of national security strategy. It was located on the grounds of Fort Lesley McNair,

   in Washington, D.C. NDU was a repository for the DOD's classified collections.

          20.    From in or about July 2009 to in or about July 2012, defendant DAVID

   HOWELL PETRAEUS's DOD historian gathered and organized the classified materials that

   defendant DAVID HOWELL PETRAEUS collected during his DOD tenure. Defendant DAVID

   HOWELL PETRAEUS never provided the Black Books to his DOD historian.                     Instead,

   defendant DAVID HOWELL PETRAEUS personally retained the Black Books.

          21.    In or about September 2012, defendant DAVID HOWELL PETRAEUS's DOD

   historian transferred defendant DAVID HOWELL PETRAEUS's classified collection to NDU

   for storage and archiving.   Because defendant DAVID HOWELL PETRAEUS personally

   retained the Black Books, they were never transferred to NDU.

          22.    On or about August 4, 2011, after defendant DAVID HOWELL PETRAEUS

   returned permanently to the United States from Afghanistan, during a conversation, recorded by

   his biographer, defendant DAVID HOWELL PETRAEUS stated that the Black Books were

   "highly classified" and contained "code word" information:


          Biographer:           By the way, where are your black books? We never went
                                through,..

          PETRAEUS:             They're in a rucksack up there somewhere.

          Biographer:           Okay . . . You avoiding that? You gonna look through 'em
                                first?

          PETRAEUS:             Umm, well, they're really - I mean they are highly
                                classified, some of them. They don't have it on it, but I
                                mean there's code word stuff in there.



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          23.    On or about August 27, 2011, defendant DAVID HOWELL PETRAEUS sent an

   e-mail to his biographer in which he agreed to provide the Black Books to his biographer.

          24.    On or about August 28, 2011, defendant DAVID HOWELL PETRAEUS

   delivered the Black Books to a private residence in Washington, D.C. (the "DC Private

   Residence"), where his biographer was staying during a week-long trip to Washington, D.C. The

   DC Private Residence was not approved for the storage of classified information.

          25.    Thereafter, from on or about August 28, 2011, to on or about September 1, 2011,

   defendant DAVID HOWELL PETRAEUS left the Black Books at the DC Private Residence in

   order to facilitate his biographer's access to the Black Books and the information contained

   therein to be used as source material for his biography, titled All In: The Education of General

   David Petraeus, released by Penguin Press in 2012. No classified information from the Black

   Books appeared in the aforementioned biography.

          26.    On or about September 1, 2011, defendant DAVID HOWELL PETRAEUS

   retrieved the Black Books from the DC Private Residence and returned them to his own

   Arlington, Virginia home (the "PETRAEUS Residence").

          27.    On or about November 9, 2012, defendant DAVID HOWELL PETRAEUS

   resigned from the CIA. Approximately two weeks after his November 9, 2012 resignation,

   defendant DAVID HOWELL PETRAEUS was debriefed and read-out of the SCI compartments

   and Special Access Programs to which he previously had been granted access. Specifically, on

   or about November 26, 2012, defendant DAVID HOWELL PETRAEUS executed two SCI

   NDAs which contained debriefing acknowledgments, a Secrecy Agreement, and a Security Exit

   Form. The Security Exit Form included seven provisions regarding his continuing duty to


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   protect classified information from disclosure. Among other things, by signing the Security Exit

   Form, defendant DAVID HOWELL PETRAEUS adopted the following provision: " I give my

   assurance that there is no classified material in my possession, custody, or control at this time."

   At the time he provided this assurance, the Black Books were still in the PETRAEUS Residence.

          28.     On or about January 3, 2013, a SCIF, which had been installed at the

   PETRAEUS Residence by the CIA during defendant DAVID HOWELL PETRAEUS's tenure as

   CIA Director, was closed and de-accredited. The SCIF was subsequently removed on or about

   February 13, 2013.

          29.     On or about April 5, 2013, the FBI executed a court-authorized search warrant at

   the PETRAEUS Residence and seized the Black Books from an unlocked desk drawer in the

   first-floor study of the PETRAEUS Residence.

          30.     Between in or about August 2011, and on or about April 5, 2013, defendant

   DAVID HOWELL PETRAEUS, being an employee of the United States, and by virtue of his

   employment, became possessed of documents and materials containing classified information of

   the United States, and did unlawfully and knowingly remove such documents and materials

   without authority and thereafter intentionally retained such documents and materials at the DC

   Private Residence and the PETRAEUS Residence, aware that these locations were unauthorized

   for the storage and retention of such classified documents and materials.

          31.     On or about June 12, 2012, in two separate interviews conducted by special

   agents of the Federal Bureau of Investigation ("FBI") regarding investigations unrelated to the

   instant offense, defendant DAVID HOWELL PETRAEUS acknowledged that he understood that

   making false statements to the FBI in the course of a criminal investigation was a crime,


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   Specifically, on June 12, 2012, defendant DAVID HOWELL PETRAEUS was interviewed in

   his office at CIA Headquarters in Langley, Virginia, in connection with two media leak

   investigations. During both interviews, defendant DAVID HOWELL PETRAEUS affirmed in

   writing, " I understand that providing false statements to the Federal Bureau of Investigation is a

   violation of law."

          32.     On or about October 26, 2012, defendant DAVID HOWELL PETRAEUS was

   interviewed by two FBI special agents in his office at CIA Headquarters in Langley, Virginia.

   Defendant DAVID HOWELL PETRAEUS was advised that the special agents were conducting

   a criminal investigation. During that interview, the special agents questioned DAVID HOWELL

   PETRAEUS about the mishandling of classified information. In response to those questions,

   defendant DAVID HOWELL PETRAEUS stated that (a) he had never provided any classified

   information to his biographer, and (b) he had never facilitated the provision of classified

   information to his biographer. These statements were false. Defendant DAVID HOWELL

   PETRAEUS then and there knew that he previously shared the Black Books with his biographer.

          33.     The acts taken by defendant DAVID HOWELL PETRAEUS were in all respects

   knowing and deliberate, and were not committed by mistake, accident, or other innocent reason.

          34.     This Statement of Facts includes those facts necessary to support the Plea

   Agreement between the defendant and the government. It does not include each and every fact

   known to the defendant or to the government, and it is not intended to be a full enumeration of

   all the facts surrounding defendant DAVID HOWELL PETRAEUS's case.

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                                 United States Sentencing Guidelines

           35.      Further, in accordance with Fed. R. Crim. P. 11(c)(1)(B) of the Federal Rules of

   Criminal Procedure, the United States and the defendant will recommend to the Court that the

   following provisions of the United States Sentencing Guidelines apply:

           Base Offense Level:                           6            [U.S.S.G. § 2X5.2]

           Abuse of Position of Trust:                  +2            [U.S.S.G. § 3B1.3]

           Obstruction of Justice                       +2            [U.S.S.G. § 3C1.1J

           Acceptance of Responsibility                 -2            [U.S.S.G. § 3E1.1(a)]

           Total Adjusted Offense Level                  8



   ANNE M. TOMPKINS
   UNITED STATES ATTORNEY
        2/23/2015
   JAMES P. MELENDRES
   TRIAL ATTORNEY


   JILL WESTMORELAND ROSE
   ASSISTANT UNITED STATES ATTORNEY

                                                              2/23/2015
   RICHARD S. SCOTT
   TRIAL ATTORNEY

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           Defendant's Signature: After consulting with my attorney, and pursuant to the Plea
   Agreement entered into this day between myself and the United States, I hereby stipulate that the
   above Factual Basis is true and accurate, and that had the matter proceeded to trial, the United
   States would have proved the same beyond a reasonable doubt.

   Date:    2     2         February                     2015
                                               David Howell Petraeus
                                               Defendant



          Defense Counsel Signature: I am counsel for the defendant in this case. I carefully
   reviewed the above Factual Basis with the defendant. To my knowledge, the defendant's
   decision to stipulate to these facts is an informed and voluntary one.

   Date:                   Feb                   23,                  2015
                                               David E Kendall
                                               Williams & Connolly LLP
                                               Counsel for the Defendant


          Defense Counsel Signature: I am counsel for the defendant in this case. I carefully
   reviewed the above Factual Basis with the defendant. To my knowledge, the defendant's
   decision to stipulate to these facts is an informed and voluntary or

   Date:Feb.23,2015
                                                Simon A. Latcovich
                                                Williams & Connolly LLP
                                                Counsel for the Defendant




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                          UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF NORTH CAROLINA
                                   CHARLOTTE DIVISION

 UNITED STATES OF AMERICA                                 DOCKET NO.:       3:15 CR     47

                                                          P L E A AGREEMENT

 DAVID HOWELL PETRAEUS



          NOW COMES the United States of America, by and through Anne M . Tompkins, United
   States Attorney for the Western District of North Carolina, lames P. Melendres, Trial Attorney,
   Jill Westmoreland Rose, Assistant United States Attorney, and Richard S. Scott, Trial Attorney,
   the defendant, David Howell Petraeus, and the defendant's counsel, David E. Kendall and Simon
   A Latcovich, and respectfully inform the Court that they have reached an agreement pursuant to
   Federal Rule of Criminal Procedure 11. References to the United States herein shall mean the
   United States Attorney for the Western District of North Carolina.

                                                I. Plea

           1.       The defendant agrees to enter a voluntary plea of guilty to Count ONE as set forth
   in the Bill of Information, and admits to being in fact guilty as charged in Count ONE.

           2.      The defendant understands that each and every provision set forth below is a
   material term of the Plea Agreement. The defendant's failure to fully comply with any provision
   of the Plea Agreement, attempt to withdraw the guilty plea or violation of any federal, state, or
   local law, or any order of any court, including any condition of pre-trial or pre-sentence, or
   post-sentence release is a breach of the Plea Agreement. In addition to any other remedy
   available in law, the defendant's breach (i) will relieve the United States of its obligations under
   the Plea Agreement, but the defendant will not be relieved of the defendant's obligations or
   allowed to withdraw the guilty plea; (ii) may constitute the defendant's failure to accept
   responsibility under United States Sentencing Guideline ("U.S.S.G.") § 3E1.1; and (iii) will permit
   the United States to proceed on any dismissed, pending, superseding, or additional charges.

                                          II. Venue Waiver

          3.      The United States and the defendant agree and stipulate that this District is an
   appropriate venue for entry of a plea by the defendant to a Bill of Information charging a violation
   of 18 U.S.C. § 1924.

                                             III. Sentence

          4.      The defendant is aware that the statutory maximum sentence for Count ONE is as
   follows:




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          Count ONE: a violation of 18 U.S.C. § 1924; a maximum term of one year
          imprisonment, a $100,000 fine, or both, a special assessment of $25, and no more
          than 5 years of probation.

           5.     The defendant understands that a violation of any terms or conditions of supervised
   release, should it be imposed, may subject the defendant to an additional period of incarceration.

           6.      The defendant is aware that the Court: (a) will consider the advisory U.S.S.G. in
   determining the sentence; (b) has not yet determined the sentence and any estimate of the likely
   sentence is a prediction rather than a promise; (c) has the final discretion to impose any sentence
   up to the statutory maximum; and (d) is not bound by recommendations or agreements by the
   United States. Knowing this, the defendant understands that the defendant may not withdraw the
   plea as a result of the sentence imposed.

         7.     Pursuant to Fed. R. Crim. P. 11 (c)(1)(B), the parties agree that they will jointly
   recommend that the Court make the following findings and conclusions as to the U.S.S.G:

                  a.      The offense level for the subject offense is as follows:

          Base Offense Level:                             6             [U.S.S.G. § 2X5.2]

          Abuse of Position of Trust:                   +2              [U.S.S.G. §3B 1.3]

          Obstruction of Justice                        +2              [U.S.S.G. § 3C1.1]

          Acceptance of Responsibility                  -2              [U.S.S.G. § 3E1.1]

          Total Adjusted Offense Level                    8


                 b.    Unless otherwise set forth herein, the parties agree that they will make the
          above recommendations as to the adjusted offense level, and will recommend no other
          enhancements or reductions to the Court.

           8.     The United States agrees not to oppose the defendant's request that the defendant
   receive a non-custodial sentence.

          9.      The parties jointly recommend the imposition of a two-year term of probation.

          10.     The parties jointly recommend the imposition of a $40,000 fine.

           11.     The parties jointly waive the preparation of a Pre-Sentence Report. However, the
   defendant expressly acknowledges that the Court is not bound by this waiver and
   recommendation. The parties will inform the Court and the United States Probation Office of all
   facts pertinent to the sentencing process and will present any evidence requested by the Court.




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          12.   The defendant agrees to the following with respect to financial disclosures,
   monetary penalties, forfeiture, and restitution:

                 a.       To make full payment of such fine as the Court may impose, within one
          week of the sentencing hearing. I f such full payment is not made within one week of
          sentencing hearing, to make full disclosure of all current and projected assets to the U.S.
          Probation Office immediately and prior to the termination of the defendant's supervised
          release or probation, such disclosures to be shared with the U.S. Attorney's Office,
          including the Financial Litigation Unit, for any purpose.

                 b.     That monetary penalties imposed by the Court will be (i) subject to
          immediate enforcement as provided for in 18 U.S.C. § 3613, and (if) submitted to the
          Treasury Offset Program so that any federal payment or transfer of returned property the
          defendant receives may be offset and applied to federal debts but will not affect the
          periodic payment schedule.

               TV.   Immunity from Further Prosecution in This District and Others

          13.    The United States will not bring any additional criminal charges against the
   defendant for the conduct outlined in the Factual Basis or for any other criminal offenses
   committed by the defendant which are known to the United States at the time of disposition.

                                                V. Procedure

            14.    The defendant will plead guilty because the defendant is in fact guilty of the
   charged offense. The defendant admits the facts set forth in the Factual Basis filed with this Plea
   Agreement and agrees that those facts establish guilt of the offense charged beyond a reasonable
   doubt. The Factual Basis, which is hereby incorporated into this Plea Agreement, constitutes a
   stipulation of facts for purposes of § 1B 1.2(a) of the U.S.S.G. and Fed. R. Crim. P. 11 (b)(3).

          15.     The defendant further stipulates that the Factual Basis may be used by the Court
   and the United States Probation Office without objection by the defendant to determine the
   applicable advisory guideline range or the appropriate sentence under 18 U.S.C. § 3553(a).

                                             VI. Waivers

           16.      The defendant is aware that the law provides certain limited rights to withdraw a
   plea of guilty, has discussed these rights with defense counsel and knowingly and expressly waives
   any right to withdraw the plea once the Court has accepted it.

          17.     The defendant acknowledges that Fed. R. Crim. P. 11(f) and Fed. R. of Evid. 408
   and 410 are rules which ordinarily limit the admissibility of statements made by a defendant in the
   course of plea discussions. The defendant knowingly and voluntarily waives these rights and

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   agrees that any statements made in the course of the defendant's guilty plea or this Plea Agreement
   (in part or in its entirety, at the sole discretion of the United States) will be admissible against the
   defendant for any purpose in any criminal or civil proceeding if the defendant fails to enter or
   attempts to withdraw the defendant's guilty plea, or in any post-conviction proceeding challenges
   the voluntary nature of the guilty plea.

           18.     The defendant agrees that by pleading guilty, the defendant is expressly waiving
   the right: (a) to be tried by a jury; (b) to be assisted by an attorney at trial; (c) to confront and
   cross-examine witnesses; and (d) not to be compelled to incriminate himself.

           19.     The defendant has discussed with his attorney: (1) defendant's rights pursuant to 18
   U.S.C. § 3742, 28 U.S.C. § 2255, and similar authorities to contest a conviction and/or sentence
   through an appeal or post-conviction after entering into a Plea Agreement; (2) whether there are
   potential issues relevant to an appeal or post-conviction action; and (3) the possible impact of any
   such issue on the desirability of entering into this Plea Agreement.

           20.     The defendant, in exchange for the concessions made by the United States in this
   Plea Agreement, waives all such rights to contest the conviction except for: (1) claims of
   ineffective assistance of counsel or (2) prosecutorial misconduct. The defendant also knowingly
   and expressly waives all rights conferred by 18 U.S.C. § 3742 or otherwise to appeal whatever
   sentence is imposed with the two exceptions set forth above. The defendant agrees that the
   United States preserves all its rights and duties as set forth in 18 U.S.C. § 3742(b).

          21.      The defendant waives all rights, whether asserted directly or by a representative, to
   request or to receive from any department or agency any records pertaining to the investigation or
   prosecution of this case, including without limitation any records that may be sought under the
   Freedom of Information Act, 5 U.S.C. § 552, or the Privacy Act, 5 U.S.C. § 552a.




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                                           VII. Conclusion

          22.     This agreement is effective and binding once signed by the defendant, the
   defendant's attorney, and an attorney for the United States. The defendant agrees to entry of this
   Plea Agreement at the date and time scheduled by the Court.

           23.     There are no agreements, representations, or understandings between the parties in
   this case, other than those explicitly set forth in this Plea Agreement, or as noticed to the Court
   during the plea colloquy and contained in writing in a separate document signed by all parties.

   SO AGREED:


                                                                       DATED:          2/23/2015
   James P. Melendres, Trial Attorney


                        a.                                         —DATED;
   Jill Westmoreland Rose, Assistant United States Attorney


                                                                       DATED: 2/23/2015
   Richard S. Scott, Trial Attorney


                                                                       DATED: Feb 23, 2015
   David E. Kendall, Attorney for Defendant
   Williams & Connolly LLP


                                                                       DATED    : feb23,2015
   Simon A. Latcovich, Attorney for Defendant
   Williams & Connolly LLP


                                                                       DATED: 22 Feb 2015
   David Howell Petraeus, Defendant




                                                                               Revised January 2015

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